                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                CEDAR RAPIDS DIVISION

 PARENTS DEFENDING EDUCATION,

                          Plaintiff,

 v.

 LINN-MAR COMMUNITY SCHOOL                               Case No. 22-cv-78-CJW-MAR
 DISTRICT; et al.,

                          Defendants.                           Volume 1



                             DECLARATION OF JAMES F. HASSON

        1.       I am an attorney at the law firm Consovoy McCarthy PLLC and counsel for plaintiff

Parents Defending Education.

        2.       I am over the age of eighteen and under no mental disability or impairment. I have

personal knowledge of the following facts and, if called as a witness, would competently testify to

them.

        3.       The following materials attached as exhibits are true and accurate copies of documents

downloaded from the internet between August 1, 2022 and August 4, 2022:

        a. Attached as Exhibit A is a true and accurate copy of a report by the American Enterprise

             Institute, entitled How Schools’ Transgender Policies Are Eroding Parents’ Rights. The report was

             published in March 2022 and is available at https://bit.ly/3BqL2MO.

        b. Attached as Exhibit B is a true and accurate copy of a model policy created by GLSEN

             and the National Center for Transgender Equality, entitled Model Local Education Policy on

             Transgender and Non-Binary Students. The report was published in September 2018 and is

             available at https://bit.ly/3PHTyv9.




                                      1
      Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 1 of 180
  c. Attached as Exhibit C is a true and accurate copy of an article published by Gender

       Spectrum, entitled Supporting Gender Expansive Students. The article is available at

       https://bit.ly/3OiB9EC and was last accessed on July 27, 2022.

  d. Attached as Exhibit D is a study published by the Patient-Centered Outcomes Research

       Institute, entitled Examining Health Outcomes for People Who Are Transgender. The study was

       published in 2019 and is available at https://bit.ly/3Iy5RaK.

  e. Attached as Exhibit E is a true and accurate copy of a study published by the Archives of

       Sexual Behavior, entitled The Use of Methodologies in Littman (2018) Is Consistent with the Use

       of Methodologies in Other Studies Contributing to the Field of Gender Dysphoria Research: Response to

       Restar (2019). The study was published in January 2020 and is available at

       https://bit.ly/3bd362o.

  f. Attached as Exhibit F is a true and accurate copy of a study published in the Journal of

       Developmental Psychology, entitled Peer Influence on Gender Identity Development in Adolescence.

       The study was published in September 2016 and is available at https://bit.ly/3OEZGDf.

  g. Attached as Exhibit G is a true and accurate copy of a study published by Nature

       Communications, entitled Elevated Rates of Autism, Other Neurodevelopmental and Psychiatric

       Diagnoses, and Autistic Traits in Transgender and Gender-Diverse Individuals. The study was

       published in August 2020 and is available at https://bit.ly/3OFWwzd.

  h. Attached as Exhibit H is a true and accurate copy of an article published by City Journal,

       entitled When the State Comes for Your Kids. The Article was published on June 8, 2021, and

       is available at https://bit.ly/3Ni19P1.

  i.   Attached as Exhibit I is a true and accurate copy of Linn-Mar Policy 504.13R, entitled

       Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Stereotypes.

       The Policy was issued on April 25, 2022, and is available at https://bit.ly/3czTiQb.



                                2
Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 2 of 180
  j.   Attached as Exhibit J is a true and accurate copy of Linn-Mar Policy 504.3, entitled

       Administration of Medication to Students. The policy was issued in October 2014 and is

       available at https://bit.ly/3JcyKJV.

  k. Attached as Exhibit K is a true and accurate copy of Linn-Mar Policy 504.31, entitled

       Student Injury or Illness at School. The policy was issued in August 2021 and is available at

       https://bit.ly/3JaEKmh.

  l.   Attached as Exhibit L is a true and accurate copy of Linn-Mar Policy 503.4, entitled Student

       Activity Program. The policy was issued in July 2013 and is available at

       https://bit.ly/3Bnc0VK.

  m. Attached as Exhibit M is a true and accurate copy of a news article published in The

       Gazette, entitled Linn-Mar School Board Members Debate Policies to Protect Transgender Students.

       The article was published on April 18, 2022, and is available at https://bit.ly/3OEL6MX.

  n. Attached as Exhibit N is a true and accurate copy of a news article published in The

       Gazette, entitled Transgender Policies Called ‘Safest’ for Students. The article was published on

       April 26, 2022, and is available at https://bit.ly/3OEL6MX.

  o. Attached as Exhibit O is a true and accurate copy of a report by the Foundation for

       Individual Rights in Education (FIRE), entitled Spotlight on Speech Codes 2021. The report

       was issued in 2021 and available at https://bit.ly/3pdQ09E.

  p. Attached as Exhibit P is a true and accurate copy of an article published in the Wall Street

       Journal, entitled The Progressive Pronoun Police Come for Middle Schoolers. The article was

       published on May 23, 2022, and is available at https://on.wsj.com/3NTV50b.

  q. Attached as Exhibit Q is a true and accurate copy of Linn-Mar Policy 103.1-R, entitled

       Administrative Regulations Regarding Anti-Bullying/Harassment. The policy was issued in June

       2020 and is available at https://bit.ly/3cMN5Rd.



                                3
Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 3 of 180
  r. Attached as Exhibit R is a true and accurate copy of a news article published by

     KWWL.com, entitled Linn-Mar school board approves policy affirming rights for transgender students.

     The article was published on April 25, 2022, and is available at https://bit.ly/3bbzd2p.

  s. Attached as Exhibit S is a true and accurate copy of an article published in Social Sciences,

     entitled Characterizing Parent-Child Interactions in Families of Autistic Children in Late Childhood.

     The    article   was    published     on     February     28,   2022,     and    is   available   at

     https://bit.ly/3b8UUjA.

  t. Attached as Exhibit T is a true and accurate copy of an article published by The Family

     Institute at Northwestern University, entitled The Importance of Incorporating Siblings in the

     Treatment of Autism Spectrum Disorder. The article is available at https://bit.ly/3zda1kb (last

     accessed August 4, 2022).

  u. Attached as Exhibit U is a true and accurate copy of an article in the Journal of LGBT

     Health, entitled Gender Dysphoria in Children With Autism Spectrum Disorder. The article was

     published in April 2019 and is available at https://bit.ly/3vlr9mA.

  v. Attached as Exhibit V is a true and accurate copy of a study published in PLOS One,

     entitled Rapid Onset Gender Dysphoria in Adolescents and Young Adults: A Study of Parental

     Reports. The study was published on August 16, 2018, and is available at

     https://bit.ly/2oQWz1H.

  w. Attached as Exhibit W is a true and accurate copy of Chapter 10 from a textbook entitled

     Pediatric Gender Identity (Springer Nature Switzerland AG, 2020), published by the

     Department of Child and Adolescent Psychology, Center of Expertise on Gender

     Dysphoria at the University of Amsterdam Medical Center. Chapter 10 is entitled Caring

     for Transgender and Gender Diverse Youth With Co-occuring Neurodiversity.




                                4
Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 4 of 180
       x. Attached as Exhibit X is a true and accurate copy of a Facebook post published by Linn-

           Mar School Board member Brittania Morey. The post was published on April 28, 2022,

           and is available at https://bit.ly/3OArpop.

       y. Attached as Exhibit Y is a true and accurate copy of an article published in the Washington

           Post, entitled Gender Transitions At School Spur Debates Over When, Or If, Parents Are Told. The

           Article was published on July 18, 2022, and is available at https://wapo.st/3bkEeWt.




       Per 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and correct

to the best of my knowledge.



       Executed on August 5, 2022.


                                                        /s/ James F. Hasson
                                                        James F. Hasson
                                                        Counsel for Plaintiff




                                   5
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 5 of 180
                    EXHIBIT A




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 6 of 180
  How Schools’ Transgender Policies
  Are Eroding Parents’ Rights
  By Luke Berg                                                                                         March 2022


           Key Points
             • Schools have a long-standing tradition and legal obligation to inform parents of their
               children’s medical and behavioral issues and to honor their decisions about what’s best
               for their kids. Yet, prompted by a well-organized lobby, many school districts have
               decided that minor students can change gender identity at school without any parental
               involvement.
             • A gender identity transition is a major event in a child’s life. It can have long-term effects
               on a child’s psyche and sense of identity, and, as a result, many mental health profes-
               sionals recommend a more cautious approach, first helping children process what they
               are feeling and why.
             • The increasingly common practice of rushing to “affirm” and facilitate a transition at school
               without informing parents, and even refusing to follow their wishes, runs directly against
               a strong body of case law recognizing parents’ constitutional right to raise their children.
             • State lawmakers can and should clarify that school districts must defer to parents when
               children struggle with gender identity issues.




  In the past few years, school districts nationwide             can become self-reinforcing and do long-term
  have quietly adopted policies requiring staff to               harm. And these policies divide children against
  facilitate and “affirm” gender identity transitions            parents, communicating to kids that their parents’
  at school without parental notice or consent—and               decisions should not be respected.
  even in secret from parents. Certain groups are                   As parents become aware of these policies,
  telling school boards and administrators that                  some through personal experience, many are won-
  excluding parents from the decision about whether              dering what can be done. Fortunately, parents can
  staff will treat their child as the opposite sex is not        raise strong objections with their school boards
  only best practice but required by law. Neither is             and administrators, which may persuade them to
  true. Such policies fly in the face of how schools             change course. If that doesn’t work, these policies
  treat every other decision of similar significance.            are vulnerable to legal challenge. Finally, there is a
     From a legal perspective, these policies violate            relatively simple legislative fix: Lawmakers can,
  parents’ constitutional rights to raise their children.        and should, prohibit public schools from taking
  They also conflict with science. Many professionals            this major decision out of parents’ hands.
  in the field believe that transitioning at a young age



      Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 7 of 180                                               1
  The Norm and How It Was Broken                          no means a comprehensive survey. And these poli-
                                                          cies aren’t always written down, as a Wisconsin
  When parents send their children to school, most        parent recently discovered.
  expect open lines of communication and assume               This trend appears to be driven by a few groups
  the school will defer to them on any significant        telling school districts that this is the best practice—
  decisions. That is, for the most part, the norm. As     and even required by law. The Gay, Lesbian, and
  any parent of school-age kids can attest, schools       Straight Education Network (GLSEN), for exam-
  require parental consent for just about everything,     ple, promotes a “model” policy that declares chil-
  even seemingly insignificant matters: sports, field     dren have the “right” to “be addressed by a name
  trips, extracurricular activities, alternate educa-     and pronoun that corresponds to [their] gender
  tion programs, and taking any kind of medication        identity” and “to keep [their] transgender status
  at school. If something more serious arises during      private at school,” even emphasizing that “it is crit-
  the school day, such as a medical or health-related     ical that parental/guardian approval is never a pre-
  issue, parents rightfully expect an immediate call      requisite for respecting a student’s gender identity,
  before any sort of intervention.                        including their chosen name and pronouns.”12 The
     Yet in the past few years, schools nationwide        Madison School District’s policy credits the
  have carved out an exception to this expectation        GLSEN policy as its starting point. The language in
  for one major and controversial issue: social gen-      this policy and the other multiple policies listed
  der identity transitions. Unbeknownst to many           above mirrors the GLSEN policy.
  parents, schools are adopting policies that allow           Similarly, the National Education Association
  students to change gender identity at school, adopt     (NEA), with the Human Rights Campaign and the
  a new name and pronouns, and even begin using           American Civil Liberties Union, in 2015 published
  opposite-sex facilities, without parental notice or     a guidance document titled Schools in Transition,
  consent and sometimes in secret from parents.           which states schools should first “ask whether the
  This shift is happening under most parents’ radar—      student’s family is accepting” of a transition before
  until it affects their children, when it’s often too    “discussing with the student’s family.”13 And if the
  late to fight.                                          family does not “support” a transition, the guidance
     In Madison, Wisconsin, for example, where I          recommends that schools come up with a plan for
  live and work, the public school district a few years   “how to refer to the student when communicating
  ago posted to its website a 35-page document1 that      with the student’s parents”—suggesting that this
  included policies allowing students of any age to       decision can be made at school without parents’
  adopt a new “affirmed name and pronouns” at             input or knowledge.
  school “regardless of parent/guardian permission,”          In 2016, the Department of Education under the
  prohibiting staff from “reveal[ing]” this to parents    Obama administration issued a document recom-
  without the student’s consent and even requiring        mending various “example” policies and “emerging
  staff to deceive parents by using the student’s         practices for supporting transgender students.” In a
  “affirmed name and pronouns” at school while            section about how schools should communicate
  reverting to “their legal name and pronouns with        with parents, the guidance endorsed policies openly
  family.”2 Another Wisconsin school district recently    stating that “parental participation is not required”
  trained its teachers that parents are “not entitled     for a transition at school.14
  to know their kids’ identities” and that “this              The logic behind these policies appears to go
  knowledge must be earned.”3 Similar policies are        something like this: Children have a right to “be
  showing up in school districts nationwide, includ-      who they are.” If children say they’re transgender,
  ing in Chicago;4 Los Angeles;5 Milwaukee, Wiscon-       they really are. The only appropriate response is to
  sin;6 Montgomery County, Maryland;7 New York            affirm their “true” identity, and any other response
  City;8 and Washington, DC.9 Even some state edu-        will harm them. And schools need to protect self-
  cation departments have adopted similar policies,       identifying transgender kids from parents who
  including in New Jersey10 and Virginia.11 This is by    aren’t on board with an immediate transition.




      Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 8 of 180                                          2
     But are these assumptions true? The short answer       body. So, instead of immediate affirmation,
  is no.                                                    Dr. Zucker and others recommend first attempting
                                                            to help children identify the underlying cause of
  Lifelong Implications                                     their feelings and hopefully resolve the conflict.
                                                                The recent explosion of children dealing with
  The medical science on children with gender dys-          gender identity issues strongly suggests that this is
  phoria is not settled. There is currently an ongoing      driven largely by social messaging. The UK govern-
  and lively debate in the mental health community          ment, for example, recently reported a “4,400 per
  about how to best respond when children experi-           cent increase in girls being referred for transition-
  ence a disconnect between their biological sex and        ing treatment in the past decade.”18 Canadian clin-
  self-perceived gender identity. This debate has           ics have also seen “exponential growth in demand.”19
  been covered much more extensively than is pos-           In the United States, providers are also “reporting
  sible in this report in the media and recent books,       large upticks in new referrals,” though “solid num-
  most notably Abigail Shrier’s highly praised book         bers are harder to come by.”20 A recent study doc-
  on the subject.15                                         umented a phenomenon it called “rapid onset gen-
                                                            der dysphoria,” in which multiple adolescents in a
                                                            social group (often teenage girls) decide they are
                                                            transgender in a short period.21
  While some argue that immediate                               The research we have at this point supports that
  affirmation of a new identity is the                      these feelings eventually go away for most chil-
                                                            dren. Multiple follow-up studies have assessed the
  best response, it is certainly not the                    degree to which childhood gender dysphoria “per-
  only possible response, nor is it clear                   sists,” and they consistently find that the vast
                                                            majority (70–90 percent) of children who struggle
  that it’s even the right response in                      with this ultimately revert to identifying with their
  most circumstances.                                       biological sex (that is, if they do not transition).22
                                                            Even among adults, there are a growing number of
      While some argue that immediate affirmation of        “detransitioners,” proof alone that one’s self-
                                                            perception at a given time does not necessarily
  a new identity is the best response, it is certainly
                                                            predict how one will feel later in life.23
  not the only possible response, nor is it clear that
  it’s even the right response in most circumstances.           It should go without saying, but the best out-
  Many professionals believe that transitioning and         come is for children to learn to embrace the body
  affirming a transition can become self-reinforcing        they were born with. A life at war with one’s body
  and do long-term harm. Dr. Kenneth Zucker, for            comes with many challenges. It is not physically
  example, who for over three decades led one of the        possible to change sex. The surgeries that attempt
  world’s top clinics for children with gender dys-         to imitate a body of the opposite sex are well-
  phoria, has written that “parents who support,            known to be sterilizing and to bring other compli-
  implement, or encourage a gender social transition        cations. Studies have also found significantly
  (and clinicians who recommend one) are imple-             worse mental health outcomes in the transgender
  menting a psychosocial treatment that will increase       population, even among those who have transi-
  the odds of long-term persistence.”16                     tioned. One of the most robust long-term studies
                                                            in this area found that a group of 324 Swedish indi-
      This view, as Dr. Zucker explains elsewhere, is
                                                            viduals who had fully transitioned (including sex-
  based on the idea that a child’s sense of identity is
                                                            reassignment surgery) were still 19.1 times more
  formed by “messages from family, peers, and soci-
                                                            likely to commit suicide than was the general pop-
  ety.”17 Thus, daily affirmation of an alternate iden-
  tity by respected adults, such as teachers, rein-         ulation over an extended period.24
                                                                Transitioning at a young age poses special risks
  forces a child’s belief that this is actually who he or
  she is, causing that identity to set in and reducing      and complications. A social transition prepuberty
  the chances of learning to find comfort with one’s        can result in significant awkwardness when puberty




      Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 9 of 180                                          3
  arrives. The affirming crowd promotes puberty              expertise whatsoever in these matters, need to
  blockers and cross-sex hormones as a solution to           defer to parents?
  this problem, but these can have irreversible effects
  on fertility and sexual response. It can also be par-      A Slender Reed
  ticularly hard for school-age children to transition
  back if their feelings change. In one survey, stu-         If even WPATH recommends deferring to parents,
  dents reported strong “fear of teasing and shame           what are schools’ justifications for excluding par-
  to admit they had been ‘wrong,’ result[ing] in a           ents from this decision (aside from ideological
  prolonged period of distress.”25                           conviction or fear of bad press from special inter-
     In light of the long-term implications and the          est groups)? And do the justifications offered stand
  risk that an early transition will set a child down a      up to scrutiny?
  path to that end, many experts view a social tran-             The primary argument appears to be that chil-
  sition as a significant psychotherapeutic interven-        dren have a “right” to make this decision on their
  tion. A well-known expert, Dr. Stephen Levine, in an       own. But this flies in the face of the traditional par-
  affidavit for a case on this topic that I am litigating,   ent-child relationship. As the Supreme Court has
  summarizes as follows:                                     explained, “Our jurisprudence historically has
                                                             reflected Western civilization concepts of the fam-
      Therapy for young children that encour-                ily as a unit with broad parental authority over minor
      ages transition cannot be considered to be
                                                             children.”29 Or, in another case: “Th[e] primary
      neutral, but instead is an experimental pro-
      cedure that has a high likelihood of changing          role of the parents in the upbringing of their chil-
      the life path of the child, with highly unpre-         dren is now established beyond debate as an endur-
      dictable effects on mental and physical                ing American tradition.”30 Parental authority is based
      health, suicidality, and life expectancy.26            on the commonsense recognition that “parents
                                                             possess what a child lacks in maturity, experience,
      Thus, when school staff affirm a minor student’s       and capacity for judgment required for making life’s
  feelings that they are “really” a different gender,        difficult decisions.”31 Thus, a minor’s disagreement
  they are effectively making a medical decision for         with a parent’s decision does “not diminish the
  that child in place of the parents.                        parents’ authority to decide what is best for the
      Even the World Professional Association for            child.”32 And government officials, including teach-
  Transgender Health (WPATH) agrees that childhood           ers and school administrators, generally cannot
  gender identity transitions are “controversial.” For       override or even “review such parental decisions.”33
  those unfamiliar, WPATH is an advocacy organiza-               While the Court has recognized that minors
  tion that publishes a set of guidelines for transgender    have some limited rights that supersede their par-
  care. It is not a neutral organization; it strongly        ents’ objection (most notably, to get an abortion),
  advocates for an affirming approach. Yet, it openly        the lead opinion in one of those cases emphasized
  acknowledges that health professionals have “diver-        that, generally, “the constitutional rights of chil-
  gent views” about childhood transitions and recog-         dren cannot be equated with those of adults,” due
  nizes the lack of evidence at this point “to predict       to their “inability to make critical decisions in an
  the long-term outcomes of completing a gender              informed, mature manner” and the “importance of
  role transition during early childhood.”27                 the parental role in child rearing.”34 Thus, “Paren-
      In the end, and in direct conflict with the school     tal notice and consent are qualifications that typi-
  policies described above, WPATH encourages                 cally may be imposed . . . on a minor’s right to make
  health professionals to defer to parents “as they          important decisions.”35
  work through the options and implications,” even               That is not to say that minors should have no
  if they “do not allow their young child to make a          say in this decision. Part of good parenting is help-
  gender-role transition.”28 And this is a recommen-         ing your children learn to make good decisions on
  dation from an advocacy organization to health             their own. But parenting also sometimes requires
  care professionals. How much more of a reason do           saying no, sometimes even to protect children
  teachers and school administrators, who have no            from themselves. The question of when children




     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 10 of 180                                           4
  are ready to decide for themselves whether to take           Another common argument is that these poli-
  on a different gender identity is not easy (and the       cies are necessary to protect transgender kids from
  answer probably differs for each child), but that is      parents who might not support affirmation. This
  ultimately a decision for the parents to make, not        rationale assumes that anything short of immediate
  for schools to preempt.                                   affirmation is inherently abusive. But that is not
      A recent example, from a family in the Kettle         remotely true, much less universally accepted; as
  Moraine School District in Wisconsin, illustrates         explained above, many professionals believe affir-
  this point. Their 12-year-old daughter began strug-       mation is actually harmful. Regardless of who is
  gling with some mental health issues and became           right, courts have long recognized that the govern-
  convinced rather abruptly that she was transgender.       ment “has no interest in protecting children from
  After this was promptly affirmed by a mental              their parents unless it has some definite and artic-
  health provider, she told school staff that she           ulable evidence giving rise to a reasonable suspi-
  wanted to socially transition to a male name and          cion that a child has been abused or is in imminent
  pronouns at school. But her parents decided that          danger of abuse.”40 And even when the risk from
  immediately transitioning would not be best for           parents rises to that level, parents are entitled to
  her—they wanted her to take time to be sure—and           significant due process protections before the
  communicated this to her and her school. But the          state can override their decisions.41
  school refused to respect the parents’ decision,
  forcing them to withdraw their daughter from pub-
  lic school and search for a private school. After an
  extended absence from any messages of affirma-            Parents are entitled to significant due
  tion, their daughter changed her mind, agreeing           process protections before the state
  that her parents were right to put the brakes on a
  transition. She later expressed to her mother that
                                                            can override their decisions.
  “affirmative care really messed me up.”
      Another main argument in support of these pol-            Finally, some argue that adopting a new name
  icies is protecting students’ right to privacy, often     and pronouns is no big deal; it’s just like a nickname,
  invoking the Family Educational Rights and Pri-           and it allows students to explore their identity.
  vacy Act (FERPA) in support.36 But minors do not          Experts disagree. Daily affirmation by authority
  generally have a right to privacy vis-á-vis their par-    figures—consistently treating a child as if he or she
  ents. As Wyatt v. Fletcher states, “There is no clearly   is actually the opposite sex—can profoundly affect
  established law holding that a student in a public        a child’s psyche and sense of identity.
  secondary school has a privacy right . . . that pre-
  cludes school officials from discussing with a par-       Reasserting Parental Authority
  ent the student’s private matters.”37
      FERPA does not provide such a right either. If        So what can be done? First, parents should be actively
  anything, FERPA supports parents’ role. That law          engaged in their schools and push back against any
  generally gives parents full access to their chil-        policies like this, at school board meetings and
  dren’s education records.38 And under the imple-          wherever else they can. And parents should get
  menting regulations, only parents (or students over       involved even if their kids aren’t presently dealing
  age 18) can request to change education records,          with this. Many parents whose kids struggle with
  including a name-change request.39 In other words,        gender dysphoria don’t see it coming, and by then,
  these policies frequently come close to violating         it’s often too late to fight such policies. This may
  FERPA. Some certainly do. The Madison School              seem obvious and overly simplistic, but I believe
  District’s policy, for example, directs teachers to       many school boards are simply being duped by
  keep a form recording a student’s new “affirmed           groups like GLSEN and the NEA that excluding
  name and pronouns” out of student records, so             parents from this issue is the accepted “best” prac-
  that parents can’t access it.                             tice to support transgender students. It may not
                                                            always be policy extremism driving these policies;




     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 11 of 180                                          5
  school leaders may be hearing from only one side.           role”: “It is not educators, but parents who have
  If no one says otherwise, school boards may not be          primary rights in the upbringing of children.
  aware of the debate and risks associated with               School officials have only a secondary responsibil-
  teachers affirming a transition or the legal argu-          ity and must respect these rights.”48
  ments against such a policy. But if parents show up            The Wisconsin Institute for Law & Liberty,49 in
  armed with accurate information, schools boards             partnership with Alliance Defending Freedom, has
  might reconsider.                                           brought two lawsuits challenging such policies as a
      This has already happened in Wisconsin. The             violation of parents’ constitutional rights, one
  Kenosha School District recently considered a pol-          against the Madison School District50 and another
  icy that, like Madison’s and others, would allow            against the Kettle Moraine School District.51 These
  students to choose a new name and pronouns at               cases are still in the early stages, so there is no
  school without parental consent.42 But it ultimately        definitive ruling on the merits yet, but they have
  rejected that part of the policy, after considering         already won a partial injunction against the Madi-
  the lawsuit we filed against the Madison School             son School District that prevents staff from lying
  District calling attention to this issue.43 One student’s   to or deceiving parents about the name and pro-
  father who is running for the school board said in          nouns their children are using at school. The Wis-
  a speech to the board that it was “important” to            consin Supreme Court recently granted review of
  “stop and ponder” court decisions that “recog-              the Madison case to decide whether that injunc-
  niz[e] that parents are the primary decision mak-           tion went far enough; the argument is set for April
  ers with respect to their children.”44                      12, 2022.52 That an injunction against intentional
      Even if political pressure fails, these policies are    deception is even necessary says something about
  vulnerable to lawsuits. As discussed briefly above,         where we are. Other groups have brought similar
  a long line of cases from the United States Supreme         lawsuits in California,53 Florida (two cases),54 Mar-
  Court holds that parents have a fundamental right,          yland,55 and Virginia.56 These cases provide a tem-
  under the 14th Amendment, to “direct the upbring-           plate that others can follow to challenge policies
  ing and education of children under their control.”45       like this.
  This is “perhaps the oldest of the fundamental lib-            One problem with both litigation and political
  erty interests recognized by” the Court.46 A similar        pressure, however, is that these policies aren’t
  right may also be protected by state constitutions,         always written down. School boards, administra-
  as in Wisconsin. These cases emphatically reject as         tors, and their lawyers might discuss this scenario
  “statist” and “repugnant to American tradition”             internally and reach a position without parents’
  one of the major premises of these policies—the             awareness or any opportunity for input. In the Ket-
  “notion that governmental power should super-               tle Moraine School District, for example, there was
  sede parental authority” because school officials           no written policy; the parents only learned that the
  know better than parents.47                                 school would not respect their decision in the mid-
      Most of these cases do not involve schools              dle of the crisis, leaving them no short-term option
  excluding parents from a major decision affecting           but to withdraw their daughter from the school.
  their child—primarily because schools generally             When school districts make such weighty decisions
  don’t do this—but one case out of the US Court of           without committing them to writing, it short-circuits
  Appeals for the Third Circuit stands out. In                parents’ ability to hold them accountable.
  Gruenke v. Seip, a high school swim coach sus-                 In light of this, the best solution may be legislative.
  pected a team member was pregnant, but instead              It would not be hard to craft a simple bill requiring
  of notifying her parents, the coach discussed it            parental permission before minor students can change
  with others and eventually pressured the team               their gender identity at school. The focus of such a
  member to take a pregnancy test. The mother                 bill should be on teachers and staff and how they
  sued, arguing that by failing to promptly notify and        address students. It could read something like this:
  defer to her, the coach violated her “parental right
  to choose the proper method of resolution.” The                 School teachers and staff, while at school,
                                                                  may not knowingly address a minor stu-
  court condemned this “arrogation of the parental
                                                                  dent using a name and pronouns at odds



     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 12 of 180                                               6
       with the student’s biological sex, or allow                        involve their parents if they want to do so at school
       minor students to use opposite sex bath-                           with the support of staff.
       rooms and locker rooms, without written                               No parents should go through what Jay Keck58
       permission from a parent or legal guardian.                        went through, suddenly discovering one day that
     This could even be included as part of a package                     his daughter had changed gender identity at
  of parents’ rights in education. The Wisconsin Leg-                     school, with the school’s active participation and
  islature, on March 8, 2022, passed a parents’ rights                    affirmation but without any notice to him. No par-
  bill codifying various rights of parents, including                     ents should go through what the Kettle Moraine
  the right to “determine the names and pronouns                          parents went through, being forced to withdraw
  used for the child while at school.” (The bill now                      their daughter from public school just to protect
  goes to the governor.)57                                                her and preserve their parental role.
      To be clear, such a bill would not, as some will                       A bill to prevent this should find broad support
  likely argue, require teachers to immediately “out”                     among parents and constituents. Most parents are
  to parents any student who has questions about                          outraged when they learn that school districts are
  these issues and confides in a teacher (though                          excluding parents from this major decision. Even
  teachers must be permitted to communicate openly                        parents who ultimately would allow an immediate
  with parents about this, because this can be a seri-                    transition should want and expect to be involved.
  ous mental health issue). But if a student wants to                     Those who support these policies should be forced
  take the major step to transition, asking all teach-                    to defend them publicly and explain why they
  ers and staff to treat him or her as the opposite sex                   believe it’s ever appropriate to hide such a serious
  while at school, that should require parental per-                      issue from parents or to subvert the parents’ deci-
  mission, just as taking medication at school does,                      sion about what’s best for their child. These poli-
  because—as noted above—social affirmation is a                          cies have been implemented quietly for a reason. A
  medical intervention. Teachers can still be a safe                      public debate that brings them to light may be all
  space for students to process these issues while                        that’s needed to start eliminating them.
  gently explaining to students who want to transi-
  tion that this is a big decision and that they need to

  About the Author
  Luke Berg works as a deputy counsel at the Wisconsin Institute for Law & Liberty. He previously served as a
  deputy solicitor general and assistant attorney general at the Wisconsin Department of Justice.
  Notes
     1. Madison Metropolitan School District, “Guidance & Policies to Support Transgender, Non-Binary, and Gender-Expansive
  Students,” April 2018, https://www.madison.k12.wi.us/student-staff-support/lgbtq/guidance-policies-to-support-transgender-non-
  binary-and-gender-expansive-students.
    2. Madison Metropolitan School District, “Guidance & Policies to Support Transgender, Non-Binary, and Gender-Expansive
  Students,” 9–18.
     3. M. D. Kittle, “Wisconsin School District: Parents Are Not ‘Entitled to Know’ If Their Kids Are Trans,” Federalist, March 8, 2022,
  https://thefederalist.com/2022/03/08/wisconsin-school-district-parents-are-not-entitled-to-know-if-their-kids-are-trans/.
    4. Chicago Public Schools, “Guidelines Regarding the Support of Transgender and Gender Nonconforming Students,” July 2019,
  4–5, https://www.cps.edu/globalassets/cps-pages/services-and-supports/health-and-wellness/healthy-cps/healthy-environment/lgbtq-
  supportive-environments/guidelines_regarding_supportoftransgenderand-gender_nonconforming_students_july_2019.pdf.
     5. David Holmquist, “Gender Identity and Students—Ensuring Equity and Nondiscrimination,” Los Angeles Unified School District,
  May 17, 2019, https://achieve.lausd.net/cms/lib/CA01000043/Centricity/Domain/383/BUL-6224.2%20Transgender%20Policy%205%
  2013%2019.pdf.
    6. Milwaukee Public Schools, “Gender Inclusion Guidance,” October 2016, 3–6, https://esb.milwaukee.k12.wi.us/attachments/
  f36536ea-e075-4a98-b135-54abb5ee05c1.pdf.




     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 13 of 180                                                                7
     7. Montgomery County Public Schools, “Guidelines for Student Gender Identity,” 2020, 2–3, https://www.montgomeryschoolsmd.
  org/uploadedFiles/students/rights/1243%2019_GenderIdentityGuidelinesForStudents_WithCOVER(1).pdf.
     8. New York City Department of Education, “Guidelines to Support Transgender and Gender Expansive Students,” https://www.
  schools.nyc.gov/school-life/school-environment/guidelines-on-gender/guidelines-to-support-transgender-and-gender-expansive-
  students.
     9. District of Columbia Public Schools, “Transgender and Gender-Nonconforming Policy Guidance,” June 2015, 8, https://dcps.dc.
  gov/sites/default/files/dc/sites/dcps/publication/attachments/DCPS%20Transgender%20Gender%20Non%20Conforming%20Policy%
  20Guidance.pdf.
   10. New Jersey Department of Education, “Transgender Student Guidance for School Districts,” 2–3, https://nj.gov/education/
  students/safety/sandp/transgender/Guidance.pdf.
    11. Virginia Department of Education, “Model Policies for the Treatment of Transgender Students in Virginia’s Public Schools,”
  https://townhall.virginia.gov/l/GetFile.cfm?File=C:%5CTownHall%5Cdocroot%5CGuidanceDocs_Proposed%5C201%5CGDoc_DOE_
  4683_20201208.pdf.
    12. Gay, Lesbian, and Straight Education Network and National Center for Transgender Equality, “Model School District Policy on
  Transgender and Gender Nonconforming Students,” September 2018, 4–9, http://live-glsen-website.pantheonsite.io/sites/default/files/
  Model-School-District-Policy-on-Transgender-and-Gender-Nonconforming-Students-GLSEN.pdf.
    13. Asaf Orr et al., Schools in Transition: A Guide for Supporting Transgender Students in K–12 Schools, 32, https://hrc-prod-requests.s3-us-
  west-2.amazonaws.com/files/assets/resources/Schools-In-Transition.pdf?mtime=20200713142742&focal=none.
    14. US Department of Education, Office of Elementary and Secondary Education, Office of Safe and Healthy Students, “Examples of
  Policies and Emerging Practices for Supporting Transgender Students,” May 2016, 4–5, https://www2.ed.gov/about/offices/list/oese/
  oshs/emergingpractices.pdf.
    15. Abigail Shrier, Irreversible Damage: The Transgender Craze Seducing Our Daughters (Washington, DC: Regnery Publishing, 2020);
  Jesse Singal, “How the Fight Over Transgender Kids Got a Leading Sex Researcher Fired,” Cut, February 7, 2016, https://www.thecut.
  com/2016/02/fight-over-trans-kids-got-a-researcher-fired.html; and Heather Brunskell-Evans and Michele Moore, Inventing
  Transgender Children and Young People (Newcastle upon Tyne, England: Cambridge Scholars Publishing, 2019).
    16. Kenneth J. Zucker, “The Myth of Persistence: Response to ‘A Critical Commentary on Follow-Up Studies & “Desistance” Theories
  About Transgender & Gender Non-Conforming Children’ by Temple Newhook et al. (2018),” International Journal of Transgenderism
  19, no. 2 (2018): 231, https://www.researchgate.net/publication/325443416.
    17. Singal, “How the Fight over Transgender Kids Got a Leading Sex Researcher Fired.”
    18. Gordon Rayner, “Minister Orders Inquiry into 4,000 Per Cent Rise in Children Wanting to Change Sex,” Telegraph, September
  16, 2018, https://www.telegraph.co.uk/politics/2018/09/16/minister-orders-inquiry-4000-per-cent-rise-children-wanting/.
    19. Jen Beard, “Spike in Demand for Treatment of Transgender Teens,” CBC, March 4, 2019, https://www.cbc.ca/news/canada/
  ottawa/trans-teens-ottawa-cheo-demand-1.5026034.
   20. Jesse Singal, “When Children Say They’re Trans,” Atlantic, July 2018, https://www.theatlantic.com/magazine/archive/2018/07/
  when-a-child-says-shes-trans/561749/.
    21. Lisa Littman, “Parent Reports of Adolescents & Young Adults Perceived to Show Signs of a Rapid Onset of Gender Dysphoria,”
  PLOS One 13, no. 8 (2018): e0202330, https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0202330.
   22. For example, see James M. Cantor, “Transgender and Gender Diverse Children and Adolescents: Fact-Checking of AAP Policy,”
  Journal of Sex & Marital Therapy 46, no. 4 (2019): 1, https://www.ohchr.org/Documents/Issues/SexualOrientation/IESOGI/Other/
  Rebekah_Murphy_20191214_JamesCantor-fact-checking_AAP-Policy.pdf.
   23. For example, see Elie Vandenbussche, “Detransition-Related Needs and Support: A Cross-Sectional Online Survey,” Journal of
  Homosexuality (2021).
   24. For example, see Cecilia Dhejne et al., “Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment Surgery:
  Cohort Study in Sweden,” PLOS One 6, no. 2 (2011): e16885.
    25. Thomas D. Steensma and Peggy T. Cohen-Kettenis, “Gender Transitioning Before Puberty?,” Archives of Sexual Behavior 40, no. 4
  (2011): 649–50, https://www.researchgate.net/publication/50272376_Gender_Transitioning_before_Puberty.
   26. Levine, Aff. ¶ 69, February 19, 2020, https://will-law.org/wp-content/uploads/2021/02/affidavit-stephen-levine-with-exhibit.pdf.
   27. World Professional Association for Transgender Health, Standards of Care for the Health of Transsexual, Transgender, and Gender-
  Nonconforming People, 2012, https://www.wpath.org/media/cms/Documents/SOC%20v7/SOC%20V7_English2012.pdf?_t=1613669341.
   28. World Professional Association for Transgender Health, Standards of Care for the Health of Transsexual, Transgender, and Gender-
  Nonconforming People.
   29. Parham v. J. R., 442 US 584, 602–4 (1979).
   30. Wisconsin v. Yoder, 406 US 205, 232 (1972).
    31. Parham, 442 US at 602–4.




     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 14 of 180                                                                        8
    32. Parham, 442 US at 603–4.
    33. Parham, 442 US at 603–4.
   34. Bellotti v. Baird, 443 US 622, 634–42 (1979) (plurality op.).
    35. Bellotti, 443 US at 634–42.
   36. For example, see Gay, Lesbian, and Straight Education Network and National Center for Transgender Equality, “Model School
  District Policy on Transgender and Gender Nonconforming Students,” 4.
    37. For example, see Wyatt v. Fletcher, 718 F.3d 496, 499 (5th Cir. 2013).
   38. 20 USC § 1232g(a)(1)(A).
   39. 34 CFR §§ 99.3, 99.4, 99.20(a).
   40. For example, see Brokaw v. Mercer County, 235 F.3d 1000, 1019 (7th Cir. 2000).
    41. See Troxel v. Granville, 530 US 57 (2000).
   42. Terry Flores, “Unified OKs Transgender Student Policy, Awaits Madison Lawsuit Ruling Before Making Other Changes,” Kenosha
  News, November 23, 2020, https://www.kenoshanews.com/news/local/education/unified-oks-transgender-student-policy-awaits-
  madison-lawsuit-ruling-before-making-other-changes/article_a56bdb18-cc86-58bb-8753-b1e90ae6e4d4.html.
   43. Wisconsin Institute for Law & Liberty, “WILL Sues Madison Schools for Violating Parental Rights,” February 18, 2020, https://
  will-law.org/will-sues-madison-schools-for-violating-parental-rights/.
   44. Eric Meadows, “Here is the text from my speech tonight to the KUSD school board,” Facebook, December 14, 2021, 8:45 p.m.,
  https://www.facebook.com/EricMeadowsKUSD/.
    45. Troxel, 530 US at 65 (plurality op.).
   46. Troxel, 530 US at 65 (plurality op.).
   47. Parham, 442 US at 603.
   48. Gruenke v. Seip, 225 F.3d 290 (3d Cir. 2000).
   49. Wisconsin Institute for Law & Liberty, website, https://will-law.org/.
   50. Wisconsin Institute for Law & Liberty, “Doe v. MMSD,” February 18, 2020, https://will-law.org/doe-v-mmsd/.
    51. Wisconsin Institute for Law & Liberty, “B.F. v. Kettle Moraine School District,” November 17, 2021, https://will-law.org/b-f-v-
  kettle-moraine-school-district/.
    52. Wisconsin Institute for Law & Liberty, “Wisconsin Supreme Court to Hear Parental Rights Case Challenging Madison Schools
  Gender Identity Policy,” January 14, 2022, https://will-law.org/wisconsin-supreme-court-to-hear-parental-rights-case-challenging-
  madison-schools-gender-identity-policy/.
    53. Center for American Liberty, “Konen v. Spreckels Union School District,” https://libertycenter.org/cases/konen/.
    54. Lynsey Kirk, “Family Files Federal Lawsuit Against Leon County School Board over Gender Policy,” Tallahassee Reports, October
  19, 2021, https://tallahasseereports.com/2021/10/19/family-files-federal-lawsuit-against-leon-county-school-board-over-gender-policy/;
  and Tallahassee Reports, “Another Florida School Board Sued over Concealing Gender Identity Counseling from Parents,”
  January 30, 2022, https://tallahasseereports.com/2022/01/30/another-florida-school-board-sued-over-concealing-gender-identity-
  counseling-from- parents/.
    55. Justia, “John and Jane Parents 1 et al v. Montgomery County Board of Education et al,” https://dockets.justia.com/
  docket/maryland/mddce/8:2020cv03552/487743.
   56. Hannah Natanson, “Virginia Education Department Sued over Guidelines to Protect Transgender Students,” Washington Post,
  March 31, 2021, https://www.washingtonpost.com/local/education/transgender-children-virginia-lawsuit/2021/03/30/59948a28-9195-
  11eb-9668-89be11273c09_story.html.
    57. A.B. 963 (Wis. 2021), https://docs.legis.wisconsin.gov/2021/proposals/reg/asm/bill/ab963.
    58. Jay Keck, “My Daughter Thinks She’s Transgender. Her Public School Undermined My Efforts to Help Her.,” USA Today, August
  12, 2019, https://www.usatoday.com/story/opinion/voices/2019/08/12/transgender-daughter-school-undermines-parents-column/
  1546527001/.




  © 2022 by the American Enterprise Institute for Public Policy Research. All rights reserved.

  The American Enterprise Institute (AEI) is a nonpartisan, nonprofit, 501(c)(3) educational organization and does not take
  institutional positions on any issues. The views expressed here are those of the author(s).



     Case
AMERICAN   1:22-cv-00078-CJW-MAR
         ENTERPRISE INSTITUTE    Document 3-10 Filed 08/05/22 Page 15 of 180                                                               9
                      EXHIBIT B




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 16 of 180
MODEL LOCAL EDUCATION
     AGENCY POLICY ON
     TRANSGENDER AND
  NONBINARY STUDENTS

                                               REVISED OCTOBER 2020


                               Model Language and Commentary




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 17 of 180
                 MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



                                  TABLE OF CONTENTS
 Introduction                                                                                   2
    A. Nondiscrimination Policies                                                               3
    B. Privacy and Confidentiality                                                              4
    C. Media and Public Communications                                                          6
    D. Names, Parent/Guardian Notification, School Records                                      6
       and Pronouns
    E. School Facilities                                                                        9
    F. Physical Education, Sports and Extracurricular Activities                               10
    G. Dress Code                                                                              11
    H. Training and Professional Development                                                   12
    I. Notify and Engage K-12 Learning Communities on Policies                                 13
       to Support Transgender and Nonbinary Students
 Terms and Definitions                                                                         14




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 18 of 180    1
                  MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



                                               Introduction
Transgender and nonbinary students have been a part of our schools and education system for decades.
However, for many educators and administrators, awareness of the unique needs of these students
represents new and sometimes confusing issues to consider. Together through this document, GLSEN and
NCTE, are here to assist, to ensure that all students have a safe and welcoming educational environment.

This model local education agency (LEA), often named school districts, policy is intended to serve as a resource
to LEAs on how best to meet the needs of transgender and nonbinary students. This set of recommendations
was developed by examining LEA policies from around the country. These recommendations were also
informed by examining federal and state policy frameworks.

While this document provides a starting place to create policies on the treatment of transgender and
nonbinary students, the strongest policies are developed in consultation with communities that can best
inform local needs and priorities. Convening a task force of internal and external stakeholders is one strategy
that can yield this type of important information that will ultimately make schools safer, affirming, and more
inclusive for transgender and nonbinary students, particularly those who are also Black, brown, Latinx,
Indigenous, and/or people with disabilities, who should have the same access to a quality education as their
peers.

GLSEN is a national education non-profit organization, leading the movement to create safe and inclusive K-12
schools for all since 1990. We work tirelessly to ensure that all children can have a high quality education
where they feel safe and affirmed. We envision a world in which every child learns to respect and accept all
people, regardless of sexual orientation, gender identity, and/or gender expression, and in turn is respected
and accepted themselves.

The National Center for Transgender Equality (NCTE) is a national social justice organization devoted to
ending discrimination and violence against transgender people through education and advocacy on national
issues of importance to transgender people. By empowering transgender people and our allies to educate and
influence policymakers and others, NCTE facilitates a strong and clear voice for transgender equality in our
nation’s capital and around the country.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 19 of 180                      2
                  MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



                            Model LEA School Board Policies

A.     Nondiscrimination Policies

POLICY:

CONSIDERATIONS UNDER FEDERAL AND STATE LAWS

FEDERAL LAW

Title IX is the federal education law that protects students from discrimination based on sex. In June 2020, the
Supreme Court ruled (in Bostock v. Clayton County, Georgia) that discrimination on the basis of sex
“inherently” includes discrimination based on sexual orientation or transgender status. Numerous courts have
also held that, under this ruling, transgender students are protected from discrimination under Title IX and the
Equal Protection Clause of the U.S. Constitution.

Some, though not all, transgender students may have additional rights under Individuals with Disabilities
Education Act (IDEA) and Section 504 of the Rehabilitation Act, based on a diagnosis of gender dysphoria or
related conditions such as anxiety or depressive disorders. These students may be entitled to Individualized
Education Plans (IEPs) that address their gender-related needs.

As explained in guidance from the U.S. Department of Education, the Equal Access Act “requires public
secondary schools to treat all student-initiated groups equally, regardless of the religious, political,
philosophical, or other subject matters discussed at their meetings. Its protections apply to groups that
address issues relating to LGBT students and matters involving sexual orientation and gender identity, just as
they apply to religious and other student groups.” Under the Act, schools must treat student groups equally,
and may not single out a group such as GSAs (Gay Straight Alliances or Gender and Sexuality Alliances) for
limitations not imposed on other student groups.

STATE LAW

Many states, territories, and the District of Columbia have laws that explicitly prohibit discrimination in
education on the basis of gender identity and expression. In these states, many elements of this model policy
may be explicitly incorporated in policies or regulations implementing these state laws. Consistent with these
laws, a number of states have developed guidance documents for school districts pertaining to transgender
and nonbinary students. Regardless of whether state laws explicitly address gender identity and expression,
transgender and nonbinary students are protected under Title IX and state sex discrimination laws and may
also be protected under state laws regarding disability discrimination. School districts should adopt explicit
nondiscrimination and anti-bullying policies to help ensure acceptance, respect, and safety for all students and
compliance with all federal and state laws. The policy language included here regarding bullying, harassment,



Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 20 of 180                     3
                  MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


and discrimination is not comprehensive, and districts are encouraged to consult GLSEN’s Model District Anti-
Bullying and Harassment Policy for more comprehensive recommended policy language.

IMPLEMENTATION AND NOTES:

This landmark Bostock decision is a powerful tool for changing education environments, both at K-12 schools
and in higher education, for the better by removing those barriers that are impeding LGBTQ+ students and
educators from being safe and affirmed in schools and college campuses across the country. Historically,
federal, state, and local policies have allowed for or even required discrimination against LGBTQ+ students,
educators, faculty, and staff, and created environments where they are not safe to learn or safe to work.
When students are not safe at school, they are denied an education; and when educators do not feel safe at
school, they cannot do their jobs. Learning environments should be places of liberation, where every educator
can teach and every student can thrive and reach their full potential, regardless of their sexual orientation,
gender identity, race, sex, religion, language, disability, immigration, or economic status.


B. Privacy and Confidentiality

POLICY:

The Family Education Rights Privacy Act (FERPA) is a federal law which applies to all aspects of a student’s
identity, including their gender identity and transgender status (20 U.S.C. § 1232g; 34 CFR Part 99). Under
FERPA, only those school employees with a “legitimate educational interest, ” the student, or their parent or
guardian, may have access to a student’s records, including the records of transgender and nonbinary
students.

[The local education agency] shall ensure that all personally identifiable and medical information relating to
transgender and nonbinary students is kept confidential in accordance with applicable state, local, and federal
privacy laws. Staff or educators shall not disclose any information that may reveal a student’s gender identity
to others, including parents or guardians and other staff, unless the student has authorized such disclosure,
the information is contained in school records requested by a parent or guardian, or there is another
compelling need. This disclosure must be discussed with the student, prior to any action.

Prior to disclosing any such information about a transgender or nonbinary student, educators and staff should
work with the student to discuss the manner, time, and message of this disclosure. This should include
providing the student with any support services they may need to make the disclosure in a safe and supportive
environment.

Transgender and nonbinary students have the right to discuss and express their gender identity openly and to
decide when, with whom, and how much to share private information. The fact that a student chooses to use
a different name, to transition at school, or to disclose their gender identity to staff, educators, or other
students does not authorize school staff to disclose a student’s personally identifiable or medical information
to anyone.



Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 21 of 180                    4
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


IMPLEMENTATION AND NOTES:

Whether or not information is in a student’s official records, courts have held that students have a
constitutional right to privacy concerning their sexual orientation, transgender status, or gender identity. The
process of coming out and transitioning is highly personal, and thus, disclosure and privacy are important
considerations. For example, a student may come out to only one educator, but ask that they not yet change
how they are addressed in the classroom (e.g., name or pronouns). Others may come to an administrator and
ask for this information to be shared with teachers and peers. In addition, for some students, this may
represent a matter of safety and wellbeing at home. Students may not be ready for their parents or guardians
to know about their gender identity or expression, or that they are expressing their affirmed gender in school.
Before contacting the parent or guardian of a transgender or nonbinary student, school staff should clarify
with the student whether to use their gender affirming name and the pronouns that correspond to their
gender identity, or whether to use their legal name when corresponding with a parent/guardian. See Nguon v.
Wolf, 517 F.Supp 2d 1177 (C.D. Cal. 2007) (finding that a student has a constitutional right to privacy with
regards to a school disclosing information about that student’s identity to their parent or guardian). Therefore,
disclosure should be driven by the needs and safety of the transgender or nonbinary student, with an
emphasis on privacy.

Administrators should consider creating a private and confidential support plan, in collaboration with the
transgender or nonbinary student. This teamwork is essential to building trust and clear expectations of needs
for the student. Questions to consider when developing this plan:

    •   Who is the student out to already? Family, guardians, friends, others?

    •   Does the student feel safe at school? At home?

    •   What needs does the student have for support?

    •   With whom does the student feel most comfortable discussing these matters?

    •   Does the student want to be out to others in the school?

    •   How and when would the student like to come out to their peers, teachers, and/or family?

The student support plan should address when and how to share information with family members and
others, recognizing that students’ situations differ and some students may fear negative consequences from
being outed before they are ready.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 22 of 180                   5
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



C. Media and Public Communications

POLICY:

Inter-District Communications (staff, students, and families)
When communicating to the media or community about issues related to gender identity or expression, the
school or LEA shall have a single spokesperson to address the issue. Rather than directly commenting on the
issue, other LEA and school staff shall direct parents/guardians and the media to the designated
spokesperson. Protecting the privacy of all students, including transgender and nonbinary students, must be a
top priority for the spokesperson and all staff, and all personally identifiable and medical information shall be
kept strictly confidential, in accordance with state and federal privacy laws that include public records laws.

Outside District Communications (media)
Schools and districts may receive requests for information about transgender students or policies. These types
of inquiries can occur when local media learns about a student transitioning or adoption of a policy regarding
transgender and nonbinary students. In such cases, it is important that school and district staff respond
appropriately in order to avoid undue and potentially harmful attention to individual students.

IMPLEMENTATION AND NOTES:

Organizations such as GLSEN and NCTE can provide assistance to advocates and school staff dealing with this
type of media scrutiny. In general, if the school or LEA chooses to respond to press inquiries regarding how the
LEA supports transgender and nonbinary students, a designated spokesperson should provide information and
talking points regarding the issue for use with the media. Schools and LEAs should not disclose the identity or
personal information of individual students publicly. To ensure the privacy of all students, the school or LEA
should avoid raising issues relating to specific students through public hearings or communication to the
media or community. Schools and LEAs should take care to never make a statement that causes harm, but
allow for students and supportive families to drive what the communications plan, if any, should be.


D. Names, Parent/Guardian Notification, School Records, and Pronouns

POLICY:

All students have the right to be addressed by a name, pronouns, and other terms that correspond to their
gender identity. This foundational respect should not rely on whether a student has access to a legal name
change or gender marker change on official documents. Educators, staff, and peers, should always use the
pronoun and name with which a student identifies or requests.

Educators, staff, and peers are expected to respect a student’s name and pronouns, once they have been
made aware of said student’s correct information.



Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 23 of 180                    6
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


Medical information, recognition, or documentation are not required to change a student’s gender marker or
name in the student database/information system.

When requested by the student and their parent/guardian, a transgender or nonbinary student’s name should
be changed in the Student Database/Information System to reflect their affirmed gender.

If a student has not disclosed their gender identity to a parent/guardian, and as a result the
database/information system information cannot be changed, their affirmed name shall be noted as a
“preferred name” in the system. This affirmed name should be used by staff and peers, according to the
transgender or nonbinary student’s wishes. Attendance rosters and ID cards should reflect the student’s
wishes with regards to name and/or gender marker/pronouns, regardless of the database/information
system. The legal name should be used only where specifically required. Districts and schools should
determine which uses require the legal name, including whether it is required for specific testing or reporting
purposes.

Students may, upon request, have a diploma and course records reissued with a name change after
graduation.

A student’s gender should not be listed on school ID cards, permission forms, program application forms, or
other forms, publications, or documents except where necessary due to state or federal law, regulation, or
other requirements.

IMPLEMENTATION AND NOTES:

CONSIDERATIONS FOR NAMES

Misgendering (referring to a transgender or nonbinary person using a word, especially a pronoun, that does
not correctly reflect their gender identity) and “deadnaming” (using a student’s prior name that does not
reflect their identity) in school is a major fear and concern for transgender and nonbinary students. Having a
policy that clearly affirms a student’s right to use the name and pronouns that are consistent with their gender
identity is essential for the health and safety of the student. While mistakes happen, it is important for staff,
faculty, and peers to make every effort to correct mistakes, ensure they are not repeated, and address any
intentional misuse of a student’s name or pronouns.

The process and cost by which a student changes their legal name and the gender on official documents
marker varies by state. Some states have fees and processes which make it difficult, if not impossible, to
change these documents. Thus, requiring such documentation creates an unnecessary and prohibitive barrier
for transgender and nonbinary students. Schools and LEAs should make affirming changes to names and
gender markers when requested, regardless of documentation.

CONSIDERATIONS FOR PARENT/GUARDIAN NOTIFICATION

Some transgender and nonbinary students may not yet be out to their parents or guardians. As previously
stated, it is essential to have open communication and plans established with the student to go over potential
circumstances. For instance, mail may be sent home with a student’s prior and/or legal name, which may not
be their affirmed name. If a student is not yet out to their parent(s)/guardian(s), using their prior name in


Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 24 of 180                   7
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


correspondence may be the desirable course of action, although they use a different name amongst peers and
educators in school. Educators and staff should work closely with the student to determine what changes are
necessary, and where, to ensure their safety and well being.

CONSIDERATIONS FOR SCHOOL RECORDS

In some circumstances, school administrators may be specifically required by law to record a student’s name
or gender as it appears on documents such as a birth certificate. In those instances, school staff and
administrators should record this information in a separate, confidential file to avoid the inadvertent
disclosure of the information.

All records that are not specifically required by law to match government-issued documents should be
updated when requested by the student. Where there is no state law governing specific types of records,
schools should work alongside the student and parent/guardian to ensure documentation is correct and
affirming.

School administrators should also assess which records, forms, or documents are and are not required to list
gender, and avoid listing gender in cases where it is not needed. For example, some state laws require gender
be listed on student transcripts, while others do not. Commercial vendors of student information systems,
career and college readiness tools, or other software systems may also require gender to be listed on a few
key forms. Confidential and voluntary questions about gender and other demographics may be critical for
student surveys, such as school climate surveys. Other forms and documents, such as student ID cards,
permission or consent forms (such as for field trips, counseling, medication, or release of records), free or
reduced lunch application forms, application or wait list forms for various school programs, medical or
counseling consent forms, typically need not and should not list a student’s gender.

CONSIDERATIONS FOR PRONOUNS

Pronouns should never be assumed for any student. Educators and staff should ask all students what
pronouns they use, and have a place to document that information in class rosters, databases, etc.

Educators and administrators should be aware of gendered language utilized in schools. Phrases like “ladies
and gentlemen,” “boys and girls,” or circumstances where classes are divided by binary genders are all places
that can cause unnecessary stress and anxiety for transgender and nonbinary students. Consider other ways to
address or group students including (but not limited to):

    •   Everyone, folks, friends, or colleagues to address groups of students.

    •   Grouping students based on their birthdate, their favorite colors, or random numbering, rather than by
        binary genders.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 25 of 180                  8
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



E. School Facilities

POLICY:

With respect to all restrooms, locker rooms, or changing facilities, students shall have access to facilities that
correspond to their gender identity. Schools may maintain separate restrooms, locker rooms or changing
facilities for male and female students, provided that they allow all students equal access to facilities that are
consistent with their gender identity. Transgender and nonbinary students should determine which facilities
they feel safest and most comfortable using.

Any student who is uncomfortable using a shared gender-segregated facility, regardless of the reason, shall,
upon the student’s request, be provided with a safe and non-stigmatizing alternative. This may include, for
example, addition of a privacy partition or curtain, provision to use a nearby private restroom or office, or a
separate changing schedule. However, such alternatives shall only be provided to a student upon that
student’s request. Requiring a transgender or nonbinary student to use a separate space against their wishes
threatens to stigmatize the student and disclose their transgender status to others. Under no circumstances
may students be required to use gender segregated facilities that are inconsistent with their gender identity.

Schools shall designate any existing facilities that are designed to be used by only one person at a time as
accessible to all students regardless of gender. However, under no circumstances shall a student be required
to use a single-user facility because they are transgender or nonbinary. Schools are encouraged to assess ways
to increase privacy for all students in existing facilities, and to incorporate universal-design approaches for all-
gender facilities with enhanced privacy in new construction or renovation.

IMPLEMENTATION AND NOTES:

CONSIDERATIONS FOR RESTROOMS, LOCKER ROOMS, OR CHANGING FACILITIES

The model policy ensures equal access to all school facilities by making clear that all students have the right to
be treated according to their gender identity. At the same time, the model policy also acknowledges that
some students, for a variety of reasons, may feel uncomfortable using shared facilities. This may include
transgender students, students with disabilities or physical differences, students who are reluctant to use
facilities alongside a transgender student, or other students. The model policy provides for accommodating
students upon request by providing a safe and non-stigmatizing alternative.

The model policy also encourages schools to consider universal-design approaches to provide all-gender
facilities with increased privacy in new construction or renovations. These approaches, which may include an
open restroom plan with fully enclosed stalls, have been recognized for their potential to improve flow,
maximize privacy and use of space, and improve accessibility for people with disabilities, transgender and
nonbinary individuals, and others.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 26 of 180                      9
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



F. Physical Education, Sports, and Extracurricular Activities

POLICY:

Students shall be permitted to participate in all physical education, athletics, and other extracurricular
activities according to their gender identity. Participation shall not be conditioned by requiring legal or medical
documentation.

Participation in interscholastic sports is governed by the [State Student Athletic Association]. If the Association
has policies regarding transgender and nonbinary athletic participation, the school will implement and utilize
those policies accordingly.

[If there is no state athletic association policy, see GLSEN’s recommendations for athletic policies.]

For overnight school trips: Students shall be allowed use of an overnight facility that corresponds with their
gender identity. Transgender and nonbinary students will be consulted in the planning process, to address any
potential concerns and needs for privacy. If applicable, a student’s parent/guardian should also be consulted,
unless there are privacy concerns in doing so.

Under no circumstances should a transgender or nonbinary student be denied the opportunity to participate
in any overnight trips or or other opportunities based on overnight accommodations. No student should be
required to be housed separately or in a manner that does not reflect their gender during any school
sponsored trip or event. The school shall make all efforts to accommodate any student who desires greater
privacy in overnight trips.

IMPLEMENTATION AND NOTES:

Generally, athletics participation at the interscholastic level is governed by state athletic associations. In states
where there is no state-wide policy, schools and LEAs should reference GLSEN’s athletic-specific guidance
document.

Overnight trips can be awkward and difficult for many youth, not just transgender and nonbinary youth.
Schools and LEAs should be prepared to offer reasonable accommodations for all youth with privacy concerns.
Educators and/or staff should have open conversations with youth about overnight accommodations well in
advance of the trip, and provide all students with the opportunity to make reasonable requests. Preparation
should include upfront communication about rooming, facilities, and expectations for the event.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 27 of 180                       10
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



G. Dress Code

POLICY:

Schools may enforce dress codes, but any dress code must be gender-neutral. Students must have the right to
dress in accordance with their gender identity, within the constraints of the dress codes adopted by the
school. School staff must not enforce a school’s dress code more strictly against any group of students,
including transgender and gender-nonconforming students.

IMPLEMENTATION AND NOTES:

LEAs are more often adopting dress codes that do not have separate rules based on gender. Under these
policies, all students have access to the same clothing options regardless of gender, and students cannot be
disciplined for wearing clothes associated with a particular gender if those clothes otherwise comply with the
dress codes. For example, a school’s dress code might say, “Skirts or shorts may not end more than two inches
above the knee” rather than “Girls may not wear skirts that end more than two inches above the knee.” This
approach minimizes the risk of liability under the First Amendment and laws prohibiting discrimination based
on actual or perceived race, color, national origin, sex, disability, sexual orientation, gender identity, class, or
religion.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 28 of 180                      11
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



H. Training and Professional Development

POLICY:

As an institution built on the foundation of knowledge and education, [school/LEA] is dedicated to ensuring all
educators, staff, and administrators are prepared with the information necessary to create a safe, welcoming,
and inclusive learning environment. To foster this environment of learning and inclusively, all staff and
educators will participate in annual professional development and training specific to the needs of
transgender and nonbinary students and colleagues. The material covered in this training shall include, but not
be limited to:

    •   Terms, definitions, concepts, and understandings relevant to gender identity and gender expression in
        youth;

    •   Using appropriate names, pronouns, and other terms for students;

    •   Strategies for communication with students and parents/guardians about issues related to gender
        identity and gender expression;

    •   Classroom management practices, curriculum, and resources that educators can integrate into their
        classrooms to help build a more gender-inclusive environment for all students;

    •   Current policies related to gender identity, gender expression, privacy, and bullying prevention in the
        school/district;

    •   Provide a space to listen, provide feedback, and help address any questions or concerns staff and
        educators may have related to transgender and nonbinary student inclusion.

This professional development and training will be held annually, to ensure that newly hired staff and
educators are equally informed and any changes are clearly communicated in a timely manner. If applicable,
this training may coincide with other previously scheduled training, onboarding, or professional development
days, so long as the relevant information is conveyed.


IMPLEMENTATION AND NOTES:

In order to ensure this policy is implemented and utilized correctly, it is critical for schools and LEAs to provide
annual mandatory training and professional development on the material. Schools and agencies may consider
bringing in an outside facilitator to convey the information. Ideally, schools and/or agencies should hire a
facilitator with lived experience, such as a transgender or nonbinary educator, young person, or health
expert.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 29 of 180                      12
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


Training and professional development concerning transgender or nonbinary students should not wait until a
student comes out in school. Schools and LEAs should be proactive in providing this information, rather than
react when a student comes out. This proactive approach will help LEAs and schools avoid missteps, mistakes,
and potentially emotionally, physically, or even legally damaging circumstances for everyone involved.


I. Notify and Engage K-12 Learning Communities on Policies to Support
Transgender and Nonbinary Students

POLICY:

Students, parents/guardians, and families will be notified at least annually of nondiscrimination policies,
including each student’s right to be treated in accordance with their gender identity.

    •   Schools shall include this information in student handbooks, back-to-school messages, and other
        appropriate materials.

    •   Schools shall publish their policies on their websites.


IMPLEMENTATION AND NOTES:

All students and their families should be aware of students’ rights and LEA policies and commitment to create
supportive learning communities for all students, including transgender and nonbinary students. Schools
should not wait for questions or issues to arise, but should proactively inform students and families.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 30 of 180                  13
                   MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS



Terms and Definitions
Transgender and nonbinary students may use different terms to describe their lives and experiences of
gender. Terminology and language differ and evolve based on region, language, race or ethnicity, age, culture,
and many other factors. Some examples of terms used by some youth include: trans, trans girl, trans boy,
nonbinary, genderqueer, gender fluid, demi girl, demi boy, Two Spirit (amongst Native American, American
Indian/Alaska Native, First Nation, or Indigenous communities only), and many more. Some trans youth prefer
simply to be referred to as boys or girls except when their trans status is specifically relevant. These terms
often mean different things or refer to different experiences of gender. Staff and educators should reflect and
use the terms that students use to describe themselves, and avoid terms that make these students
uncomfortable.

These definitions are provided not for the purpose of imposing labels, but rather to assist in understanding
this policy and the obligations of school and agency personnel. Students may or may not use these terms to
describe themselves or their experiences.

GENDER IDENTITY: A person’s deeply held knowledge of their own gender, which can include being a man,
woman, another gender, or no gender. Gender identity is an innate part of a person’s identity. One’s gender
identity may or may not align with society’s expectations with the sex they were assigned at birth (male,
female, or intersex).

GENDER EXPRESSION: Expression of gender, whether through hair styles, makeup, or personal fashion,
changes over the course of a person’s lifetime.

TRANSGENDER/TRANS: An adjective describing a person whose gender identity differs from the sex they were
assigned at birth. A trans woman is a woman whose sex was assigned male when she was born. A trans man is
a man whose sex was assigned female when he was born. Some transgender people are not male or female,
and may use terms like nonbinary to describe their gender (see below).

GENDER NONCONFORMING: A term sometimes used to describe people whose gender expression differs from
social expectations, such as “feminine boys,” “masculine girls,” and people who are perceived as androgynous
in some way. Being gender nonconforming is distinct from being transgender, though some trans people may
consider themselves to be gender nonconforming. For example, a cisgender woman who has short hair and
likes sports might consider herself gender nonconforming, but may not identify as transgender.

NONBINARY: A term used to refer to people whose gender identity is not exclusively male or female, including
those who identify with a different gender, a combination or genders, or no gender. Nonbinary may be
considered a subset of transgender or a distinct identity. Other similar or more specific terms may include
genderqueer, gender fluid, agender, or Two-Spirit (for Native American students).

CISGENDER: An adjective describing a person whose gender identity corresponds with the gender society
typically associates with the sex they were assigned at birth. The majority of people are cisgender, while a
minority are transgender. For example, a cisgender woman was assigned female at birth and identifies as
female her gender as a woman.


Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 31 of 180                   14
                  MODEL LOCAL EDUCATION AGENCY POLICY ON TRANSGENDER AND NONBINARY STUDENTS


SEXUAL ORIENTATION: A person’s romantic and/or sexual attraction to other people. This includes being
straight, gay, bisexual, queer, asexual, or many other terms used to describe sexual orientation. This is
different and distinct from gender identity. Transgender and nonbinary people may be straight, gay, lesbian,
asexual, or any other sexual orientation.

TRANSITION: The process in which a person begins to live according to their gender identity. Transition is a
process that is different for everyone, and it may or may not involve specific medical treatments or changes to
official documents. There is no one step or set of steps that an individual must undergo in order to have their
gender identity affirmed and respected.

QTBIPOC: This is an acronym for Queer/Trans, Black, Indigenous, and People of Color.


For additional information and resources on this model policy contact GLSEN’s Public Policy Office at
policy@glsen.org and the National Center for Transgender Equality at ncte@transequality.org.




Download free
          Caseresources online at www.glsen.org
                1:22-cv-00078-CJW-MAR           | Engage 3-10
                                             Document    with @GLSEN  on
                                                               Filed 08/05/22 Page 32 of 180                   15
                      EXHIBIT C




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 33 of 180
8/4/22, 12:02 PM                                                                Supporting Gender Expansive Students - Gender Spectrum




                                                                                                                      Educator Resources

                          Supporting Gender
                          Expansive Students

             While working proactively to be more
             gender-inclusive benefits all students,
            for many school leaders and educators,
              this work begins with supporting a
            transgender or gender expansive child
                        at your school.



                                                      Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 34 of 180
https://genderspectrum.org/articles/supporting-ge-students                                                                                 1/5
8/4/22, 12:02 PM                                                 Supporting Gender Expansive Students - Gender Spectrum




              Creating Gender Support Plans

              More than any other resource, Gender Support Plans (GSPs) have allowed schools across the United States and
              beyond to thoughtfully address the specific needs of transgender and nonbinary students. GSPs leverage the
              positive spaces established through gender inclusive practices. Their purpose is to create shared understandings
              about the ways in which the student’s authentic gender will be accounted for and supported at school. Rather than
              a moment of crisis, a gender-expansive student’s enrollment or emergence will affirm the truly gender-inclusive
              climate a school has worked so hard to create. Through the use of a Gender Support Plan, what can feel like a
              daunting task becomes a series of individual decisions and practices grounded in common sense approaches
              educators employ every day.


              Each student’s GSP will be unique, informed by the student’s individual’s needs, community, family situation and
              personality. What all GSPs share in common is an intentional and transparent process for systematically addressing
              the various areas that can otherwise negatively impact the student’s experience at school. While a GSP is most
              effective in a setting that is proactively designed around gender inclusive principles, their lack does not preclude
              the use of a GSP. In fact, the absence of such conditions makes a carefully crafted plan essential for the student’s
              safety, well-being and success at school.


              Learn more about using the Gender Support Plan.



                          Learn More




              The School/Home Partnership
              When students, schools and caring adults collaborate, the impact is profound. Whenever possible, they should work
              together to identify the specific ways in which the institution will account for the student’s gender-related needs.
              Ideally, each will spend time completing the various sections of the GSP to the best of their ability and then come
              together to review sections and confirm shared agreements for implementing the plan.


              Establishing this collaborative relationship is not always easy. For some families of gender-expansive students,
              experiences with schools
                                  Casehave been challenging, and
                                       1:22-cv-00078-CJW-MAR     in some3-10
                                                               Document  cases combative.
                                                                             Filed 08/05/22 Often
                                                                                             Page facing systems unprepared or
                                                                                                  35 of 180
https://genderspectrum.org/articles/supporting-ge-students                                                                           2/5
8/4/22, 12:02 PM                                                                Supporting Gender Expansive Students - Gender Spectrum


              unwilling to meet their child’s needs, parents may approach their child’s school ready to do battle. It is critical that
              educators are especially focused on building trust with the family, acknowledging their fears and articulating your
              commitment to ensuring their child’s well-being. By genuinely demonstrating that their gender-expansive child is a
              welcome addition to your community, schools position themselves to establish an authentic partnership with
              families. The Framework for Inclusive Schools describes a number of tangible steps schools can take to demonstrate
              this welcoming stance. In so doing, you are setting up a relationship grounded in a common cause: the child’s
              successful experience at your school.


              Practical tips for creating a healthy school/home partnership can be found in our Initial School Meeting, a simple
              agenda for establishing this critical relationship. Read More



                          Initial School Meeting




                        Youth in Non-Affirming Homes
                        Sadly, some gender expansive students lack support for their gender at home, and may in fact be living
                        in an environment that is openly hostile or even dangerous. This does not mean a school is precluded
                        from providing an affirming environment on campus. In fact, doing so may be life-saving for the student.
                        Though requiring sensitivity and caution, schools can successfully navigate this challenging situation.


                        Not surprisingly, the use of a Gender Support Plan will once again be critical. But in this case, the plan will
                        be one developed between the school and student. In some cases, students will approach school staff
                        seeking support, perhaps in the form of a request to use the name and pronoun by which they wish to
                        be referred. In other cases, staff may observe something that signals the student is grappling with their
                        gender. This might be a shift in their gender presentation, a comment in class or a reference by another
                        student indicating a shift in the young person’s understanding of their gender. Regardless of the cause,
                        when school staff become aware of a student’s gender being “on the table,” it can be an appropriate time
                        to respectfully raise the issue with the student and determine if they are looking for any support from
                        the school. See more in "Privacy and Unsupportive Caregivers" in our article on "Schools and Privacy
                        Issues." Read More



                                    Schools and Privacy




                                                      Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 36 of 180
https://genderspectrum.org/articles/supporting-ge-students                                                                                3/5
8/4/22, 12:02 PM                                                    Supporting Gender Expansive Students - Gender Spectrum




              Communicating a Change in Gender Status
              When a student seeks gender congruence in a way that is new (or at least new at school), it marks a milestone in
              that young person’s development. Handled well, it can be a profound experience for the young person, as well as for
              the entire school community. Be it through their outward appearance, social interactions or assertion of a new term
              for their gender identity, the process is by definition public. As such, it is incumbent on the school to support the
              student to plan accordingly. A Gender Communication Plan can be a useful tool for doing so.




               Typically, this process will include things such as changes in a student’s name or pronouns, a gender expression
              that is more aligned with their identity, the use of facilities such as restrooms or changing rooms consistent with
              gender identity, participation in activities such as sports or after-school programs, and various ways of socially
              interacting with other students and adults. Read More



                          Communicating a Change in Status




              Responding to Concerns
              It is incumbent on you to meet the needs of your transgender and other gender-expansive students, and doing so
              is well within your reach. It is also true that concerns may be raised by colleagues and community members along
              the way. Responding to these should not be an all-or-nothing, zero sum gamegain. Being able to respectfully
              address questions about your school’s commitment to the well-being of all students, without compromising any
              child’s privacy, is a critical aspect of gender inclusion.


              So what does this look like in practice? School leaders from an array of contexts have discovered that answering
              these concerns is very much like handling any number of challenging inquiries you face on a daily basis, and that
              you can quickly become comfortable with just a little practice. Read More



                          Responding to Concerns




              Know that the ideas above will most likely not result in some sort of epiphany on the part of the individual who has
              raised concerns in the first place. It may well be that they were never going to be open to any rationale you might
              provide. But in having a clear set of principles guiding your actions, you can demonstrate the professionalism and
              intentionality that is at the heart of being a gender inclusive educator, and that includes supporting the needs of
              the transgender and gender-expansive students you are, or most certainly will be, encountering. For more, see our
              Introduction to Creating Gender
                                    Case        Inclusive Schools. Document 3-10 Filed 08/05/22 Page 37 of 180
                                         1:22-cv-00078-CJW-MAR
https://genderspectrum.org/articles/supporting-ge-students                                                                            4/5
8/4/22, 12:02 PM                                                                Supporting Gender Expansive Students - Gender Spectrum




                                     EDUCATOR RESOURCES

        Introduction: Creating Gender                                                               Professional Development And
              Inclusive Schools                                                                              Training FAQs

                                                  Read More                                                                              Learn More



                                                                                                                                   Privacy Policy   Terms of Service   Contact Us
                                                                                                     Gender Spectrum | 1271 Washington Ave. #834, San Leandro, CA
                                                                                                     94577 © 2019 Gender Spectrum. All rights reserved.




                                                      Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 38 of 180
https://genderspectrum.org/articles/supporting-ge-students                                                                                                                          5/5
                      EXHIBIT D




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 39 of 180
                     PATIENT-CENTERED OUTCOMES RESEARCH INSTITUTE
                     FINAL RESEARCH REPORT


Examining Health Outcomes for People Who Are
Transgender
Michael Goodman, MD, MPH; Rebecca Nash, MPH


AFFILIATION:
Emory University School of Public Health, Atlanta, Georgia



Original Project Title: Comparative Risks and Benefits of Gender Reassignment Therapies
PCORI ID: AD-12-11-4532
HSRProj ID: 20143115




_______________________________
To cite this document, please use: Goodman M, Nash R. (2019). Examining Health Outcomes for People Who Are
Transgender. Patient-Centered Outcomes Research Institute (PCORI). https://doi.org/10.25302/2.2019.AD.12114532




         Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 40 of 180
TABLE OF CONTENTS
ABSTRACT .............................................................................................................................. 6
BACKGROUND ........................................................................................................................ 8
    Transgender Health Issues and Knowledge Gaps ...................................................................... 8
    Methodological Challenges Facing Transgender Health Studies ............................................. 10
    Introducing Study of Transition, Outcomes, and Gender ........................................................ 11
          Table 1. STRONG Project Timeline.................................................................................... 12
STAKEHOLDER INVOLVEMENT ...............................................................................................13
    Preliminary Survey ................................................................................................................... 13
    Stakeholder Advisory Group .................................................................................................... 14
          Table 2. Composition of the STRONG Stakeholders Advisory Group ............................... 15
    Online Focus Groups ................................................................................................................ 16
METHODS ..............................................................................................................................19
    Overall Study Structure and Objectives ................................................................................... 19
    EMR-Based Study at Kaiser Permanente ................................................................................. 21
          Figure 1. STRONG Transgender Cohort Ascertainment Flow Diagram ............................. 23
          Table 3. ICD-9 Codes and Keywords Used to Identify Potentially Eligible STRONG
          Transgender Cohort Members Among Kaiser Permanente Members in Georgia,
          Northern California, and Southern California ................................................................... 24
          Table 4. Keywords Used for STRONG Transgender Cohort Natal Sex Assignment ........... 26
    Survey of Kaiser Permanente Cohort Participants................................................................... 33
          Figure 2. Results of STRONG Survey Recruitment Among Kaiser Permanente
          Participants ....................................................................................................................... 36
    Methods of the VA Study......................................................................................................... 39
RESULTS ................................................................................................................................42
    Results of Kaiser Permanente EMR Cohort Analyses............................................................... 42
          Figure 3. Results of STRONG Transgender Cohort Ascertainment and Validation ........... 43
          Figure 4. Prevalence of Transgender Status by Site and Year of Kaiser Permanente
          Health Plan Enrollment ..................................................................................................... 44
          Table 5. Characteristics of the STRONG Kaiser Permanente Transgender Cohort ............. 46
          Table 6. Gender Affirmation Status of the STRONG Kaiser Permanente
          Transgender Cohort Members.......................................................................................... 48



                                                                                                                                               2
    Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 41 of 180
   Figure 5. Incidence of VTE, IS, and MI Among TF Cohort Members Overall (A-C)
   and TF Members Who Initiated Estrogen Therapy After the Index Date (D-F)
   Compared With Matched Reference Cohorts ................................................................... 49
   Table 7. Incidence Rates and Adjusted Hazard Ratios for Acute Cardiovascular
   Events Among TF STRONG Kaiser Permanente Cohort Members Compared With
   Matched Reference Cohorts (2006-2016)......................................................................... 51
   Figure 6. Incidence of VTE, IS, and MI Among TM Cohort Members Overall (A-C)
   Compared With Matched Reference Cohorts .................................................................. 52
   Table 8. Incidence Rates and Adjusted Hazard Ratios for Acute Cardiovascular
   Events Among TM STRONG Kaiser Permanente Cohort Members to Matched
   Reference Cohortsa (2006-2016)....................................................................................... 53
   Table 9. Cancer Incidence Rates and Adjusted Hazard Ratios for TF and TM
   STRONG Kaiser Permanente Cohort Participants Aged ≥18 Years at Index Date
   Compared With Matched Referent Males and Femalesa ................................................. 55
   Table 10. Prevalence of Mental Health Conditions in TF Children Aged 3 to 9
   Years Relative to Referent Groups in the STRONG Kaiser Permanente Cohort ............... 56
   Table 11. Prevalence of Mental Health Conditions in TM Children Aged 3 to 9
   Relative to Referent Groups in the STRONG Kaiser Permanente Cohort ......................... 57
   Table 12. Prevalence of Mental Health Conditions in TF Children Aged 10 to 17
   Years Relative to Referent Groups in the STRONG Kaiser Permanente Cohort ................. 59
   Table 13. Prevalence of Mental Health Conditions in TM Children Aged 10 to 17
   Years Relative to Referent Groups in the STRONG Kaiser Permanente Cohort ............... 61
   Table 14. Prevalence of Hospitalizations for Mental Health Conditions Among TF
   Children Aged 10 to 17 Years Relative to Referent Groups in the STRONG Kaiser
   Permanente Cohort .......................................................................................................... 63
   Table 15. Prevalence of Hospitalizations for Mental Health Conditions Among TM
   Children Ages 10 to 17 Years Relative to Referent Groups in the STRONG Kaiser
   Permanente Cohort .......................................................................................................... 65
   Table 16. Prevalence of Mental Health Conditions Among TF Adults (≥18 Years of
   Age) Relative to Referent Groups in the Kaiser Permanente STRONG Cohort .................. 68
   Table 17. Prevalence of Mental Health Conditions Among TM Adults (≥18 Years of
   Age) Relative to Referent Groups in the STRONG Kaiser Permanente Cohort ................. 70
   Table 18. Prevalence of Hospitalization for Mental Health Conditions Among TF
   Adults (≥18 Years of Age) Relative to Referent Groups in the STRONG Kaiser
   Permanente Cohort .......................................................................................................... 72
   Table 19. Prevalence of Hospitalization for Mental Health Conditions Among TM
   Adults (≥18 Years of Age) Relative to Referent Groups in the STRONG Kaiser
   Permanente Cohort .......................................................................................................... 74


                                                                                                                                3
Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 42 of 180
    Table 20. Prevalence of Most Common Mental Health Conditions Among TF With
    Keyword Evidence Only Relative to Referent Groups in the STRONG Kaiser
    Permanente Cohort by Age Group.................................................................................... 76
    Table 21. Prevalence of Most Common Mental Health Conditions Among TF With
    Keyword Evidence Only Relative to Referent Groups in the STRONG Kaiser
    Permanente Cohort by Age Group .................................................................................... 78
    Figure 7. Corrgram Correlation Matrices of Mental Health Conditions Before the
    Index Date in TF (A) and TM (B) Children, Aged 3-17 Years .............................................. 80
Gender Affirmation and Self-Reported Outcomes in the Kaiser Permanente Survey ............. 81
    Figure 8. Corrgram Correlation Matrices of Mental Health Conditions Before the
    Index Date in TF (A) and TM (B) Adults (Aged ≥ 18) ......................................................... 82
    Table 22. Characteristics of the STRONG Survey Participants .......................................... 83
    Figure 9. Extent to Which Survey Respondents Perceived Themselves as
    Male/Female (A, B) and Masculine/Feminine (C, D) Among TF (A, C) and TM (B, C)
    Individuals (Assuming Gender and Gender Expression Represent a Continuum,
    Where Would You Place Yourself on the Scales Below at the Present Time?)................. 85
    Figure 10. Extent to Which Survey Respondents Want to Be Male/Female (A, B)
    and Masculine/Feminine (C, D) Among TF (A, C) and TM (B, D) Individuals
    (Assuming Gender and Gender Expression Represent a Continuum, Where Do
    You Want to Be on the Scales Below?) ............................................................................. 86
    Figure 11. Extent to Which Survey Respondents Believe Others Perceive Them as
    a Male/Female (A, B) and Masculine/Feminine (C, D) Among TF (A, C) and TM (B,
    D) Individuals (Assuming Gender and Gender Expression Represent a Continuum,
    How Do You Think Others Perceive You on the Scales Below?) ....................................... 87
    Figure 12. Extent to Which Survey Respondents Want to Be Perceived by Others
    as Male/Female (A, B) and Masculine/Feminine (C, D) Among TF (A, C) and TM (B,
    D) Individuals (Assuming Gender and Gender Expression Represent a Continuum,
    How Do You Want Others to Perceive You on the Scales Below?) ................................... 88
    Table 23. The Distributions of the Total Transgender Congruence Score,a by
    TM/TF Status and by Gender Affirmation Category ......................................................... 90
    Table 24. The Distributions of the Total Body Image Score,a by TM/TF Status and
    by Gender Affirmation Category ...................................................................................... 90
    Table 25. The Distributions of the “Passing” Score,a by TM/TF Status and by
    Gender Affirmation Category ........................................................................................... 91
    Table 26. Associations of Gender Affirmation, Gender Identity, and Procedures
    Aimed at Changing Secondary Sex Characteristics With Low (Below Median) Total
    Transgender Congruence Scorea ...................................................................................... 92




                                                                                                                            4
Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 43 of 180
          Table 27. Associations of Gender Affirmation, Gender Identity, and Procedures
          Aimed at Changing Secondary Sex Characteristics With Low (Below Median) Body
          Image Scorea ..................................................................................................................... 94
          Table 28. Associations of Gender Affirmation, Gender Identity, and Procedures
          Aimed at Changing Secondary Sex Characteristics With a Difference Between the
          Desired and the Current Passing Statusa .......................................................................... 95
    Mortality and Cancer Incidence Among Transgender Veterans .............................................. 96
          Table 29. Characteristics of the STRONG VA Transgender Cohort .................................... 97
          Figure 13. Cumulative Survival of TF (A) and TM (B) Cohort Members at the VA
          Compared With Matched Reference Cohorts .................................................................. 98
          Table 30. Cancer Incidence Rates and Hazard Ratios for TF STRONG VA Cohort
          Participants Compared With Matched Referent Males and Femalesa .............................. 99
DISCUSSION......................................................................................................................... 101
    Decisional Context ................................................................................................................. 101
    Study Results in Context ........................................................................................................ 101
    Implementation of Study Results .......................................................................................... 106
    Generalizability ...................................................................................................................... 107
    Subpopulation Considerations............................................................................................... 108
    Study Limitations ................................................................................................................... 109
    Future Research ..................................................................................................................... 112
CONCLUSIONS ..................................................................................................................... 115
REFERENCES ........................................................................................................................ 117
APPENDICES ........................................................................................................................ 127
    Appendix 1. Medications and Procedures for Male-to-Female and Female-to-Male
    Gender Affirmation................................................................................................................ 127
    Appendix 2. Online Focus Groups Report .............................................................................. 167
    Appendix 3. Natal Sex–Specific Diagnoses and Procedures Used for TM/TF Status
    Ascertainment at the VA ....................................................................................................... 178
    Appendix 4. Sensitivity Analyses for Acute Cardiovascular Events ........................................ 181
    Appendix 5. ICD Codes for Mental Health Outcome Ascertainment ..................................... 184
    Appendix 6. STRONG Survey.................................................................................................. 186
    Appendix 7. Executive Summary of STRONG Study ............................................................... 371




                                                                                                                                             5
    Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 44 of 180
ABSTRACT
Background: Transgender people are individuals whose biological sex does not match their
gender identity. Some transmasculine (TM) and transfeminine (TF) individuals seek gender
affirmation treatments that involve administration of cross-sex hormone therapy and/or
surgical changes. The specific outcomes of interest in transgender health include acute
cardiovascular events, mental health morbidity, cancer, and quality-of-life measures.

Objectives: The Study of Transition, Outcomes, and Gender was initiated to assess morbidity
among transgender people in general and after gender-affirming treatments at Kaiser
Permanente health plans in Georgia and Northern and Southern California and in the US
Department of Veterans Affairs (VA) national health system.

Methods: The study included 3 components. The first component was a cohort study that
collected data using electronic medical records (EMRs) of transgender individuals enrolled in
the participating Kaiser Permanente plans aged 3 to 86 years at initial presentation.

The second component was a cross-sectional survey of selected Kaiser Permanente cohort
participants. The third component was a retrospective cohort study of transgender veterans.
The Kaiser Permanente EMR cohort component examined incidence of acute cardiovascular
events in relation to hormone therapy, prevalence of mental health problems, and cancer
incidence. The Kaiser Permanente survey component examined measures of quality of life by
history and extent of gender affirmation. Most self-reported outcomes in the survey were
ascertained using existing previously validated instruments. The VA EMR cohort component
examined all-cause mortality and cancer incidence among transgender veterans.

Results: The search of Kaiser Permanente and VA EMR data yielded 2 cohorts that collectively
included 11 442 transgender people of all ages with known TM/TF status and over 200 000
age-, race-/ethnicity-, and site-matched referents (ie, cisgender male and females used as
comparison groups) selected from the same underlying populations. Notable associations in the
Kaiser Permanente cohort of TF include elevated risk of venous thromboembolism (VTE) and
ischemic stroke (IS). The increase in risk was particularly pronounced after 6 years of follow-up
in the estrogen initiation subcohort (a subset of participants who started estrogen therapy at
Kaiser Permanente after the index date). For example, the hazard ratio (95% CI) for VTE among
TF individuals on estrogen (N = 17 events) compared with cisgender males was 1.9 (1.0-3.6) for
the first 6 years of follow-up and 4.7 (1.4-16.2) after 6 years. The corresponding estimates for IS
(N = 17 events) were 1.1 (0.5-2.2) and 6.8 (2.4-18.9). Another notable finding was the high
prevalence of mental health conditions among transgender people, particularly children and
adolescents. The prevalence of estimates for suicidal ideation and self-inflicted injuries were
orders of magnitude higher in transgender children and adolescents than in the matched
reference groups of the same age. The survey component of the study demonstrated that
transgender congruence and body image, and to a lesser extent “passing status,” were higher
among persons who completed their gender affirmation compared with those who received
less treatment. Both Kaiser Permanente and VA EMR cohorts demonstrated that transgender

                                                                                                 6
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 45 of 180
people do not experience higher incidence of cancers. Risk of prostate cancer was lower among
TF than among reference males, an observation that was not explained by the differences in
screening.

Conclusions: The current recommendations for follow-up of TF patients receiving hormone
therapy do not emphasize the need for long-term surveillance for stroke and VTE. In view of our
results, the existing recommendations may need to be revised. Especially worrisome are the
findings for suicidal ideation and self-inflicted injuries among children and adolescents. These
data indicate that a child presenting as transgender to a health care provider needs to be
urgently evaluated for possible life-threatening comorbidities. While our survey should not be
considered conclusive due to its cross-sectional design, it may inform the ongoing debate about
coverage for gender affirmation therapy.

Limitations and Subpopulation Considerations: We recognize that transgender people enrolled
through integrated health care systems such as Kaiser Permanente and the VA represent a
cohort of persons with health insurance that may not be representative of the overall
transgender population in the United States. It is expected that some of the results may differ
among transgender people in different socioeconomic strata. Weighing against this concern is
the demonstrated ability to efficiently identify a large cohort of transgender participants and
referents with a high degree of internal validity. As gender affirmation therapy is increasingly
initiated and received within the VA and Kaiser Permanente systems, many additional analyses
may now be possible.




                                                                                              7
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 46 of 180
BACKGROUND
Transgender Health Issues and Knowledge Gaps
       Transgender people are a diverse group of individuals whose biological sex does not
match their gender identity.1 Typically, sex is assigned at birth based on the appearance of the
genitalia.2 In contrast, an individual’s gender identity is defined as being male/a man, female/a
woman, or of a different gender.2,3 Many transgender people may not self-identify based on
binary definitions4; however, a person whose gender identity differs from a male natal sex
assignment is often referred to as male-to-female or a transwoman, and a person whose
gender identity differs from a female natal sex is often referred to as female-to-male or a
transman.5,6 More recently, the terms transfeminine (TF) and transmasculine (TM) have
become preferred as they also apply to individuals who do not identify with binary gender
categories.7 Individuals whose biological sex and gender identity are congruent are sometimes
referred to as cisgender.

       Some, but not all, transgender people seek medical gender affirmation.8,9 This is
sometimes done to alleviate gender dysphoria, which is a diagnostic term that describes “a
discomfort or distress that is caused by a discrepancy between a person’s gender identity and
that person’s sex assigned at birth.”8 Gender affirmation therapy may involve administration of
cross-sex hormone therapy to achieve desired masculinization or feminization, or use of
gonadotropin-releasing hormone analogues in children to delay puberty. Potential surgical
procedures include “top surgery” (eg, breast reduction or augmentation) and “bottom surgery”
(eg, hysterectomy/orchiectomy or vaginoplasty/phalloplasty). Other interventions that may be
used to change secondary sex characteristics include liposuction/lipofilling, electrolysis, or voice
surgery.

       Although several organizations have established guidelines for clinical care of
transgender patients,9,10 many issues in transgender health and gender affirmation therapy
remain unresolved due to lack of direct evidence. Critical knowledge gaps include uncertainty
about the effects of hormone therapy and surgery on gender dysphoria and quality of life, and


                                                                                                    8
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 47 of 180
the insufficiently understood risks of cardiovascular disease, metabolic or endocrine disorders,
and cancer following hormonal or surgical gender affirmation.11

        It is important to emphasize that placebo-controlled experimental studies of cross-sex
hormones or randomized trials comparing surgical procedures to no surgery may not be
ethically justified or acceptable to transgender patients.12 For this reason, much of the evidence
pertaining to the risks and benefits of hormone therapy and other gender affirmation therapies
must be obtained from observational studies.

        A specific area of concern in transgender health is the risk of acute cardiovascular
events including venous thromboembolism (VTE), ischemic stroke, and myocardial infarction,
which may be plausibly related to cross-sex hormone therapy in TF individuals, and less so in
TM individuals.13 As reviewed in detail elsewhere,14,15 despite concerns about cardiovascular
health status of transgender people, the direct evidence addressing this issue is sparse and
inconsistent due to the predominance of small studies with very few reported events.

        Whereas cancer among transgender people is listed among research priorities,16 most of
the concerns pertaining to occurrence and outcomes of malignant tumors in this population are
based on anecdotal evidence or on the general considerations of possible disease
mechanisms.17-22 A recent review of the literature identified 11 published articles assessing
cancer incidence or mortality in transgender people,23-33 but found that the existing data do not
allow any conclusions due to the small size of the available studies with very few events of
interest.34

        While the aforementioned research topics address significant concerns relevant to
transgender adults, unique health concerns affect transgender youth. A particularly important
priority for health care of transgender or gender-nonconforming children and adolescents is
management of mental health problems.9,35,36 These problems may be related to stigma and
discrimination brought on by disclosure of transgender status.37 In addition, children with
gender variant behavior may experience parental verbal and physical abuse, which can create
or further exacerbate life-threatening mental health conditions.38 The literature on transgender


                                                                                                   9
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 48 of 180
and gender-nonconforming youth consistently shows high prevalence of mental health
diagnoses and self-reported behavioral and emotional problems.39-46 To date, most of the
available data addressing mental health status of transgender and gender-nonconforming
youth come from specialized clinics that provide care to this population.47

Methodological Challenges Facing Transgender Health Studies
       The methodological challenges in observational studies of transgender health fall into 5
categories: (1) attaining sufficient sample size and statistical power; (2) identification of eligible
study participants and comparable reference groups; (3) determination of natal sex and/or
gender identity; (4) assessment of gender affirmation treatment; and (5) systematic
ascertainment of health outcomes of interest.

       Transgender people represent a hard-to-reach population, and to date most existing
cohorts assessing transgender health have been assembled in specialized clinics that offer
gender affirmation care. This approach provides good options for detailed treatment data and
biospecimen collection,48,49 but may exclude individuals who have not sought or who have
already completed treatment and makes it difficult to select comparable reference groups from
the same underlying population.

       A critical aspect of transgender research is accurate identification of gender identity,
because the available demographic data can reflect natal sex or gender identity, without
specifying which is which.

       Insurance coverage for gender affirmation therapy has increased over time50-52;
however, it remains sporadic and incomplete, and many transgender people seek care outside
regular health care plans.53 This presents a specific challenge for any study that aims to
ascertain hormonal exposures and surgical procedures, particularly for transgender people with
no or inadequate insurance coverage and for persons who initiated gender-affirming therapy
years ago.




                                                                                                    10
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 49 of 180
       Unbiased information on some health-related outcomes can be obtained through
linkages with external data sources such as the National Death Index and cancer registries.
Comprehensive and accurate ascertainment of new diagnoses and test results is more
challenging. These data can be retrieved from medical records and can be retrieved from
medical records, most efficiently with the use of electronic medical records (EMRs). However,
this approach is more likely to yield high-quality data if the EMRs come from integrated
centralized health systems.54,55 Many important outcomes, such as quality of life and
satisfaction with care, can be obtained only by self-report, as is done in various areas of
comparative effectiveness research.56-58


Introducing Study of Transition, Outcomes, and Gender
       The existing knowledge gaps and methodological challenges motivated the design of the
Study of Transition, Outcomes and Gender (STRONG). The study included 3 components. The
first component was a retrospective/prospective cohort study that collected data using EMRs of
transgender individuals enrolled in the Kaiser Permanente plans located in Georgia and in
Northern and Southern California. This component had 2 types of follow-up. Retrospective
follow-up occurred from 2006 to 2014 while the prospective follow-up extended through
November 30, 2016. The second component was a cross-sectional survey of selected Kaiser
Permanente cohort participants. The third component was a retrospective cohort study of
transgender veterans identified via US Department of Veterans Affairs (VA) EMR. These
components were initiated and completed concurrently. Table 1 presents a brief summary of
the project timeline.

       Although Kaiser Permanente plans provide high-quality data, inclusion of the VA cohort
was important because most Kaiser Permanente enrollees are employed, insured, and have
relatively stable incomes. In contrast, veterans, particularly those who exclusively use VA health
care services, often live in poverty.59




                                                                                               11
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 50 of 180
Table 1. STRONG Project Timeline

 Project component                                                        Date
 Start project                                                            October 1, 2013
 Draft preliminary survey and study protocol                              December 1, 2013
 Hold first stakeholder advisory group meeting                            December 15, 2013
 Begin Kaiser Permanente EMR cohort ascertainment                         March 1, 2014
 Hold first online focus group with preliminary survey                    April 1, 2014
 Launch final study survey                                                June 1, 2014
 Hold second stakeholder advisory group meeting                           April 16, 2015
 Begin matching eligible participants to reference cohorts                April 1, 2016
 Link cohort members to outcome information                               December 1, 2016
 Begin data analysis                                                      January 1, 2017
 Hold final stakeholder advisory group meeting                            April 26, 2017
 Hold final online focus group with study results                         June 28, 2017
Abbreviations: EMR, electronic medical record; STRONG, Study of Transition, Outcomes and Gender.


        We used the EMR-based cohorts at Kaiser Permanente and the VA to achieve the first
overall project goal of providing critical data on specific aspects of morbidity and all-cause
mortality among transgender people overall, by gender identity, and, whenever possible,
following various stages of gender affirmation. The survey component allowed us to achieve
the second overall project goal to assess the roles of various gender affirmation steps in
improving quality of life and alleviating gender dysphoria.

        We formulated the broad research questions and specific hypotheses for the current
analyses based on the preapplication survey (see the “Preliminary Survey” section), the input
from the stakeholder advisory group (see the “Stakeholder Advisory Group” section), and
recent consensus documents on transgender health research priorities11. These broad research
questions and specific hypotheses, and the data and analyses we used to examine these
questions and hypotheses, are presented in the “Overall Study Structure and Objectives”
section.



                                                                                                   12
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 51 of 180
STAKEHOLDER INVOLVEMENT
         A critical feature of STRONG is patient-centeredness. The study achieved this via 3
approaches: by conducting a preliminary survey of stakeholders, by assembling a stakeholder
advisory group, and by conducting online focus groups. Each of these approaches is discussed
below.


Preliminary Survey
         In preparation for the study we engaged transgender stakeholders by distributing an
online Health Priorities Survey. The methods of this survey were described previously.60,61
Briefly, we sent the invitation to complete the survey to persons who visited the social media
sites of the 2012 and 2013 Southern Comfort Conference, a transgender education and social
networking meeting held annually in Atlanta, Georgia. Although the meeting took place in
Atlanta, it draws attendees with wide regional and national representation.

         The survey presented participants with a list of various proposed research questions and
asked them to rank these questions in order of ascending importance. In addition, the survey
gave respondents an opportunity to provide 1 risk- and 1 benefit-related research question of
their own. Most survey respondents (N = 471) identified as TF, non-Hispanic White, and 40
years of age or older, and had a college education. The participants indicated that the most
important questions were those addressing the mental health– and quality of life–related
benefits of gender affirmation therapy. Among risk-related questions the most important were
the ones dealing with HIV and other sexually transmitted infections and those pertaining to
cancer risk. Examples of benefit-related questions proposed by survey participants included
“Does being diagnosed as transgender help you to better understand yourself than to just think
you are crazy or weird?” and “Does hormonal/surgical gender alignment positively impact the
following: work life, family life, daily interactions with other people, self-esteem/self-image,
messages you give yourself?”




                                                                                                   13
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 52 of 180
Stakeholder Advisory Group
       To recruit stakeholder advisory group members, investigators at each site were charged
with identifying a leading clinician specializing in transgender care. The physicians were then
asked to nominate 1 or 2 patients to serve as representatives of the transgender community.
The resulting stakeholder advisory group included 12 members (Table 2).

       During the study implementation, we held monthly stakeholder calls and had 3 in-
person stakeholder advisory group meetings. The stakeholders made many important
contributions to the project at various stages of study design, planning, and implementation.

       Based on the input from stakeholders received at our first stakeholder advisory group
meeting (March 2014), we amended the cohort ascertainment methodology to include free
text keywords. This approach increased the cohort size by approximately 30% and allowed the
inclusion of an important category of individuals who do not wish to receive or have not yet
received a transgender-specific diagnosis.




                                                                                                  14
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 53 of 180
Table 2. Composition of the STRONG Stakeholders Advisory Group

Name                    Affiliation              Credentials
Lemuel Arnold, MD       Kaiser Permanente,       Former member of Kaiser Permanente National
                        Atlanta, GA              Diversity Council and author of Provider’s Handbook on
                                                 Culturally Competent Care: Lesbian, Gay, Bisexual and
                                                 Transgender
Nancy Baisch, MD        Kaiser Permanente,       Obstetrician-gynecologist who serves as transgender
                        Los Angeles, CA          care lead at Kaiser Permanente Southern California
George Brown, MD        Mountain Home VA         Psychiatrist who has been managing care of
                        Medical Center,          transgender patients for over 30 y and conducted
                        Johnson City, TN         several studies of transgender veterans
Cheryl Courtney-        TILTT, Inc, Atlanta, GA Executive director of TILTT, Inc, an organization
Evans                                           dedicated to supporting socioeconomically
                                                disadvantaged transgender
Robin Dea, MD           Retired, Portland, OR    Psychiatrist with many years of experience providing
                                                 clinical mental health care to members of the
                                                 transgender community
Shawn V.                Alliant International    Active member of the San Francisco Bay Area
Giammattei, PhD         University, San          transgender community and a clinical psychologist
                        Francisco, CA            specializing in counseling families of persons with
                                                 gender identity
Monica Helms,           Retired, Atlanta, GA     US Navy veteran, author, and past president of the
                                                 TAVA, and active member of the transgender
                                                 community
Jennifer Slovis, MD     Kaiser Permanente        Primary care physician at Kaiser Permanente Northern
                        Northern California,     California with an active clinical practice that includes a
                        Oakland, CA              large number of transgender patients
Cadence Valentine       Independent              Southern California–based transgender rights advocate
                        consultant, Los          who has been particularly instrumental in shaping
                        Angeles, CA              Kaiser Permanente Southern California transgender
                                                 health practices and delivery of care
Willy Wilkinson,        Independent              Writer, public health consultant, and transgender
MPH                     consultant, Oakland,     activist from Northern California
                        CA
Savannah Winter         Independent              Active member of the transgender community in
                        consultant, Atlanta,     Atlanta with particular interest in transgender youth
                        GA                       issues
Evan Young              TAVA, Dover, AK          Retired US Army Major and current national president
                                                 of TAVA
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TAVA, Transgender American Veterans
Association; TILTT, Transgender Individuals Living Their Truth.


                                                                                                          15
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 54 of 180
       The process of selecting keywords included input from the stakeholder advisory group.
We shortened the list of keywords after stepwise removal of terms that did not contribute
additional cases. The final list provided the greatest number of potential candidates.

       Following advice from stakeholders, we expanded eligibility criteria to include
transgender and gender-nonconforming youth (persons under 18 years of age). This change
allowed many additional analyses and offers important opportunities for future follow-up.

       We designed and pilot tested the study survey using input of the stakeholder advisory
group. We dedicated 1 full day of the second stakeholder advisory group meeting (March 2015)
entirely to the review and refinement of the study survey.

       The third and final stakeholder advisory group meeting (April 2017) allowed us to
prioritize the analyses and understand important knowledge gaps. For example, our initial
analyses of survey data focused on body image scales as quality of life–related outcomes of
gender affirmation therapy. The stakeholders felt that a more meaningful outcome measure is
“passing status,” which participants expressed as the difference between the extent to which
they wanted others to perceive them (desired score) and the extent to which they thought
others actually perceived them (current score) as a person of their gender identity. We revised
the analytic plan accordingly.

       During data collection, stakeholders assisted with developing a complete list of generic
medications and procedures for male-to-female and female-to-male gender affirmation (see
Appendix 1). The publications describing our formative research,60-63 the current
communication, and the manuscripts in different stages of preparation all include stakeholders
as coauthors.

Online Focus Groups
       We received additional stakeholder input by conducting 2 sets of online focus groups—
one in the beginning and another at the end of the study. The purpose of the initial set of focus




                                                                                               16
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 55 of 180
groups was to assist with survey content, and the second set of focus groups aimed to receive
feedback on the study findings and on the interpretation of results to date.

       We recruited individuals for the online focus groups through a variety of ways, including
email blasts from our stakeholders and investigators who serve the transgender community
(eg, endocrinologists), posting the link on the Facebook pages of community-based
organizations, and posting the link to a transgender support group websites. Of the 67
participants who completed the screening and eligibility form, consented to take part in the
focus groups, and provided their contact information, 11 were from Facebook posts (6 TF and 5
TM), 41 were from email blasts with the project stakeholders and investigators (19 TF and 22
TM), and 15 were from website postings (5 TF and 10 TM).

       The members of the stakeholder advisory group did not participate in the online focus
groups. It is possible, but unlikely, that some of the study participants also participated in the
online focus groups because recruitment for focus groups was independent of cohort
ascertainment.

       Participants in the first set of online focus group discussions received a $10 Amazon gift
card for completion of the survey and a $25 Amazon gift card for participation in the online
focus groups. Since participants were compensated for their time, we applied for IRB approval
to perform this work. The initial online focus groups included 6 sessions held in March and April
2014. Before joining the online discussion, participants were asked to complete the web-based
survey. Each online focus group lasted approximately 90 minutes and was held using Adobe
Connect. We incorporated the input on each survey question into the survey before
implementation. The report summarizing detailed feedback from the online focus group
participants is included in Appendix 2.

       The final online focus group occurred on June 28, 2017, and involved recontacting
participants from the initial online focus groups. Most participants in the final focus group
participated in one of the initial online focus groups. In addition, the final online focus group
included a few transgender individuals who reached out to us and expressed interest in


                                                                                                     17
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 56 of 180
learning more about the study. This second online focus group had a different format and was
not considered research. Participants in this focus group were not compensated. The focus
group started with a 45-minute webinar presentation by the study principal investigator, who
introduced the study, highlighted the most important findings to date, and discussed the
remaining knowledge gaps and plans for the future. To facilitate documentation of feedback,
the participants (5 TM and 4 TF) were asked to provide feedback via an online chat room.

       Participants emphasized the importance of this type of research, and one said that “this
is the type of study that the trans community has long since been waiting for.” Participants had
particular interest in learning about additional analyses with the available data. These included
the following:

   •   The incidence of migraine headaches during hormone therapy

   •   The need for hormone treatment after surgery

   •   The risk of polycystic ovarian syndrome and other gynecological problems after starting
       testosterone

   •   The “necessity” of hysterectomy after a certain number of years of starting testosterone
       (current community belief is about 5 years)

   •   The relationship between ovarian cancer and testosterone

   •   The need for more research on the reproductive system and hormones in general

   •   The residual risk of breast cancer post-top surgery




                                                                                               18
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 57 of 180
METHODS
Overall Study Structure and Objectives
       The STRONG project included 3 components. The first component was the EMR-based
retrospective/prospective cohort study of transgender individuals enrolled in the participating
Kaiser Permanente plans. There were 2 types of follow-up in this component. Retrospective
follow-up occurred from 2006-2014 while the prospective follow-up extended through
November 30, 2016. The second component was a cross-sectional survey of selected Kaiser
Permanente cohort participants. The third component was a retrospective cohort study of
transgender veterans identified via VA EMR. The 3 study components addressed the following
research questions and hypotheses:

   1. What is the mental health status of TM and TF individuals compared with cisgender men
      and women?

                 Specific hypothesis example: Prevalence of depression and anxiety is higher in
       transgender people than in cisgender men and women. We examined this hypothesis in
       a cross-sectional analysis of the baseline data from the EMR-based Kaiser Permanente
       cohort.

   2. What is the risk of cancer among TM and TF individuals compared with cisgender men
      and women?

                 Specific hypothesis example: Incidence of prostate cancer is lower in TF
       individuals than in matched male referents. We examined this hypothesis using time-to-
       event analyses of the data from the EMR-based VA and Kaiser Permanente cohorts with
       follow-up extended from the data of initial presentation (index date).

   3. Does incidence of cardiovascular disease differ in TM and TF persons treated with
      hormonal therapy alone and in persons who underwent surgery in addition to hormonal
      treatment, compared with transgender individuals who received no medical gender
      affirmation treatment?




                                                                                                  19
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 58 of 180
               Specific hypothesis examples: Incidence of VTE is higher in TF individuals
       compared with reference cohorts. We examined this hypothesis using time-to-event
       analyses of the EMR-based Kaiser Permanente cohort of TF and matched reference
       cohorts of cisgender males and females with follow-up extended from the date of initial
       presentation (index date), or the date of the first filled estrogen prescription.

   4. Do transgender persons who received gender affirmation therapy experience better
      self-perception than persons who received no such treatment, and is this difference
      related to the type of treatment completed to date?

               Specific hypothesis example: Transgender persons who report having received
       gender affirmation therapy score higher on the transgender congruence and body
       image scales compared with their counterparts who report receiving no such treatment.
       We examined this hypothesis in a cross-sectional analysis of the data from the Kaiser
       Permanente cohort survey.

       The overall study implementation closely followed the original plan, and we prespecified
all analyses presented in this report during the proposal phase of the study; however, we could
not perform some of the analyses due to unanticipated data limitations. Specifically, as
described in the “Kaiser Permanente EMR Data Analyses” section, we could not identify a group
of transgender cohort participants without any history of hormone therapy of any kind.

       We also found that, for some of the outcomes, the data either did not contain required
numbers of events or did not include sufficient follow-up to examine associations with specific
types of gender affirmation therapy. For example, we could not perform a comparison of
cancer incidence by hormone therapy status because cancer is a rare event, and an evaluation
of the association between cancer risk and hormone use would require a much larger cohort.
The sample size needed to detect a 50% increase in lifetime risk of breast cancer among TF
individuals on hormones compared with reference male individuals is nearly 28 000; this
number increases further in a study with a relatively short (eg, 10-year) follow-up. Similarly,
2700 testosterone-treated TM participants would be required to detect a risk ratio of 1:5 for
ovarian cancer compared with reference female participants. For this reason, we examined

                                                                                                  20
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 59 of 180
cancer incidence in the present analyses only for the most common primary sites and for broad
categories of malignancies.

       These limitations notwithstanding, several aspects of the Kaiser Permanente study
exceeded expectations in terms of both quality of the data and final sample size. During the
planning phase of the project we planned to limit cohort ascertainment to ICD codes; however,
as described in the “Cohort Ascertainment at Kaiser Permanente” section, during study
implementation we developed a novel method that used relevant keywords in free-text clinical
notes. This approach ensured inclusion of participants with no transgender-specific diagnoses,
facilitated validation of eligibility and TM/TF status, and increased Kaiser Permanente cohort
size from the planned 3200 to nearly 6500 individuals.

       Unlike the Kaiser Permanente–based part of the STRONG project, the VA analyses were
delayed for several years. The actual access to the VA data via the VA Informatics and
Computing Infrastructure (VINCI) interface was not granted until April 2017 (less than 3 months
before the end of the project). Another limitation of the VA component of the project is that
the data could be accessed only via the VINCI interface. For this reason, it is currently not
possible to combine the VA and the Kaiser Permanente EMR data. For all of the above reasons,
the analyses of the VA cohort presented in the current report are more limited than the
corresponding analyses of the Kaiser Permanente data (for details, see the “Methods of the VA
Study” and “Mortality and Cancer Incidence Among Transgender Veterans” sections).

EMR-Based Study at Kaiser Permanente

       Design and Settings of the Kaiser Permanente EMR Study
       We designed this part of the STRONG project as a retrospective/prospective cohort
study of transgender members enrolled in 3 Kaiser Permanente health plans located in Georgia
and in Northern and Southern California. Despite the small sample size, the inclusion of Kaiser
Permanente Georgia was critical because it served as the testing site for all data collection
methods. The Kaiser Permanente health plans are prepaid integrated care systems that
currently provide comprehensive health services to approximately 8 million members.

                                                                                                 21
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 60 of 180
       Individuals and their families may enroll through employer, state, or federal programs
such as Medicaid and Medicare, or directly. The populations of enrollees are
sociodemographically diverse and broadly representative of the communities in the
corresponding areas.64,65


       Cohort Ascertainment at Kaiser Permanente
       Figure 1 shows the 3-step algorithm we used to identify transgender cohort members.
The algorithm included initial EMR search to identify cohort candidates (step 1), validation of
transgender status (step 2), and determination of TM/TF status (step 3).

       Step 1: initial EMR search. We used an SAS program ([computer program]. Cary, NC:
SAS Institute)72 to search the EMR of Kaiser Permanente members of all ages enrolled at 1 of
the 3 participating sites between January 1, 2006, and December 31, 2014, to identify 2 types of
evidence supporting transgender status: (1) relevant ICD 9th edition (ICD-9) codes; and (2)
presence of relevant specific keywords in free-text clinical notes (Table 3). We developed and
pilot tested the program at Kaiser Permanente Georgia, and then distributed to the remaining
sites. We completed cohort ascertainment before the health plans switched to ICD 10th edition
(ICD-10) codes.

       We selected the diagnostic ICD-9 codes suggestive of transgender status based on
consultations with the stakeholder advisory group (see the “Stakeholder Advisory Group”
section) and based on methodology described in earlier studies.32,66 We included transvestic
fetishism (ICD-9 code 302.3) based on previous observations that men who initially meet
criteria for this diagnostic category may later experience persistent gender dysphoria consistent
with transgender status.67 We also used ICD-9 V codes, which allow for supplementary
classification of factors influencing health status.68,69 As V codes may cover several conditions,
we used them in conjunction with internal Kaiser Permanente codes to ensure specificity. For
example, a combination of ICD-9 code V49.89 and Kaiser Permanente code 121141596 means
“Other conditions influencing health: transgender.”



                                                                                                  22
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 61 of 180
Figure 1. STRONG Transgender Cohort Ascertainment Flow Diagram




Abbreviations: EMR, electronic medical record; STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM, transmasculine.

                                                                                                                                          23
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 62 of 180
Table 3. ICD-9 Codes and Keywords Used to Identify Potentially Eligible STRONG Transgender
Cohort Members Among Kaiser Permanente Members in Georgia, Northern California, and
Southern California

                                                  ICD-9 V codesa + internal
 ICD-9 diagnostic codes                           Kaiser Permanente codes               Keywords
 • 302.5 – Trans-sexualism                        • V49.89 + 121141596 –                •   Transgender
 • 302.50 – Trans-sexualism with                    Other conditions                    •   Transsexual
   unspecified sexual history (aka                  influencing health:                 •   Transvestite
   “transsexualism not otherwise                    transgender                         •   Gender identity
   specified”)                                    • V45.77 + 121141596 –                •   Gender dysphoria
 • 302.51 – Trans-sexualism with                    Acquired absence of                 •   Gender reassignment
   asexual history                                  genital organs: history of
 • 302.52 – Trans-sexualism with                    sex reassignment surgery
   homosexual history                             • V07.8 + 12124952 – Other
 • 302.53 – Trans-sexualism with                    specified prophylactic
   heterosexual history                             measure: male-to-female
 • 302.85 – Gender identity disorder in             hormone supplementation
   adolescents or adults                          • V07.8 + 12124310 – Other
 • 302.6 – Gender identity disorder in              specified prophylactic
   children                                         measure: female-to-male
 • 302.3 – Transvestic fetishism                    hormone supplementation

Abbreviation: STRONG, Study of Transition, Outcomes and Gender.
a
  ICD-9 V codes are used for supplementary classification of factors influencing health status.68,69 As V codes may
cover several conditions, they have to be used in conjunction with internal Kaiser Permanente codes to ensure
specificity.


         The second method of transgender ascertainment involved using a custom-written
program that identified the relevant keywords in free-text clinical notes, recognizing that both
appropriate and inappropriate terms could be found in the EMR. During pilot testing we used
an expanded list of keywords provided by the stakeholders; we gradually shortened that list
after stepwise removal of keywords that did not contribute additional cases. The resulting list
provided the greatest number of potential candidates.

         Step 2: cohort validation. A separate program extracted short strings of text that
included 100 characters before and 50 characters after each keyword of interest. When clinical
notes contained relevant keywords (with or without an ICD-9 code), 2 trained reviewers
confirmed transgender status through examining the deidentified text strings. A review
committee adjudicated disagreements among reviewers. Review and validation of text strings

                                                                                                                      24
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 63 of 180
was considered the gold standard of transgender status. We considered cohort candidates with
no keywords but at least 2 different diagnostic codes or the same code on different dates to be
eligible. We excluded candidates who had evidence of disorders of sex development and those
younger than 3 years of age at the index date. Disorders of sex development (DSD) are a group
of diverse conditions characterized by abnormalities of chromosomal, gonadal, or anatomic
sex.70 We decided to exclude persons with DSD because, compared with transgender people
(our population of interest), these individuals present a very different set of challenges. For
example, most DSD patients receive surgery early in life, and Hormone Therapy
recommendations in this group are also very different and condition-specific.

       Step 3: determination of TF/TM status. We categorized each eligible study
participant as TF or TM using several methods. We used all keyword text strings and ICD-9
codes extracted during step 1 to identify additional words such as male-to-female and female-
to-male and gender affirmation V codes (V07.8 + 12124952 and V07.8 + 12124310). During the
validation of transgender status, the reviewers were also instructed to categorize each eligible
person as “natal male,” “natal female,” or “unclear.”

       For persons whose TF/TM status was unclear after the initial review, and for persons
with ICD-9 codes only, we developed another free-text program to search for keywords
reflecting natal sex anatomy (eg, testes or ovaries), history of specific procedures (eg,
orchiectomy or hysterectomy), or evidence of hormonal therapy (eg, estrogen or testosterone).
The keywords we used for assigning TM/TF status are included in Table 4. We reviewed and
adjudicated text strings containing TF- and TM-specific keywords as discussed above.


       Gender Affirmation Status
       During the initial STRONG cohort validation (step 2) and natal sex determination (step
3), reviewers were instructed to check a box for “Evidence of treatment” if the text strings
provided an indication of receipt or referral for hormone therapy, surgery, or other relevant
procedures (eg, electrolysis). Disagreements were adjudicated, as described previously.



                                                                                                  25
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 64 of 180
        In addition to text string reviews, we determined gender affirmation treatment status
by linkages with cross-sex hormone prescriptions using national drug codes, as well as ICD-9,
ICD-10, and Current Procedure Terminology (CPT) codes reflecting operations and other
interventions (Appendix 1). We considered any instance of TF drugs (eg, estradiol,
spironolactone) in a natal male and TM drugs (eg, testosterone) in a natal female as evidence of
hormone therapy.

        Because of these steps, we categorized cohort members based on any evidence of
hormone therapy and surgical or other gender affirmation procedures. We categorized gender
affirmation procedures as the following: bottom (eg, vaginoplasty for TF or vaginectomy for
TM); top (eg, breast augmentation for TF or mastectomy for TM); interventions to change
secondary sex characteristics (eg, electrolysis); or not specified (eg, evidence of surgery in the
text only).


Table 4. Keywords Used for STRONG Transgender Cohort Natal Sex Assignment

 Transfeminine        Natal sex keywords       Testes, testicular, penis, penile, prostate, prostatic, PSA,
                                               scrotum, neovagina, neo-vagina, neo vagina, sperm,
                                               erection
                      Hormonal therapy         Estrogen, antiandrogen, progesterone, aldactone, avodart,
                      keywords                 cenestin, climara, cyprostat, cyproterone, delestrogen,
                                               depo-estradiol, divigel, dutasteride, elestrin, enjuvia,
                                               estrace, estradiol, estroderm, estrogel, estrosorb,
                                               flutamide, finasteride, lupron, medroxyprogesterone,
                                               premarin, premphase, prempro, propecia, proscar,
                                               prometrium, provera, spironolactone,
                      Procedure keywords       Castration, orchiectomy, penectomy, vaginoplasty, breast
                                               augmentation, breast enlargement, laryngeal shave,
                                               feminization, electrolysis, hair transplant, collagen,
                                               silicone, voice therapy
 Transmasculine       Natal sex keywords       Ovary, ovaries, ovarian, cervix, uterus, uterine, vagina, PAP
                                               smear, menstrual bleeding, menses
                      Hormonal therapy         Android, androderm, androgel, axiron, delatestryl, depo-
                      keywords                 testosterone, striant, testim
                      Procedure keywords       Vaginectomy, phalloplasty, metoidioplasty, mastectomy,
                                               hysterectomy, oophorectomy
Abbreviations: PSA, prostate-specific antigen; STRONG, Study of Transition, Outcomes and Gender.

                                                                                                              26
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 65 of 180
        Selection of the Reference Cohort
        We matched up to 10 male and 10 female Kaiser Permanente enrollees without
evidence of transgender status to each member of the final validated transgender cohort on
year of birth (within 2-year groups for children and 5-year groups for adults), race/ethnicity,
Kaiser Permanente site, and membership year at the index date. We selected age,
race/ethnicity, and membership as matching variables to achieve comparability of the
transgender and reference populations. We defined index date as the date of the first recorded
evidence of transgender status in the EMRs. The 10:1 ratio for both male and female reference
cohorts was needed to allow exclusions of some referents for certain types of analyses. For
example, in the analyses of VTE, we excluded participants if they had a history of
thromboembolism before the index date. Having a 10:1 ratio ensured that each transgender
participant had a sufficient number of referents after exclusions. For some transgender cohort
members, the numbers of referent males or females were fewer than 10 due to duplicate
matches; however, no transgender participant had fewer than 7 referents of either sex. We
assigned a cluster ID for each matched group to allow stratified analyses (eg, by hormone
therapy type or gender-affirming surgery).


        Data Integration and Follow-up
        We linked patient identification numbers for both the transgender and the reference
cohorts to multiple data sources. We used ICD-9 and ICD-10 codes to ascertain conditions of
primary interest (eg, mental health disorders, cardiovascular diseases, diabetes). Linkages with
disease registries allowed identification of incident cancers and HIV diagnoses. We ascertained
mortality from linkages to death registries. All members of the cohort were assigned a study ID
by the programmer at each Kaiser Permanente site and no personally identifiable information
was included in the aggregated analytic file. Cohort follow-up extended through the end of
2016.




                                                                                                  27
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 66 of 180
       Kaiser Permanente EMR Data Analyses
       Overview. The analyses of the Kaiser Permanente EMR data addressed 3 areas of
research. In the first analysis we examined rates of acute cardiovascular events in relation to
hormone therapy use.

       These analyses included 2 comparisons: (1) TM/TF individuals vs reference males and
females; and (2) TM/TF individuals on cross-sex hormones vs reference males and females. We
restricted this analysis to participants who started hormone therapy at Kaiser Permanente after
the index date (hormone initiation subcohort).

       In the second analysis we compared incidence of cancer among transgender
participants and in the 2 reference cohorts. We could not perform a comparison of cancer
incidence by hormone therapy status because cancer is a rare event and an evaluation of the
association between cancer risk and hormone use required a much larger cohort.

       The objectives of the third analysis were to calculate the prevalence of mental health
diagnoses among transgender Kaiser Permanente enrollees at the time of their initial
presentation (index date) and to compare their mental health status against that of matched
referents of either natal sex. We limited these analyses to estimation of prevalence because
longitudinal changes in mental health status would require extended follow-up. The follow-up
in our cohort was relatively short, with a mean of 3.7 years for TM individuals and 4.1 years for
TF individuals. We performed all analyses using SAS Software Version 9.4 (SAS Institute, Inc).72

       Analysis of acute cardiovascular event rates in relation to hormone therapy
use in the Kaiser Permanente cohort. We included in this analysis only participants aged
18 or older at the index date and with a TM/TF determination, and matched members of the
reference cohorts. The acute cardiovascular events of interest included VTE, ischemic stroke,
and myocardial infarction. VTE events included pulmonary embolism (ICD-9: 415.1; ICD-10:
I26.0 and I26.9); phlebitis and deep vein thrombophlebitis (ICD-9: 451.1, 451.2, 451.8, and
451.9; ICD-10: I80.x); and other venous embolism and thrombosis (ICD-9: 452.x and 453.x; ICD-


                                                                                                  28
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 67 of 180
10: I81.x and I82.x). We identified ischemic stroke cases based on ICD-9 codes of 433.x and
434.x and ICD-10 codes of I63.x, I65.x, and I66.x. We identified cases of myocardial infarction
based on the ICD-9 code of 410.x or the ICD-10 code of I21.x.

       We characterized all study participants according to their history of cross-sex hormone
use, cigarette smoking, body mass index (BMI), blood pressure, and total blood cholesterol. We
categorized smoking status as current, former, never, or unknown. We categorized BMI as
underweight (<19.0), normal weight (19.0-24.9), overweight (25.0-29.9), obese (≥ 30.0), or
unknown. We determined blood pressure and blood cholesterol levels closest to the index date
(within 2 years) from clinical or laboratory data. We categorized blood pressure as normal
(systolic ≤120 or diastolic ≤80 mm Hg), borderline (systolic 121-139 or diastolic 81-89 mm Hg),
elevated (systolic ≥ 140 or diastolic ≥ 90 mm Hg), or unknown. We categorized blood
cholesterol as normal (<200 mg/dL), borderline (200-239 mg/dL), high (>239 mg/dL), not done
(unknown for persons younger than 40 years), or unknown.

       We examined the distributions of descriptive characteristics across the TM and TF
cohorts. We calculated incidence rates as the number of cases per 1000 person-years, and we
calculated the corresponding 95% CIs using the Poisson distribution. We constructed
cumulative incidence curves using life-table methods to compare incidence of each acute
cardiovascular event type in the overall TM and TF cohorts against the corresponding matched
reference cohorts. The follow-up in these analyses extended from the index date until the first
occurrence of the event of interest, disenrollment from the plan for more than 90 days, death,
or the end of the study period (November 30, 2016).

       We constructed similar cumulative incidence curves for a subset of participants who
started hormone therapy at Kaiser Permanente after the index date (hormone initiation
subcohort). The follow-up in these analyses started at the first filled prescription for estrogen in
TF participants or testosterone in TM participants. We assigned matched participants the same
follow-up start date. We then limited the hormone therapy group to TF patients receiving oral
estrogen because current recommendations indicate that risk of VTE in this population may be
higher following administration of oral hormones.

                                                                                                  29
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 68 of 180
       We used multivariable Cox proportional hazards models to compare rates of acute
cardiovascular events in the overall TM and TF cohorts and hormone initiation subcohorts
against the matched reference cohorts after controlling for history of acute cardiovascular
events, smoking, BMI, blood pressure, and blood cholesterol ascertained near the index date.
We tested proportional hazard assumptions by examining log minus log plots for each variable
in the model. We expressed the results of the Cox models as adjusted hazard ratios (HRs) with
corresponding 95% CIs. When the proportional hazard assumption was violated, we used
stratified Cox models to control for covariates, and we used extended Cox models with time-
dependent HR estimates for the main independent variable of interest.

       To examine the impact of different case definitions, hormone therapy exposure
assumptions, and analytic approaches, we conducted a series of sensitivity analyses. In these
analyses, we first limited acute cardiovascular events to those associated with inpatient or
emergency department encounters. Next, we defined initiation of hormone therapy based on
the first pharmacy record for any gender affirmation drug (eg, spironolactone rather than
specifically estrogen). Then we restricted the cohort to persons without a history of the event
of interest. Finally, we replicated the main analyses by replacing missing data for BMI, smoking,
systolic and diastolic blood pressure, and blood cholesterol with imputed values. As
imputations of missing data require numeric values, the variables in these analyses were either
continuous or binary. The continuous variables included age, blood pressure, and cholesterol
level. The binary variables included race/ethnicity (non-Hispanic Blacks vs other), gender,
current smoking (yes vs no), and BMI (elevated vs not).

       Analysis of cancer incidence in the Kaiser Permanente cohort. We ascertained
incident cancer cases among the transgender and comparison cohorts via linkages to
surveillance epidemiology and end results–based cancer registries at each site. We followed all
participants from index date until the first occurrence of a cancer diagnosis, disenrollment from
the plan for more than 90 days, death, or the end of the follow-up (November 30, 2016). We
excluded from the analysis participants with a cancer diagnosis before the index date.



                                                                                                30
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 69 of 180
       We calculated cancer incidence rates as the number of cases per 100 000 person-years,
and we estimated the corresponding 95% CIs based on Poisson distribution. We calculated the
rates for all cancers combined; for cancer sites with at least 5 cases; and for categories of
malignancies with shared risk factors including smoking-related cancers (lung, trachea,
esophagus, larynx, other head/neck, cervix, stomach, bladder, pancreas, and kidney), viral
infection–induced cancers (anus, cervix, base of tongue, tonsil, oropharynx, nasopharynx,
pharynx, liver, non-Hodgkin lymphoma, Hodgkin lymphoma, and Kaposi sarcoma), and
screening-detectable cancers (cervix, breast, colon, prostate, and melanoma of the skin).

       We compared TM and TF participants with the matched reference cohorts. We
performed the comparisons using Cox proportional hazards models controlling for smoking and
BMI ascertained at the index date.

       We tested the proportional hazards assumption by examining log minus log plots for
each variable in the model. If the proportional hazard assumption was violated, we used
stratified models. We expressed the results of the Cox models as adjusted HRs and
corresponding 95% CIs.

       Analysis of mental health status at index date in the Kaiser Permanente
cohort. We grouped the mental health diagnoses, as described previously,71 into the following
categories of conditions: anxiety disorders, attention deficit disorders, autism spectrum
disorders, bipolar spectrum disorders, conduct/disruptive disorders, dementia, depressive
disorders, eating disorders, psychoses, personality disorders, schizophrenia spectrum disorders,
self-inflicted injuries and poisonings, substance abuse disorders, and suicidal ideation. The ICD-
9 and ICD-10 codes we used for ascertainment of each of these conditions are included in
Appendix 5.

       We calculated prevalence of mental health conditions in each of these categories for 3
time windows: any time (ever), within 12 months, and within 6 months before the index date.
We calculated all prevalence estimates separately for TM and TF within 3 age groups: 3 to 9, 10
to 17, and at least 18 years of age.

                                                                                                31
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 70 of 180
       To assess differences in prevalence by severity of the conditions of interest, we
conducted the analyses for any of the diagnoses of interest and for diagnoses associated with
hospitalizations. The numerator for “ever” prevalence of any disorder of interest included
persons with at least 2 different diagnoses on the same date or the same diagnosis on at least 2
different dates. In the analyses for 12-month and 6-month time windows, and in the analyses
limited to hospitalizations, we considered 1 diagnostic code sufficient for inclusion in the
numerator.

       We compared each prevalence estimate against the corresponding estimates among
matched male and female referents. We performed these comparisons by calculating
prevalence ratios (PRs) and the 95% CIs using logistic regression models with log link option. We
performed the analyses using SAS macros, developed at the Biostatistics and Bioinformatics
Shared Resource of the Emory University Winship Cancer Institute.72

       To examine differences in prevalence of mental health conditions within the adolescent
age group we conducted sensitivity analyses separately for participants who were aged 10 to 13
years and 14 to 17 years. The same sensitivity analyses also examined the possibility that
prevalence of mental health diagnoses may be artificially inflated if physicians selected these
codes instead of those for gender dysphoria to protect patient confidentiality or to avoid
insurance coverage problems (the latter consideration would be most relevant in earlier years,
before Kaiser Permanente instituted comprehensive coverage for transgender care). To address
this issue, we limited the sensitivity analyses to transgender participants who had no specific
diagnostic codes and were identified exclusively via keywords. As we expected additional
stratification and restrictions to render imprecise estimates for relatively rare conditions, we
limited these sensitivity analyses to the most common end points.

       We plotted a correlation matrix to assess cooccurrence of mental health diagnoses
through the use of Corrgrams.73 Using this approach, all pairwise correlations are expressed as
ɸ statistics and are reordered in the matrix so that co-occurring diagnoses are positioned
adjacently, facilitating perception of clusters involving 3 or more conditions. The correlation
matrices are depicted graphically in 2 ways: shaded squares and pie charts. In both methods,

                                                                                                   32
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 71 of 180
blue color corresponds to a positive correlation while red denotes a negative correlation, and
the intensity of the color corresponds to the magnitude of the correlation. The size of the
shaded sector in a pie diagram equals the corresponding ɸ coefficient (range, 0-1.0).

       There are 2 ways of distinguishing between positive and negative correlations in black-
and-white images. In the shaded squares denoting positive correlations, the diagonal white line
goes from the bottom left to the top right corner, whereas for negative correlations, the
diagonal line goes from the top left to the bottom right. In addition, pie chart sectors filled in
the clockwise and counterclockwise directions represent positive and negative correlations,
respectively.


Survey of Kaiser Permanente Cohort Participants

       Survey Goal and Content
       Many data elements of interest cannot be ascertained from the EMR data. For this
reason, the goal of the survey was to collect information that could only be obtained from
participant self-report. We achieved this via an online cross-sectional survey using the
SurveyGizmo interface. The participants were also offered an option of filling out a paper
version of the survey.

       The survey started with a 2-part screening question: first inquiring about the
participants’ natal (assigned at birth) sex, and then asking about their current gender identity.
Only persons whose natal sex was different from the gender identity were eligible to proceed
to the full survey. If the gender identity was different from the natal male sex, we considered
the participant TF; if the gender identity was different from the natal female sex, we considered
the participant TM.

       The survey included 2 versions—1 for TM participants and 1 for TF participants—and
included many skip patterns and “piping” questions. For example, questions regarding specific
doses of estrogen were relevant only to TF participants who reported receiving estrogen.
Similarly, questions about side effects of surgery were specific to the participants’ TM/TF status


                                                                                                     33
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 72 of 180
and were relevant only for those respondents who reported undergoing a particular procedure.
Despite these differences, the main sections of the survey were applicable to all participants.

       Section 1 of the survey collected information about participant demographic
characteristics, including age, socioeconomic status, and various aspects of gender identity. The
gender identity part of the survey presented a series of continuous sliding scales dealing with
separate, but related, domains of identity (male or female) and expression (masculine or
feminine).74,75 In addition, this section of the questionnaire inquired about the participants’
relationship status and sexual orientation.

       The objective of section 2 was to collect information about hormone therapy, history of
gender affirmation operations and procedures, and current body image. The questions related
to hormone therapy asked about specific medications, routes of administration, and doses.
Questions related to surgery inquired about specific procedures, complications, and plans for
future operations. Two additional items in section 2 included Transgender Congruence Scale
(TCS) and body image score. TCS is a validated 15-item instrument aimed at measuring a
transgender person’s level of comfort with gender identity.76 For example, the survey asked
participants how strongly they agree or disagree with the statement “my outward appearance
represents my gender identity” (see Appendix 6). To assess body image, we used the body
attractiveness subscale of the previously validated Revised Physical Self-perception Profile.77
Section 3 of the survey examined somatic and mental health status of study participants. Using
the drop-down menu, the survey asked participants to select various conditions and indicate
the year of diagnosis. We assessed health-related quality of life using the 8-item Short Form
Health Survey.78,79 We collected information about participants’ mental health status using the
previously validated 10-item Center for Epidemiologic Studies Depression scale60,80 and the Beck
Anxiety Index.81,82 Additional items in this section included self-reported body mass, use of
alcohol and tobacco, and history of HIV testing.

       The data elements included in section 4 of the survey were satisfaction with care,
“outness,” and experiences with abuse and discrimination. At the end of the survey the
respondents were offered an option of recording their contact information for future studies.

                                                                                                  34
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 73 of 180
       The survey underwent several rounds of review with input from investigators and
stakeholders. After incorporating suggestions from the study team and the stakeholder
advisory group, we pilot tested the survey with 6 synchronous online focus groups (see the
“Online Focus Groups” section).


       Survey Recruitment
       The survey eligibility criteria included the following: (1) aged 18 or older; (2) current
enrollment in 1 of the participating health plans; (3) at least 1 ICD-9 diagnostic code (refer to
Table 3); and (4) text string–confirmed transgender status. We excluded participants from the
survey if (1) their ICD codes and text strings were limited to mental health records, (2) their
Kaiser Permanente physicians did not provide consent for initiating the contact, or (3) in their
responses to the screening questions the gender identity was the same as natal sex. The
inclusion criterion of having an ICD-9 code and the exclusion criteria were required by the IRBs
to ensure that we do not contact participants who wish to conceal their transgender status.

       The physician consent rules differed by site depending on the requirements of the
corresponding IRB: The Southern California site allowed passive consent; Kaiser Permanente
Georgia invited only those eligible participants who were approved by the site’s endocrinologist
specializing in transgender care; and Kaiser Permanente Northern California used a
combination of active and passive consent depending on the number of diagnostic codes and
evidence of hormone therapy or gender-affirming surgery in the EMR.

       The survey data collection took place between June 2014 and June 2016. We sent all
initial invitations via regular mail. To protect participant confidentiality the letter referred to the
STRONG project as a “study of gender, identity, and health.” The letter included a website and a
unique password linked to the study ID. We sent up to 2 reminders to participants who did not
respond to the initial invitation. The IRBs at the Southern California and Georgia sites allowed
sending reminders via email, which included a link to the study survey. In contrast, Kaiser
Permanent Northern California permitted email reminders only to those participants who
previously consented to email contact. Participants who completed the survey received 2


                                                                                                    35
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 74 of 180
electronic $10 Amazon gift cards. Of the 2136 participants invited to complete the survey, we
received 697 (33%) responses (Figure 2). The median time to completion was 44 minutes.


Figure 2. Results of STRONG Survey Recruitment Among Kaiser Permanente Participants




Abbreviations: KP, Kaiser Permanente; psych, psychiatric; STRONG, Study of Transition, Outcomes and Gender.


        Participants could request a paper version of the survey from the site-specific study
coordinators, whose contact information was provided in the invitation letters. We then sent a
paper version by regular mail. Approximately 5% of survey responses were completed in this
manner. Instead of the piping questions, which presented 1 item at a time for each medication
or procedure, the paper version contained a comprehensive checklist that included all the
relevant items. Participants returned the survey to their site coordinators, who then removed
all identifying information. Electronic copies were delivered to the Emory study coordinating
center, where responses were entered into the online SurveyGizmo system.




                                                                                                              36
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 75 of 180
       Survey Data Analyses
       The objectives of these analyses were to describe self-reported gender identity among
TM and TF survey respondents and to compare body image, transgender congruence, and
satisfaction with “passing status” across categories of participants at different stages of gender
affirmation.

       We assessed the self-perception of gender identity and expression via a series of
questions that were based on sliding scales (see Appendix 6). The male and female identities
and masculine and feminine expressions each could be expressed on a scale from 0% to 100%,
allowing for nonbinary responses. For example, a person could have a 50% male and 50%
female identity, but 0% masculine and 100% feminine expression. Scores on binary (eg, male vs
female or masculine vs feminine) scales did not have to add up to 100%, as participants could
describe themselves as 100% masculine and 100% feminine or as 0% on both scales.

       Based on reported history of gender affirmation, we placed each participant in 1 of the
following 5 categories: (1) no gender affirmation therapy to date; (2) hormone therapy only; (3)
top surgery (eg, mastectomy or breast augmentation); (4) partial bottom surgery (eg,
hysterectomy without vaginectomy or orchiectomy without vaginoplasty); and (5) definitive
bottom surgery (eg, vaginectomy or vaginoplasty).

       We used the 5-category gender affirmation status as the main independent variable of
interest in the analyses assessing determinants of the participants’ transgender congruence,
body image, and the passing status as a person of particular gender. We compared the
distributions of dependent variables of interest across gender affirmation categories by
calculating category-specific median and interquartile range (IQR) values. We examined the
differences in the distributions using Kruskal-Wallis tests separately for TM and TF participants.

       We used multivariable logistic regression models to further examine the association
between gender affirmation therapy and each outcome of interest. For the TCS and the body
image scale, we defined the binary outcome of interest as the total score being less than the
median value. For the passing status variable, we defined the outcome as a positive difference

                                                                                                37
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 76 of 180
between the desired and the current passing score. The covariates in the model included age,
study site, race, TM/TF status, and receipt of procedures aimed at changing secondary health
characteristics (eg, laryngeal shave or facial electrolysis).

       To address the effect of survey nonresponse on study results, we replicated each logistic
regression analysis using weighted models. The weights for the models represented inverse
selection probabilities. In this method, each survey respondent is assigned a weight that
corresponds to the inverse of the probability that another invited cohort member with the
same set of independent variables would have completed the survey. We obtained the
selection probabilities from a separate logistic model, which included all STRONG cohort
members who were invited to participate in the survey. The binary dependent variable in this
model was response to the survey (yes or no), and independent variables included age, TM/TF
status, race, study site, and receipt of hormone therapy and gender-affirming surgery. The
analyses are then rerun using the inverse probabilities as the weight for each survey
respondent. As a result, each subgroup of eligible participants that appears systematically
underrepresented in the analysis data set is given a greater weight to allow correcting for
nonresponse in the final model.

       We expressed the results of both weighted and unweighted multivariable analyses as
adjusted PRs and corresponding 95% CIs using the rlogist procedure in the SAS-callable SUDAAN
statistical software package.72

       We also used the survey data to compare the self-reported receipt of hormone therapy
and gender-affirming surgery with the EMR-derived data using methods applied in our previous
studies.83,84 After linking the survey responses to the EMR via the same unique study ID, we
characterized each participant as having received hormone therapy and surgery based on the
clinical records and the self-report. If the EMR and the self-report were in agreement, we
considered the data concordant.

       We assessed the sensitivities and specificities of the EMR-derived treatment information
using survey responses as the “gold standard.” In most previous studies (including ours), 83


                                                                                               38
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 77 of 180
medical records are considered more reliable than self-reports. In this case, however, we argue
that study participants will be more likely to accurately document their gender affirmation
treatment because some of this treatment would have been received outside their usual care
delivery system and, therefore, missed in the EMR.

Methods of the VA Study

       VA Study Design and Settings
       We designed this part of the STRONG project as a retrospective cohort study of
transgender veterans who received care through the national VA system. Unlike the Kaiser
Permanente EMR study, which ascertained the cohort through 2014 but extended follow-up
through 2016, the VA EMR cohort was ascertained through April 2017 and there was no
prospective follow-up component. The VA EMR data for this study include 5 elements: (1) the
VA Corporate Data Warehouse; (2) the Medical SAS data sets maintained by the VA Office of
Information at the Austin Information Technology Center; (3) the Pharmacy Benefits
Management Database, which covers all prescriptions dispensed within the VA system; (4) the
Decision Support System data on laboratory test results, radiology procedures, and other
related clinical information; and (5) the Beneficiary Identification and Records Locator System,
which maintains vital status information and combines death dates from all sources currently
available to VA researchers. All data sets are accessible through the VA Informatics and
Computing Infrastructure, which receives updates on a near real-time basis.


       Difficulties of Gaining Access to the VA Data
       Unlike the Kaiser Permanente–based part of the STRONG project, the VA analyses were
delayed for several years. The VA Research and Development (R&D) application had to be
resubmitted several times for reasons beyond our control, each time delaying the review by
several months. Even after we received the R&D approval (in April 2016), the actual access to
the VA data via VINCI interface was not granted until April 2017 (less than 3 months before the
end of the project).



                                                                                                39
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 78 of 180
       Another limitation of the VA component of the project is that the data could be
accessed only via the VINCI interface. For this reason, it is currently not possible to combine the
VA and the Kaiser Permanente EMR data.


       Ascertainment of Transgender and Reference Cohorts at the VA
       As the VA data cover the period 2000-2017, we were able to use both ICD-9 and ICD-10
codes. Eligible participants included veterans who had diagnostic ICD-9 codes of 302.50 to
302.53, 302.85, or 302.6, or ICD-10 codes of F64.1, F64.2, or F64.9.

       We defined the index date for the VA cohort as the date the diagnostic code of interest
was first recorded in the EMR. From the methodological point of view, an important limitation
of the VA data is lack of access to text strings, which restricted our ability to perform cohort
validation and ascertain gender identity. For this reason, we ascertained TM/TF status by
searching for ICD and CPT codes that correspond to natal sex-specific diagnoses, procedures, or
tests (Appendix 3).

       We matched up to 10 male and 10 female VA patients without evidence of transgender
diagnoses to each member of the VA transgender cohort on year of birth, race/ethnicity, and
utilization during the year of the index date. The 10:1 ratio for both male and female reference
cohorts was needed to allow exclusions of some referents for certain types of analyses. For
example, in the analyses of cancer incidence participants had to be excluded if they had a
history of cancer before the index date. Having a 10:1 ratio ensured that each transgender
participant had a sufficient number of referents after exclusions.

       An important limitation of the VA data is difficulty of establishing continuous follow-up,
because many veterans receive their care outside the VA system. To account for possible
differences in VA care utilization, we also matched the transgender and reference cohorts on
the quartile of average annual encounters since the index date. The quartile cutoffs were <5, 5
to 10, 11 to 20, and >20 encounters per year.




                                                                                                   40
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 79 of 180
       VA Data Integration
       As many veterans receive their care outside the VA system, accurate and complete
ascertainment of incident events is also problematic. The 2 notable exceptions are cancer and
mortality data, which can be obtained from the VA Tumor Registry and the Vital Statistics Files,
respectively. We linked patient identification numbers for both the transgender and the
reference VA cohorts to the Tumor Registry Data to identify incident cases of cancer. We used
Vital Statistics Files to ascertain deaths from all causes. The available data extended through
April 2017.


       VA Data Analyses
       Due to time restrictions, difficulties of data access, and the inherent limitations of the
VA EMR (see the Discussion section), the analyses for this component of the STRONG project
were limited to 2 types of outcomes—all-cause mortality and cancer incidence. We excluded
from the mortality analysis participants whose date of death preceded or coincided with the
index date, and we excluded from the analyses of cancer incidence participants with evidence
of prevalent cancer at the index date.

       In the mortality analyses we followed all participants from index date until death or the
last evidence of care utilization. In the cancer incidence analyses, we followed participants until
the first occurrence of a cancer diagnosis or the most recent care utilization date.

       We calculated mortality and cancer incidence rates as the number of events per 100 000
person-years and we estimated the corresponding 95% CIs based on the Byar Poisson
approximation method. We calculated the cancer incidence rates in TM and TF cohorts for all
cancers combined. As the TM cohort included relatively few participants, we examined only TF
cohort data for specific cancer sites. We examined mortality in the transgender and reference
cohorts by constructing Kaplan-Meier survival curves. In addition, in all analyses we compared
transgender cohort participants with the matched reference cohorts using Cox proportional
hazard models. We expressed the results of the Cox models as adjusted HRs and corresponding
95% CIs.


                                                                                                    41
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 80 of 180
RESULTS
Results of Kaiser Permanente EMR Cohort Analyses

       Kaiser Permanente EMR Cohort Description
       Initial review of the Kaiser Permanente EMRs identified 12 457 potential transgender
individuals. Of these, 7272 (58%) were identified through keywords only, 1132 (9%) through
ICD-9 codes only, and the remaining 4053 (33%) from both ICD-9 codes and keywords (Figure
3). Among these candidates, 6459 were confirmed as transgender: 10% from ICD-9 codes alone,
29% from keywords alone, and 61% from both codes and keywords. Based on validation results,
the positive predictive values for keywords, diagnostic codes, and both were 26%, 54%, and
98%, respectively. The leading reason for noneligibility was the use of a keyword (eg,
transgender) referring not to the patient, but to the patient’s relative or partner. In other
situations, the keywords of interest were used as part of standard text, such as when listing
indications for hormone use. We successfully determined natal sex and/or gender identity for
all but 89 (1.4%) of the transgender cohort members.

       We matched the transgender cohort to 127 668 enrollees with no evidence of
transgender status. Of those, 63 855 were women and 63 813 were men.

       Figure 4 displays proportions of transgender enrollees over time at each of the 3
participating sites. In 2006, the prevalence estimates (95% CIs) per 100 000 enrollees were 3.5
(1.9-6.3), 5.5 (4.8-6.4), and 17 (16-19) in Georgia, Southern California, and Northern California,
respectively. By 2014, the corresponding estimates increased to 38 (32-45) in Georgia, 44 (42-
46) in Southern California, and 75 (72-78) in Northern California. The composition of the
transgender population has also changed. Whereas in 2006 the TF:TM ratio among newly
identified cohort members was approximately 1.7:1, in 2014, the same ratio was 1:1.

                                                                                                43




                                                                                                     42
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 81 of 180
Figure 3. Results of STRONG Transgender Cohort Ascertainment and Validation




Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM, transmaculine.




                                                                                                         43
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 82 of 180
Figure 4. Prevalence of Transgender Status by Site and Year of Kaiser Permanente Health Plan
Enrollment




Abbreviations: KPGA, Kaiser Permanente Georgia; KPNC, Kaiser Permanente Northern California; KPSC, Kaiser
Permanente Southern California.


        As shown in Table 5, 59% of all participants were from Northern California, 38% were
from Southern California, and fewer than 3% were from Georgia. Regarding race and ethnicity,
Blacks and Asians each composed about 8% of the study population, 19% were Hispanics, and
55% were non-Hispanic Whites. Only about a fifth of the overall cohort (17% of TF and 26% of
TM participants) were under the age of 18 years at the index date. Compared with TF, TM
participants were younger (76% vs 53% under the age of 36) and included a greater proportion
of participants who were obese (31% vs 22%). Proportions of smokers, insurance status, and
area-based measures of education were similar in TM and TF study participants.

        Nearly two-thirds of the transgender cohort had some evidence of gender-affirming
treatment (Table 6). Approximately 55% of all transgender cohort members had evidence of
hormone therapy received at Kaiser Permanente. This proportion was slightly higher in TF


                                                                                                            44
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 83 of 180
(58%) than in TM (52%) participants. About 23% of the transgender cohort had some evidence
of gender affirmation surgery. Top surgery receipt at Kaiser Permanente was far more common
among TM cohort members than among their TF counterparts (12% vs 0.3%). Similar
proportions of TM and TF cohorts had genital operations (4% vs 5%) or procedures aimed at
altering other secondary sex characteristics (11%).


       Rates of Acute Cardiovascular Events Rates in Relation to Hormone Use in
       the Kaiser Permanente Cohort
       After an average 4 years of follow-up, the TF cohort had an increase in postindex date
incidence of VTE compared with either reference cohort, and the difference appeared to be
more pronounced with increased follow-up (Figure 5A-C). For ischemic stroke, the incidence
was about the same in all 3 cohorts. The incidence of myocardial infarction was higher in the TF
cohort than in reference females, but there was no difference compared with reference males.

       In the analyses limited to TF persons who initiated estrogen therapy after the index date
and their matched reference cohorts (Figure 5D-F), the rates of myocardial infarction were
similar across the 3 groups. In contrast, the incidence compared with either reference cohort
was quite pronounced for VTE and ischemic stroke, with a discernible inflexion point at about 6
years of follow-up.




                                                                                                45
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 84 of 180
Table 5. Characteristics of the STRONG Kaiser Permanente Transgender Cohort

                                           Overall transgender   TF cohort, n   TM cohort, n
 Participant characteristics               cohort, n (Col %)     (Col %)a       (Col %)a
 Kaiser Permanente site
    Northern California                    3842 (59)             1949 (56)      1831 (63)
    Southern California                    2443 (38)             1433 (41)      983 (34)
    Georgia                                174 (2.7)             95 (2.7)       79 (2.7)
 Race/ethnicity
    Non-Hispanic White                     3534 (55)             1830 (53)      1669 (58)
    Non-Hispanic Black                     510 (7.9)             248 (7.1)      256 (8.8)
    Asian                                  516 (8.0)             305 (8.8)      204 (7.1)
    Hispanic                               1232 (19)             710 (20)       503 (17)
    Other/unknown                          667 (10)              384 (11)       261 (9.0)
 Age, yb
    3-17                                   1347 (21)             588 (17)       745 (26)
    18-25                                  1431 (22)             655 (19)       753 (26)
    26-35                                  1330 (21)             600 (17)       708 (24)
    36-45                                  940 (15)              578 (17)       347 (12)
    46-55                                  779 (12)              552 (16)       219 (7.6)
    >55                                    632 (10)              504 (14)       121 (4.2)
 Smoking statusb
    Current                                1011 (16)             506 (15)       489 (17)
    Former                                 874 (14)              462 (13)       401 (14)
    Never                                  4031 (62)             2197 (63)      1796 (62)
    Unknown                                543 (8.4)             312 (9.0)      207 (7.2)
 BMIb
    Underweight                            150 (2.3)             96 (2.8)       52 (1.8)
    Normal weight                          2405 (37)             1356 (39)      1026 (35)
    Overweight                             1648 (26)             915 (26)       710 (25)
    Obese                                  1692 (26)             779 (22)       886 (31)
    Unknown                                564 (8.7)             331 (10)       219 (7.6)




                                                                                            46
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 85 of 180
                                                    Overall transgender     TF cohort, n      TM cohort, n
 Participant characteristics                        cohort, n (Col %)       (Col %)a          (Col %)a
 Medicaid statusb
    Yes                                             265 (4.1)               138 (4.0)         123 (4.3)
    No                                              6032 (93)               3253 (94)         2703 (93)
    Unknown                                         162 (2.5)               86 (2.5)          67 (2.3)
 Census-level education status
    <30% of residents have high school or less      2635 (41)               1406 (40)         1194 (41)
    30%-50% of residents have high school or        2234 (35)               1218 (35)         980 (34)
    less
    >50% have high school or less                   1467 (23)               795 (22)          655 (23)
    Unknown                                         123 (1.9)               58 (1.7)          64 (2.2)
 Total, n row (%)                                   6459 (100)              3477 (54)         2893 (45)
Abbreviations: BMI, body mass index; Col, column; STRONG, Study of Transition, Outcomes and Gender; TF,
transfeminine; TM, transmasculine.
a
  Excludes 89 persons with unknown natal sex.
b
  Assessed at index date (date of first evidence of transgender status in EMRs).




                                                                                                          47
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 86 of 180
Table 6. Gender Affirmation Status of the STRONG Kaiser Permanente Transgender Cohort Members

 Gender affirmation                                             Overall transgender cohort        TF cohorta           TM cohorta
 Evidence and type                                              n (Col %)                         n (Col %)            n (Col %)
 Evidence of treatment
    Anyb                                                        4043 (63)                         2143 (62)            1793 (62)
    None                                                        2416 (37)                         1334 (38)            1100 (38)
 Cross-sexhormone therapy
    Specific evidence at Kaiser Permanente                      3546 (55)                         2031 (58)            1515 (52)
    Evidence in the text only                                   187 (2.9)                         112 (3.2)            72 (2.5)
    No evidence                                                 2726 (42)                         1334 (38)            1306 (45)
 Gender affirmation surgery
    Top surgery at Kaiser Permanente only                       369 (6)                           12 (0.3)             357 (12)
    Orchiectomy at Kaiser Permanente with or without            52 (0.8)                          52 (1.5)             0 (0.0)
    top
    Hysterectomy and/or oophorectomy at Kaiser                  311 (4.8)                         0 (0.0)              311 (11)
    Permanente with or without top
    Genital reconstruction at Kaiser Permanente with or         299 (4.6)                         181 (5.2)            118 (4.1)
    without other surgery
    Evidence in the text only                                   432 (6.7)                         253 (7.3)            179 (6.2)
    No evidence                                                 4996 (77)                         2979 (86)            1928 (67)
 Procedures to alter secondary sex characteristics
    Specific evidence at Kaiser Permanente                      678 (10)                          385 (11)             293 (10)
    Evidence in the text only                                   58 (0.9)                          52 (1.5)             6 (0.2)
    No evidence                                                 5723 (89)                         3040 (87)            2594 (90)
 Total                                                          6459 (100)                        3477 (100)           2893 (100)
Abbreviations: Col, column; STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM, transmasculine.
a
  Excludes 89 persons with unknown natal sex.
b
  Includes nonspecific history and referral for treatment.

                                                                                                                                    48
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 87 of 180
Figure 5. Incidence of VTE, IS, and MI Among TF Cohort Members Overall (A-C) and TF Members Who Initiated Estrogen Therapy After the Index
Date (D-F) Compared With Matched Reference Cohorts




Abbreviations: IS, ischemic stroke; MI, myocardial infarction; TF, transfeminine; VTE, venous thromboembolism.




                                                                                                                                         49
                                  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 88 of 180
       The average incidence rates (per 1000 person-years) across the entire follow-up among
TF for VTE, ischemic stroke, and myocardial infarction were 5.5, 4.8, and 2.9, respectively. The
proportional hazard assumptions were violated in the analyses for VTE and ischemic stroke
among the estrogen initiation subcohort. For this reason, the HR estimates for both VTE and
ischemic stroke in this category of participants are presented separately for ≤6 and >6 years of
follow-up. As shown in Table 7, the HR estimates—after adjusting for BMI, history of acute
cardiovascular events of interest, blood pressure, blood cholesterol, and smoking—in the
earlier follow-up period were closer to the null compared with the corresponding estimates in
the later period. This was consistent with the 6-year inflexion point observed on the cumulative
incidence curves. The HR estimates were even higher when we restricted the estrogen initiation
subcohort to TF members on oral estrogen.

       The rates of myocardial infarction were similar when we compared TF persons with
cisgender male referents (HR, 0.9; 95% CI, 0.7-1.4), but the difference was evident (HR, 1.6; 95%
CI, 1.1-2.4) when the reference group was composed of cisgender females. The corresponding
estimates limited to the estrogen initiation subcohort were imprecise due to few myocardial
infarction events (n = 4) in the exposed group.

       The cumulative incidence curves for all 3 acute cardiovascular events in the TM cohort
(mean follow-up, 3.6 years) closely followed those of the 2 matched reference cohorts (Figure
6). In the multivariable survival analyses, the HR (95% CI) estimates for VTE in the overall TM
cohort using cisgender males and cisgender females as the reference categories were 1.1 (95%
CI, 0.7-1.8) and 1.0 (95% CI, 0.6-1.5), respectively. The corresponding results were 0.8 (95% CI,
0.5-1.3) and 0.9 (95% CI, 0.5-1.5) for ischemic stroke and 0.7 (95% CI, 0.4-1.4) and 1.4 (95% CI,
0.7-3.0) for myocardial infarction (Table 8). The analyses restricted to the testosterone
initiation subcohort were limited due to relatively few events.

       The results of sensitivity analyses were very similar to those of the main analyses,
although the precision of some estimates decreased due to fewer events. The imputation of
missing values did not appreciably affect the HR estimates (Appendix 4).



                                                                                                  50
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 89 of 180
Table 7. Incidence Rates and Adjusted Hazard Ratios for Acute Cardiovascular Events Among TF STRONG Kaiser Permanente
Cohort Members Compared With Matched Reference Cohorts (2006-2016)

                                                                                        Incidence rate            Adjusted hazard ratio (95% CI)a
                                                                                                                                          vs reference
                                                                                                  b
 Population of interest                                                                 (95% CI)                  vs reference males      females
 Venous thromboembolism
     Overall cohort (61 events)                                                         5.5 (4.3-7.0)             1.4 (1.1-1.9)           1.6 (1.2-2.1)
     Estrogen initiation subcohort, 0-6 y of follow-up (13 events)                      5.5 (3.2-9.5)             1.9 (1.0-3.6)           2.1 (1.1-4.0)
     Estrogen initiation subcohort, ≥6 y of follow-up (4 events)                        18.9 (7.1-50.3)           4.7 (1.4-16.2)          5.6 (1.7-18.3)
                                                                             c
     Oral estrogen initiation subcohort, 0-6 y of follow-up (10 events)                 5.9 (3.2-11.0)            2.0 (1.0-4.0)           1.9 (0.9-3.9)
     Oral estrogen initiation subcohort, ≥6 y of follow-up (4 events)c                  26.7 (10.0-71.0)          7.7 (2.0-29.8)          10.5 (2.8-39.5)
 Ischemic stroke
     Overall cohort (54 events)                                                         4.8 (3.7-6.3)             1.0 (0.7-1.3)           1.2 (0.9-1.5)
     Estrogen initiation subcohort, 0-6 y of follow-up (9 events)                       3.8 (2.0-7.3)             1.1 (0.5-2.2)           1.8 (0.8-3.7)
     Estrogen initiation subcohort, ≥6 y of follow-up (8 events)                        36.2 (18.1-72.4)          6.8 (2.4-18.9)          3.3 (1.4-7.7)
     Oral estrogen initiation subcohort, 0-6 y of follow-up (6 events)c                 3.5 (1.6-7.8)             1.0 (0.4-2.4)           1.9 (0.7-4.7)
     Oral estrogen initiation subcohort, ≥6 y of follow-up (4 events)c                  23.8 (8.9-63.5)           6.8 (1.6-28.1)          2.6 (0.7-10.3)
 Myocardial infarction
     Overall cohort (33 events)                                                         2.9 (2.1-4.1)             0.9 (0.7-1.4)           1.6 (1.1-2.4)
     Overall estrogen initiation subcohort (4 events)                                   1.5 (0.6-4.1)             0.7 (0.2-1.9)           1.3 (0.5-3.8)
     Overall oral estrogen initiation subcohort (2 events)c                             1.1 (0.3-4.3)             0.5 (0.1-2.2)           1.1 (0.3-5.1)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.
a
  Matched on age, race, site, and membership year of index date; adjusted for history of event, body mass index, smoking status, blood pressure, and total blood
cholesterol.
b
  Calculated as number of cases per 1000 person-years.
c
  Extended models due to violation of proportional hazards assumptions.

                                                                                                                                                               51
                          Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 90 of 180
Figure 6. Incidence of VTE, IS, and MI Among TM Cohort Members Overall (A-C) Compared With Matched Reference Cohorts




Abbreviations: IS, ischemic stroke; MI, myocardial infarction; TM, transmasculine; VTE, venous thromboembolism.




                                                                                                                       52
                                 Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 91 of 180
Table 8. Incidence Rates and Adjusted Hazard Ratios for Acute Cardiovascular Events Among
TM STRONG Kaiser Permanente Cohort Members to Matched Reference Cohortsa (2006-2016)

                                                                       Adjusted hazard ratio (95% CI)b
                                                   Incidence rate      vs reference          vs reference
 Population of interest                            (95% CI)a           males                 females
 Venous thromboembolism
    Overall cohort (23 events)                     3.1 (2.0-4.6)       1.1 (0.7-1.8)         1.0 (0.6-1.5)
    Overall testosterone initiation                3.3 (1.3-8.9)       1.7 (0.6-5.3)         1.0 (0.4-3.1)
    subcohort (4 events)
 Ischemic stroke
    Overall cohort (16 events)                     2.1 (1.3-3.5)       0.8 (0.5-1.3)         0.9 (0.5-1.5)
    Overall testosterone initiation                1.7 (0.4-6.7)       1.3 (0.3-6.5)         1.1 (0.2-5.4)
    subcohort (2 events)
 Myocardial infarction
    Overall cohort (9 events)                      1.2 (0.6-2.3)       0.7 (0.4-1.4)         1.4 (0.7-3.0)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.
a
  Calculated as number of cases per 1000 person-years.
b
  Matched on age, race, site, and membership year of index date; adjusted for history of event, body mass index,
smoking status, blood pressure, and total blood cholesterol.


        Cancer Incidence in the Kaiser Permanente Cohort
        The average duration of follow-up in these analyses was 4 years for TF participants and
3.6 years for TM participants. As shown in Table 9, overall cancer incidence was the same when
comparing TF and TM participants with their matched reference groups. Compared with
reference males, incidence rates among TF participants were lower for prostate cancer (HR, 0.4;
95% CI, 0.2-0.9) and higher for endocrine gland cancers (HR, 5.2; 95% CI, 1.8-15.1) and viral
infection– induced cancers (HR, 2.0; 95% CI, 1.0-3.9). TF participants also experienced higher
incidence rates for lymphatic and hematopoietic cancers (HR, 3.0; 95% CI, 1.4-6.3) compared
with reference females.

        TM participants had much higher rates of breast cancer relative to male referents, but
there was no increase compared with the matched female cohort. We observed increases in
smoking-related and viral infection–induced cancers among TM participants relative to only


                                                                                                                   53
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 92 of 180
reference males; both results were entirely attributable to cervical cancers. The results for
other cancer sites and categories demonstrated no clear differences in either TM participants
or TF participants relative to the reference groups.


       Mental Health Status at Index Date in the Kaiser Permanente Cohort
       The data for TF participants included 161 children under the age of 10 years, 427
children and adolescents in the 10- to 17-year age group, and 2889 adults. The corresponding
age-specific numbers for TM participants were 90, 655, and 2148, respectively.

       As shown in Tables 10 and 11, the most common diagnostic categories among both TM
and TF children aged 3 to 9 years were attention deficit disorders and anxiety disorders. The PR
estimates for anxiety disorders ranged from 4.4 (95% CI, 2.6-7.4) to 21 (95% CI, 8.8-51)
depending on the time window before the index date and the reference group. The
corresponding PR (95% CI) estimates for attention deficit disorders ranged from 2.8 (1.6-4.9) to
13 (5.9-27). Among TF participants, 5% had a diagnosis of autism spectrum disorder; however,
we observed no cases among their TM counterparts. For most diagnostic categories, we
observed the most pronounced differences relative to referent groups within the last 6 months
before the index date. Among TF participants, we found the highest PR estimate for
conduct/disruptive disorders (79; 95% CI, 10-631) relative to reference females. Among TM, we
found the highest PR estimate for depressive disorders (40; 95% CI, 8.6-184) relative to
reference males. Fewer than 5 total inpatient encounters were associated with any of the
mental health conditions in this age group, and for this reason further analyses assessing
prevalence of hospitalizations by diagnostic category were not possible.




                                                                                                54
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 93 of 180
Table 9. Cancer Incidence Rates and Adjusted Hazard Ratios for TF and TM STRONG Kaiser
Permanente Cohort Participants Aged ≥18 Years at Index Date Compared With Matched
Referent Males and Femalesa

                                                                               Adjusted hazard ratio (95% CI)
                                                        Incidence rate
                                                        (95% CI) per 100       vs reference       vs reference
 Cancer categories                                      000 person-years       males              females
 TF participants (n = 2793)a
     Any incident cancer (54 cases)                     495 (379-646)          1.0 (0.7-1.3)      1.0 (0.7-1.3)
     Prostate cancer (8 cases)                          72 (36-145)            0.4 (0.2-0.9)
     Intestinal cancer (5 cases)                        45 (19-109)            1.0 (0.4-2.5)      1.4 (0.5-3.5)
     Melanoma of the skin (6 cases)                     54 (24-121)            0.9 (0.4-2.0)      1.0 (0.4-2.3)
     Lymphatic and hematopoietic cancers (9             81 (42-156)            1.5 (0.7-3.0)      3.0 (1.4-6.3)
     cases)
     Endocrine gland cancers (5 cases)b                 45 (19-109)            5.2 (1.8-15.1)     1.5 (0.6-4.0)
     Smoking-related cancers (8 cases)c                 72 (36-145)            0.6 (0.3-1.3)      0.7 (0.3-1.4)
     Screening detectable cancers (18 cases)d           164 (103-260)          0.6 (0.4-1.0)
     Viral infection–induced cancers (10 cases)e        90 (49-168)            2.0 (1.0-3.9)      1.6 (0.8-3.1)
 TM participants (n = 2099)
     Any incident cancer (25 cases)                     337 (228-499)          1.3 (0.8-1.9)      1.0 (0.6-1.4)
     Breast cancer (7 cases)                            94 (45-197)            82 (10-673)        0.9 (0.4-1.9)
     Cervical cancer (6 cases)                          80 (36-179)                               1.2 (0.5-2.9)
     Smoking-related cancers (9 cases)c                 121 (63-232)           2.7 (1.3-5.6)      1.2 (0.6-2.5)
     Screening detectable cancers (14 cases)f           188 (111-318)                             0.9 (0.5-1.5)
     Viral infection–induced cancers (6 cases)g         80 (36-179)            2.7 (1.1-6.7)      0.9 (0.4-2.2)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM, transmasculine.
a
  Excludes participants with history of cancer before the index date, matched on year of birth, enrollment at index
date, race, and site; adjusted for BMI and smoking status (reported analyses are limited to cancer categories with
at least 5 cases).
b
   Includes cancers of the thyroid gland, adrenal gland, pituitary gland, and pineal gland.
c
  Includes cancers of the lung/bronchus, trachea, esophagus, larynx and other head/neck, cervix, stomach,
pancreas, urinary bladder, kidney, and renal pelvis.
d
   Includes cancers of the colorectum, melanoma of the skin, and prostate; the analyses are natal-sex specific.
e
  Includes cancers of the anus, base of tongue/tonsil, oropharynx, nasopharynx, pharynx, liver, and Kaposi sarcoma,
non-Hodgkin lymphoma, and Hodgkin lymphoma.
f
  Includes cancers of the cervix, breast, colorectum, and melanoma of the skin; the analyses are natal-sex specific.
g
  All cancers of the cervix.




                                                                                                                  55
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 94 of 180
Table 10. Prevalence of Mental Health Conditions in TF Children Aged 3 to 9 Years Relative to
Referent Groups in the STRONG Kaiser Permanente Cohort

                                                               Prevalence ratio (95% CI)
                                                                                      vs reference
 Categories of mental health disorders        No. (%)          vs reference males     females
 All diagnoses of interest
    Ever before index date                    51 (31.7)        3.0 (2.3-3.9)          5.9 (4.2-7.7)
    12 mo before index date                   48 (29.8)        4.6 (3.4-6.2)          10.1 (7.0-14.6)
    6 mo before index date                    46 (28.6)        6.0 (4.4-8.4)          13.0 (8.7-19.6)
 Anxiety disorders
    Ever before index date                    19 (11.8)        4.4 (2.6-7.4)          6.3 (3.6-10.9)
    12 mo before index date                   17 (10.6)        8.5 (4.5-15.9)         18.8 (8.5-41.4)
    6 mo before index date                    15 (9.3)         15.0 (6.8-32.7)        21.3 (8.8-51.4)
 Autism spectrum disorders
    Ever before index date                    8 (5.0)          2.2 (1.0-4.6)          11.3 (4.2-30.9)
    12 mo before index date                   8 (5.0)          2.9 (1.3-6.1)          19.9 (6.0-65.2)
    6 mo before index date                    8 (5.0)          3.8 (1.7-8.4)          19.9 (6.0-65.2)
 Attention deficit disorder
    Ever before index date                    24 (14.9)        3.3 (2.1-5.1)          6.1 (3.8-9.9)
    12 mo before index date                   23 (14.3)        4.1 (2.6-6.5)          7.9 (4.7-13.3)
    6 mo before index date                    22 (13.7)        5.0 (3.1-8.1)          10.9 (6.1-19.6)
 Conduct/disruptive disorders
    Ever before index date                    12 (7.5)         3.2 (1.7-5.9)          13.2 (5.7-30.9)
    12 mo before index date                   11 (6.8)         7.8 (3.6-17.0)         54.5 (12.2-244.1)
    6 mo before index date                    8 (5.0)          8.0 (3.2-19.9)         79.4 (10.0-630.9)
 Depressive disorders
    Ever before index date                    9 (5.6)          6.4 (2.8-14.6)         7.4 (3.2-17.4)
    12 mo before index date                   8 (5.0)          11.4 (4.2-31.0)        13.2 (4.7-37.7)
    6 mo before index date                    6 (3.7)          8.5 (2.9-25.1)         11.9 (3.7-38.6)
 Eating disorders
                                              a
    Ever before index date                                     3.6 (1.2-11.2)         6.6 (1.9-23.2)
                                              a
    12 mo before index date                                    6.7 (1.1-39.5)         19.9 (1.8-217.7)
                                              a
    6 mo before index date                                     10.0 (0.6-158.6)       9.9 (0.6-157.9)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.
a
  For fewer than 5 cases, numbers are not reported.


                                                                                                          56
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 95 of 180
Table 11. Prevalence of Mental Health Conditions in TM Children Aged 3 to 9 Relative to
Referent Groups in the STRONG Kaiser Permanente Cohort

                                                               Prevalence ratio (95% CI)a
                                                                                       vs reference
 Categories of mental health disorders        No. (%)          vs reference males      females
 All diagnoses of interest
    Ever before index date                    31 (34.4)        3.3 (2.3-4.6)           5.4 (3.7-7.9)
    12 mo before index date                   26 (28.9)        4.3 (2.9-6.5)           7.8 (4.9-12.4)
    6 mo before index date                    26 (28.9)        5.9 (3.8-9.0)           10.7 (6.4-17.8)
 Anxiety disorders
    Ever before index date                    14 (15.6)        6.3 (3.4-11.9)          6.0 (3.2-11.3)
    12 mo before index date                   11 (12.2)        8.4 (3.9-18.2)          9.9 (4.4-22.1)
    6 mo before index date                    9 (10.0)0        8.9 (3.7-21.4)NC        11.1 (4.4-28.1)NC
 Autism spectrum disorders
    Ever before index date                    0                NC                      NC
    12 mo before index date                   0                NC                      NC
    6 mo before index date                    0                NC                      NC
 Attention deficit disorder
    Ever before index date                    14 (15.6)        3.6 (2.0-6.3)           8.6 (4.4-17.1)
    12 mo before index date                   14 (15.6)        4.2 (2.3-7.6)           12.6 (5.9-26.8)
    6 mo before index date                    7 (7.8)          5.8 (2.3-14.3)          11.5 (4.0-33.5)
 Conduct/disruptive disorders
    Ever before index date                    *                13.2 (3.0-58.1)         19.7 (3.7-106.3)
    12 mo before index date                   *                13.2 (3.0-58.1)         19.7 (3.7-106.3)
    6 mo before index date                    10 (11.1)        24.8 (7.9-77.4)         12.3 (5.0-30.5)
 Depressive disorders
    Ever before index date                    10 (11.1)        24.8 (7.9-77.4)         12.3 (5.0-30.5)
    12 mo before index date                   8 (8.9)          26.4 (7.1-97.9)         19.7 (6.1-64.3)
    6 mo before index date                    8 (8.9)          39.6 (8.6-183.9)        26.3 (7.1-97.4)
 Eating disorders
    Ever before index date                    0                NC                      NC
    12 mo before index date                   0                NC                      NC
    6 mo before index date                    0                NC                      NC
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.
a
  NC due to 0 cases among transgender participants.
b
  For fewer than 5 cases, numbers are not reported.


                                                                                                           57
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 96 of 180
       Tables 12 and 13 summarize prevalence of mental health diagnoses among TM and TF
children and adolescents aged 10 to 17 years. As in the younger (aged 3-9) age group, anxiety
disorders remained common with an “ever” prevalence of nearly 40% in both TF and TM
participants. Prevalence of attention deficit disorders among TF children and adolescents was
also very common: 25% in TF children and 16% in TM children. An additional high-prevalence
diagnostic category in this age group was depressive disorders, found in 62% of TF and 49% of
TM participants.

       For nearly all diagnostic categories, PR estimates comparing transgender participants to
matched reference groups were the highest within 6 months of the index date. The PR
estimates among TF relative to female controls were particularly elevated within 6 months of
the index date for autism spectrum disorders (246; 95% CI, 33-1812) and psychoses (99; 95% CI,
13-767). The corresponding analyses for TF participants compared with reference males yielded
notable PR estimates for suicidal ideation (52; 95% CI, 18-150) and self-inflicted injuries (69;
95% CI, 8.5-559). The prevalence of suicidal ideation and self-inflicted injuries within 6 months
before the index date was also much higher when comparing TM participants with reference
males, with PR (95%) estimates of 42 (22-81) and 138 (33-577), respectively. When compared
with reference females, TM participants aged 10-17 experienced particularly pronounced
increases in prevalence of psychoses (PR, 30; 95% CI, 12-74) and personality disorders (PR, 30;
95% CI, 8-109).

       When prevalence estimates were limited to mental health disorders that required
hospitalization, the patterns among children and adolescents aged 10 to 17 years generally
remained the same; however, in several instances we could not calculate the PR estimates due
to lack of cases in the reference groups (Tables 14 and 15). For example, 7 of 21 TF children
diagnosed with suicidal ideation within 6 months before the index date required
hospitalization; however, we observed no cases in reference males.




                                                                                                   58
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 97 of 180
Table 12. Prevalence of Mental Health Conditions in TF Children Aged 10 to 17 Years Relative to
Referent Groups in the STRONG Kaiser Permanente Cohort

                                                      Prevalence ratio (95% CI)
                                                                            vs reference
 Categories of mental health disorders   No. (%)      vs reference males    females
 All diagnoses of interest
 Ever before index date                  303 (71.0)   3.0 (2.8-3.3)         3.6 (3.3-3.9)
 12 mo before index date                 266 (62.3)   5.6 (5.0-6.3)         6.3 (5.6-7.1)
 6 mo before index date                  253 (59.3)   7.8 (6.8-8.9)         8.6 (7.5-9.8)
 Anxiety disorders
 Ever before index date                  159 (37.2)   5.0 (4.2-5.9)         4.2 (3.6-4.9)
 12 mo before index date                 109 (25.5)   10.2 (8.0-13.1)       6.5 (5.2-8.1)
 6 mo before index date                  106 (24.8)   18.0 (13.3-24.4)      9.2 (7.2-11.8)
 Autism spectrum disorders
 Ever before index date                  31 (7.3)     3.9 (2.6-5.8)         23.5 (12.4-44.5)
 12 mo before index date                 25 (5.9)     5.9 (3.6-9.5)         123.1 (29.3-517.8)
 6 mo before index date                  25 (5.9)     7.7 (4.6-12.9)        246.1 (33.4-1812.0)
 Attention deficit disorder
 Ever before index date                  107 (25.1)   2.0 (1.7-2.5)         5.3 (4.3-6.5)
 12 mo before index date                 79 (18.5)    3.2 (2.6-4.1)         7.9 (6.0-10.4)
 6 mo before index date                  68 (15.9)    3.8 (2.9-4.9)         9.1 (6.6-12.4)
 Bipolar spectrum disorder
 Ever before index date                  23 (5.4)     9.4 (5.4-16.6)        9.9 (5.6-17.4)
 12 mo before index date                 18 (4.2)     13.6 (6.7-27.6)       11.8 (6.0-23.3)
 6 mo before index date                  16 (3.8)     17.5 (7.8-39.4)       14.3 (6.7-30.7)
 Conduct/disruptive disorders
 Ever before index date                  60 (14.1)    2.8 (2.1-3.7)         6.6 (4.8-9.0)
 12 mo before index date                 28 (6.6)     4.6 (3.0-7.1)         11.5 (6.7-19.6)
 6 mo before index date                  22 (5.2)     5.0 (3.0-8.3)         12.0 (6.5-22.3)
 Depressive disorders
 Ever before index date                  207 (48.5)   5.8 (5.1-6.7)         4.4 (3.9-5.0)
 12 mo before index date                 179 (41.9)   15.5 (12.5-19.1)      7.5 (6.4-8.9)
 6 mo before index date                  172 (40.3)   23.5 (18.2-30.4)      10.1 (8.4-12.2)



                                                                                                 59
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 98 of 180
                                                               Prevalence ratio (95% CI)
                                                                                      vs reference
 Categories of mental health disorders        No. (%)          vs reference males     females
 Eating disorders
 Ever before index date                       18 (4.22)        7.39 (4.0-13.5)        3.16 (1.9-5.3)
 12 mo before index date                      11 (2.6)         10.84 (4.6-25.4)       3.73 (1.9-7.4)
 6 mo before index date                       11 (2.6)         18.06 (6.7-48.6)       6.02 (2.9-12.7)
 Psychoses
 Ever before index date                       19 (4.5)         18.7 (8.8-40.0)        11.7 (6.1-22.6)
 12 mo before index date                      14 (3.3)         17.2 (7.3-40.9)        34.5 (11.4-104.2)
 6 mo before index date                       10 (2.3)         19.7 (6.8-57.4)        98.5 (12.6-767.3)
 Personality disorder
 Ever before index date                       10 (2.3)         14.1 (5.4-36.8)        10.9 (4.5-26.8)
 12 mo before index date                      6 (1.4)          29.6 (6.0-146.0)       29.5 (6.0-145.9)
 6 mo before index date                       *                19.7 (3.6-107.2)       19.7 (3.6-107.2)
 Self-inflicted injuries
 Ever before index date                       11 (2.6)         3.9 (1.9-7.7)          4.0 (2.0-8.0)
 12 mo before index date                      8 (1.9)          39.4 (8.4-185.0)       8.8 (3.4-22.6)
 6 mo before index date                       7 (1.6)          69.0 (8.5-559.1)       17.2 (5.1-58.6)
 Substance abuse disorders
 Ever before index date                       33 (7.7)         2.9 (2.0-4.2)          3.5 (2.4-5.1)
 12 mo before index date                      27 (6.3)         4.2 (2.7-6.4)          5.4 (3.4-8.6)
 6 mo before index date                       24 (5.6)         5.5 (3.4-9.0)          8.4 (4.9-14.4)
 Suicidal ideation
 Ever before index date                       32 (7.5)         16.6 (9.5-29.0)        10.5 (6.5-17.1)
 12 mo before index date                      25 (5.9)         30. 8 (14.0-67.8)      15.4 (8.3-28.6)
 6 mo before index date                       21 (4.9)         51.7 (17.8-150.0)      29.5 (12.6-69.1)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.




                                                                                                          60
   Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 99 of 180
Table 13. Prevalence of Mental Health Conditions in TM Children Aged 10 to 17 Years Relative
to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                      Prevalence ratio (95% CI)
                                                                            vs reference
 Categories of mental health disorders   No. (%)      vs reference males    females
 All diagnoses of interest
    Ever before index date               488 (74.5)   3.0 (2.8-3.2)         3.7 (3.4-3.9)
    12 mo before index date              446 (68.1)   5.9 (5.4-6.5)         6.7 (6.1-7.3)
    6 mo before index date               429 (65.5)   7.9 (7.1-8.7)         8.7 (7.9-9.6)
 Anxiety disorders
    Ever before index date               255 (38.9)   4.9 (4.3-5.6)         4.0 (3.5-4.5)
    12 mo before index date              194 (29.6)   11.3 (9.4-13.7)       7.1 (6.0-8.3)
    6 mo before index date               175 (26.7)   15.7 (12.5-19.6)      8.7 (7.2-10.5)
 Autism spectrum disorders
    Ever before index date               24 (3.7)     1.8 (1.2-2.7)         7.4 (4.4-12.5)
    12 mo before index date              19 (2.9)     2.8 (1.7-4.7)         13.4 (6.7-26.6)
    6 mo before index date               17 (2.6)     3.4 (1.9-5.8)         16.8 (7.7-36.5)
 Attention deficit disorder
    Ever before index date               106 (16.2)   1.3 (1.0-1.5)         3.3 (2.7-4.1)
    12 mo before index date              76 (11.6)    1.9 (1.5-2.4)         4.9 (3.8-6.4)
    6 mo before index date               69 (10.5)    2.4 (1.8-3.0)         5.8 (4.4-7.7)
 Bipolar spectrum disorder
    Ever before index date               34 (5.2)     8.2 (5.2-12.8)        7.6 (4.9-11.8)
    12 mo before index date              25 (3.8)     11.7 (6.6-20.8)       13.7 (7.5-25.0)
    6 mo before index date               19 (2.9)     11.0 (5.8-21.1)       14.4 (7.2-29.1)
 Conduct/disruptive disorders
    Ever before index date               59 (9.0)     1.7 (1.3-2.2)         4.2 (3.1-5.6)
    12 mo before index date              31 (4.7)     3.6 (2.4-5.3)         7.1 (4.5-11.2)
    6 mo before index date               27 (4.1)     5.3 (3.4-8.4)         10.2 (6.0-17.4)
 Depressive disorders
    Ever before index date               403 (61.5)   7.0 (6.4-7.8)         5.7 (5.2-6.2)
    12 mo before index date              347 (53.0)   16.7 (14.4-19.5)      10.5 (9.2-11.9)
    6 mo before index date               326 (49.8)   22.8 (19.0-27.3)      13.3 (11.5-15.4)



                                                                                               61
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 100 of 180
                                                              Prevalence ratio (95% CI)
                                                                                       vs reference
 Categories of mental health disorders        No. (%)         vs reference males       females
 Eating disorders
    Ever before index date                    28 (4.3)        5.7 (3.6-9.1)            3.1 (2.1-4.8)
    12 mo before index date                   22 (3.4)        19.7 (9.6-40.4)          6.8 (4.0-11.6)
    6 mo before index date                    19 (2.9)        26.7 (11.3-63.3)         8.5 (4.6-15.7)
 Psychoses
    Ever before index date                    32 (4.9)        11.7 (7.0-19.4)          13.7 (8.1-23.3)
    12 mo before index date                   26 (4.0)        23.3 (11.6-46.9)         25.6 (12.4-52.9)
    6 mo before index date                    18 (2.8)        22.2 (9.7-50.7)          29.6 (11.8-74.3)
 Personality disorder
    Ever before index date                    15 (2.3)        11.4 (5.4-23.8)          7.8 (4.0-15.3)
    12 mo before index date                   12 (1.8)        23.6 (8.4-66.9)          19.7 (7.4-52.4)
    6 mo before index date                    9 (1.4)         29.5 (8.0-108.8)         29.6 (8.0-109.0)
 Self-inflicted injuries
    Ever before index date                    54 (8.2)        13.0 (8.7-19.3)          8.1 (5.7-11.5)
    12 mo before index date                   39 (6.0)        38.4 (19.3-76.6)         21.4 (12.3-37.1)
    6 mo before index date                    28 (4.3)        137.8 (32.9-577.2)       19.7 (10.4-37.3)
 Substance abuse disorders
    Ever before index date                    46 (7.0)        2.3 (1.7-3.2)            3.2 (2.3-4.4)
    12 mo before index date                   39 (6.0)        3.7 (2.6-5.3)            5.8 (4.0-8.6)
    6 mo before index date                    34 (5.2)        4.4 (2.9-6.5)            7.8 (5.0-12.1)
 Suicidal ideation
    Ever before index date                    68 (10.4        19.1 (12.8-28.5)         10.0 (7.2-13.9)
    12 mo before index date                   55 (8.4)        28.5 (17.0-47.7)         17.5 (11.4-27.0)
    6 mo before index date                    47 (7.2)        42.1 (21.9-80.7)         23.2 (13.8-38.9)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.




                                                                                                          62
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 101 of 180
Table 14. Prevalence of Hospitalizations for Mental Health Conditions Among TF Children Aged
10 to 17 Years Relative to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                     Prevalence ratio (95% CI)
                                                                             vs reference
 Categories of mental health disorders   No. (%)     vs reference males      females
 All diagnoses of interest
    Ever before index date               58 (13.6)   9.9 (6.9-14.0)          8.9 (6.3-12.6)
    12 mo before index date              39 (9.1)    25.6 (14.2-46.1)        16.7 (10.1-27.7)
    6 mo before index date               33 (7.7)    40.6 (18.9-87.4)        32.5 (16.1-65.5)
 Anxiety disorders
    Ever before index date               9 (2.1)     8.9 (3.6-21.7)          5.9 (2.6-13.4)
    12 mo before index date              7 (1.6)     23.0 (6.0-88.6)         13.8 (4.4-43.2)
    6 mo before index date               6 (1.4)     59.1 (7.1-489.8)        29.5 (6.0-145.9)
 Autism spectrum disorders
                                         a
    Ever before index date                           6.6 (1.9-23.2)          39.4 (4.4-351.6)
                                         a           b                       b
    12 mo before index date
                                         a           b                       b
    6 mo before index date
 Attention deficit disorder
    Ever before index date               20 (4.7)    9.4 (5.1-17.2)          14.1 (7.2-27.6)
    12 mo before index date              8 (1.9)     15.8 (5.2-48.0)         15.8 (5.2-47.9)
    6 mo before index date               6 (1.4)     19.7 (4.9-78.5)         59.1 (7.1-489.5)
 Bipolar spectrum disorder
    Ever before index date               12 (2.8)    29.6 (9.6-91.2)         13.1 (5.6-31.0)
    12 mo before index date              6 (1.4)     59.1 (7.1-489.8)        9.9 (3.2-30.4)
                                         a
    6 mo before index date                           39.4 (4.4-351.7)        19.7 (3.6-107.2)
 Conduct/disruptive disorders
    Ever before index date               10 (2.3)    16.4 (6.0-45.0)         16.4 (6.0-44.9)
                                                                             b
    12 mo before index date              6 (1.4)     59.1 (7.1-489.8)
                                                                             b
    6 mo before index date               5 (1.2)     49.3 (5.8-420.6)
 Depressive disorders
    Ever before index date               41 (9.6)    19.2 (11.5-32.2)        9.4 (6.2-14.2)
    12 mo before index date              30 (7.0)    49.3 (20.6-117.7)       24.6 (12.7-47.7)
    6 mo before index date               26 (6.1)    64.0 (22.5-182.6)       51.2 (19.8-132.6)



                                                                                                 63
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 102 of 180
                                                               Prevalence ratio (95% CI)
                                                                                       vs reference
 Categories of mental health disorders        No. (%)          vs reference males      females
 Eating disorders
                                              a
    Ever before index date                                     6.6 (1.1-39.2)          2.8 (0.6-13.5)
                                              a
    12 mo before index date                                    9.9 (0.6-157.2)         3.3 (0.3-31.5)
                                              a                b
    6 mo before index date                                                             3.3 (0.3-31.5)
 Psychoses
    Ever before index date                    8 (1.9)          26.3 (7.0-98.6)         11.3 (4.1-30.9)
    12 mo before index date                   6 (1.4)          19.7 (4.9-78.5)         14.8 (4.2-52.1)
    6 mo before index date                    5 (1.2)          49.3 (5.8-420.6)        49.2 (5.8-420.4)
 Personality disorder
                                              a
    Ever before index date                                     39.4 (4.4-351.7)        19.7 (3.6-107.2)
                                              a                b                       b
    12 mo before index date
                                                               b                       b
    6 mo before index date                    0
 Self-inflicted injuries
                                              a
    Ever before index date                                     6.6 (1.1-39.2)          4.9 (0.9-26.8)
                                              a                b                       b
    12 mo before index date
                                              a                b                       b
    6 mo before index date
 Substance abuse disorders
    Ever before index date                    8 (1.9)          5.6 (2.4-13.3)          4.2 (1.8-9.4)
    12 mo before index date                   7 (1.6)          17.2 (5.1-58.7)         5.7 (2.3-14.5)
    6 mo before index date                    6 (1.4)          29.6 (6.0-146.0)        11.8 (3.6-38.6)
 Suicidal ideation
    Ever before index date                    9 (2.1)          14.8 (5.3-41.3)         5.5 (2.5-12.5)
    12 mo before index date                   7 (1.6)          34.5 (7.2-165.4)        9.9 (3.5-27.9)
                                                               b
    6 mo before index date                    7 (1.6)                                  23.0 (6.0-88.5)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.
a
  For fewer than 5 cases, numbers not reported.
b
  Not calculated due to 0 cases among referents.




                                                                                                          64
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 103 of 180
Table 15. Prevalence of Hospitalizations for Mental Health Conditions Among TM Children
Ages 10 to 17 Years Relative to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                     Prevalence ratio (95% CI)
                                                     vs reference
 Categories of mental health disorders   No. (%)     males               vs reference females
 All diagnoses of interest
    Ever before index date               99 (15.1)   10.2 (7.8-13.3)     7.8 (6.1-10.0)
    12 mo before index date              79 (12.1)   24.3 (16.3-36.4)    16.6 (11.7-23.6)
    6 mo before index date               59 (9.0)    32.3 (19.2-54.4)    20.1 (13.0-31.1)
 Anxiety disorders
    Ever before index date               25 (3.8)    14.5 (7.9-26.7)     13.0 (7.2-23.4)
    12 mo before index date              18 (2.8)    25.3 (10.6-60.4)    35.5 (13.2-95.3)
    6 mo before index date               13 (2.0)    42.7 (12.2-149.3)   32.1 (10.5-98.0)
 Autism spectrum disorders
    Ever before index date               5 (0.8)     4.9 (1.7-14.4)      8.2 (2.5-26.9)
                                         a
    12 mo before index date                          9.8 (2.5-39.3)      39.4 (4.4-352.4)
                                         a                               b
    6 mo before index date                           3.3 (0.3-31.5)
 Attention deficit disorder
    Ever before index date               14 (2.1)    3.9 (2.1-7.3)       9.2 (4.5-19.0)
    12 mo before index date              10 (1.5)    24.6 (7.7-78.3)     16.4 (6.0-45.1)
                                         a           b
    6 mo before index date                                               9.9 (2.0-48.8)
 Bipolar spectrum disorder
    Ever before index date               18 (2.8)    9.8 (5.2-18.8)      8.9 (4.7-16.7)
    12 mo before index date              13 (2.0)    16.0 (6.7-38.5)     21.4 (8.2-56.0)
    6 mo before index date               8 (1.2)     15.8 (5.2-48.0)     19.7 (6.0-65.3)
 Conduct/disruptive disorders
    Ever before index date               10 (1.5)    5.8 (2.7-12.6)      6.6 (3.0-14.6)
    12 mo before index date              7 (1.1)     17.2 (5.1-58.7)     34.5 (7.2-165.8)
                                         a
    6 mo before index date                           39.4 (4.4-351.8)    39.4 (4.4-352.4)
 Depressive disorders
    Ever before index date               83 (12.7)   17.8 (12.5-25.2)    9.1 (6.8-12.1)
    12 mo before index date              63 (9.6)    47.7 (26.4-86.2)    19.4 (12.8-29.5)
    6 mo before index date               49 (7.5)    96.5 (38.6-241.3)   20.1 (12.4-32.6)



                                                                                                65
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 104 of 180
                                                              Prevalence ratio (95% CI)
                                                              vs reference
 Categories of mental health disorders        No. (%)         males                vs reference females
 Eating disorders
    Ever before index date                    6 (0.9)         29.5 (6.0-146.0)     3.9 (1.5-10.1)
                                                              b
    12 mo before index date                   5 (0.8)                              12.3 (3.3-45.8)
                                              a               b
    6 mo before index date                                                         9.9 (2.0-48.8)
 Psychoses
    Ever before index date                    10 (1.5)        20.0 (6.8-57.4)      12.3 (4.9-31.1)
    12 mo before index date                   8 (1.2)         19.7 (5.9-65.2)      13.2 (4.6-37.8)
                                              a
    6 mo before index date                                    19.7 (3.6-107.3)     9.9 (2.5-39.3)
 Personality disorder
    Ever before index date                    8 (1.2)         26.3 (7.0-98.8)      8.8 (3.4-22.6)
    12 mo before index date                   7 (1.1)         68.9 (8.5-559.2)     34.5 (7.2-165.8)
                                                              b
    6 mo before index date                    7 (1.1)                              69.0 (8.5-560.2)
 Self-inflicted injuries
    Ever before index date                    13 (2.0)        64.0 (14.5-282.9)    12.8 (5.6-29.1)
                                                              b
    12 mo before index date                   9 (1.4)                              44.4 (9.6-204.9)
                                                              b
    6 mo before index date                    7 (1.1)                              34.5 (7.2-165.8)
    12 mo before index date                   13 (2.0)        8.0 (3.9-16.6)       9.9 (4.6-21.2)
    6 mo before index date                    9 (1.4)         11.1 (4.3-28.6)      11.1 (4.3-28.7)
 Suicidal ideation
    Ever before index date                    29 (4.4)        19.0 (10.3-35.3)     11.0 (6.5-18.6)
    12 mo before index date                   24 (3.7)        26.3 (12.3-56.2)     15.8 (8.3-29.9)
    6 mo before index date                    17 (2.6)        23.9 (10.0-57.4)     21.0 (9.1-48.4)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.
a
  For fewer than 5 cases, numbers not reported.
b
  Not calculated due to 0 cases among referents.


        As shown in Tables 16 and 17, mental health diagnoses were also significantly more
common among adult TF and TM participants compared with the respective reference groups.
As in the younger age groups, anxiety and depressive disorders were among the most prevalent
diagnoses in both TF and TM participants. The PR estimates for all diagnostic categories among
adult participants were significantly higher than the null value, but the differences were


                                                                                                          66
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 105 of 180
somewhat less pronounced than those observed in the younger age group. The patterns of
results were generally similar when the prevalence calculations were limited to inpatient
encounters (Tables 18 and 19).

       Tables 20 and 21 present results of sensitivity analyses limited to transgender
participants who had no specific diagnostic codes and were identified exclusively via keywords.
For children and adolescents, the prevalence estimates in these analyses were similar to those
observed in the full study population. In contrast, for participants aged 18 and older,
prevalence estimates were higher in the subset identified via keywords only. For example, the
prevalence of depression ever before the index date among TM adults was 38% overall but 62%
when limited to those with keywords only. When we estimated the data for adolescents
separately for 10- to 13- and 14- to 17-year-olds, the results did not differ from those observed
among all adolescents considered together.

       Figure 7 depicts the correlation matrices across categories of mental health diagnoses
for TM and TF children and adolescents. The panel with shaded squares and the panel with pie
charts represent 2 different methods of graphically depicting the 2-way and higher-order
correlations across categories of mental health diagnoses. Although none of the ɸ coefficients
exceeded 0.5, we observed the strongest positive 2-way correlations between anxiety and
depression among TF participants and between self-inflicted injuries and suicidal ideation
among TM participants, as evidenced by the shaded squares with greatest intensity of color and
corresponding circles with greatest amount of fill. The diagnostic categories that appear to
cluster among TF children and adolescents were eating disorder, substance abuse, and self-
inflicted injuries. Another discernible 3-way cluster in this group included conduct/disruptive
disorder, attention deficit disorder, and bipolar disorders. We also observed the same 3-way
cluster among the TM children and adolescents.




                                                                                                  67
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 106 of 180
Table 16. Prevalence of Mental Health Conditions Among TF Adults (≥18 Years of Age) Relative
to Referent Groups in the Kaiser Permanente STRONG Cohort

                                                       Prevalence ratio (95% CI)
                                                       vs reference
 Categories of mental health disorders   No. (%)       males               vs reference females
 All diagnoses of interest
    Ever before index date               1181 (55.0)   2.1 (2.0-2.2)       1.6 (1.5-1.6)
    12 mo before index date              956 (44.5)    4.3 (4.0-4.6)       2.9 (2.8-3.1)
    6 mo before index date               906 (42.2)    6.0 (5.6-6.4)       4.0 (3.7-4.2)
 Anxiety disorders
    Ever before index date               710 (33.1)    2.6 (2.5-2.8)       1.6 (1.5-1.7)
    12 mo before index date              473 (22.0)    5.0 (4.5-5.5)       2.7 (2.5-3.0)
    6 mo before index date               415 (19.3)    6.7 (6.0-7.5)       3.6 (3.3-4.0)
 Autism spectrum disorders
    Ever before index date               20 (0.9)      1.8 (1.1-2.8)       6.8 (3.9-12.0)
    12 mo before index date              13 (0.6)      3.1 (1.7-5.8)       12.8 (5.6-29.2)
    6 mo before index date               13 (0.6)      4.6 (2.4-8.8)       18.3 (7.3-45.9)
 Attention deficit disorder
    Ever before index date               146 (6.8)     1.3 (1.1-1.5)       2.6 (2.2-3.1)
    12 mo before index date              79 (3.7)      2.3 (1.8-2.9)       3.3 (2.6-4.3)
    6 mo before index date               73 (3.4)      3.1 (2.4-4.0)       4.3 (3.3-5.6)
 Bipolar spectrum disorder
    Ever before index date               177 (8.2)     5.7 (4.8-6.9)       3.8 (3.2-4.4)
    12 mo before index date              126 (5.9)     8.5 (6.7-10.7)      5.7 (4.6-7.0)
    6 mo before index date               114 (5.3)     10.7 (8.3-13.9)     6.4 (5.1-8.1)
 Depressive disorders
    Ever before index date               934 (43.5)    3.2 (3.1-3.4)       1.8 (1.7-1.9)
    12 mo before index date              683 (31.8)    7.5 (6.8-8.2)       3.4 (3.2-3.7)
    6 mo before index date               631 (29.4)    10.2 (9.2-11.3)     4.7 (4.3-5.1)
 Eating disorders
    Ever before index date               89 (4.1)      11.7 (8.6-15.9)     2.0 (1.6-2.5)
    12 mo before index date              41 (1.9)      25.3 (14.2-45.0)    4.2 (2.9-6.1)
    6 mo before index date               34 (1.6)      47.9 (21.3-108.0)   5.3 (3.5-8.1)



                                                                                                  68
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 107 of 180
                                                               Prevalence ratio (95% CI)
                                                               vs reference
 Categories of mental health disorders        No. (%)          males                  vs reference females
 Psychoses
    Ever before index date                    64 (3.0)         3.6 (2.7-4.8)          4.2 (3.2-5.7)
    12 mo before index date                   28 (1.3)         4.5 (2.9-7.0)          7.9 (4.8-13.0)
    6 mo before index date                    22 (1.0)         4.9 (3.0-8.2)          11.4 (6.2-21.1)
 Personality disorder
    Ever before index date                    155 (7.2)        9.2 (7.4-11.3)         4.5 (3.7-5.4)
    12 mo before index date                   71 (3.3)         21.2 (14.1-32.0)       8.1 (5.9-11.0)
    6 mo before index date                    57 (2.7)         26.8 (16.3-44.1)       8.7 (6.1-12.3)
 Self-inflicted injuries
    Ever before index date                    70 (3.3)         5.5 (4.1-7.4)          3.4 (2.6-4.5)
    12 mo before index date                   30 (1.4)         12.9 (7.5-22.1)        9.3 (5.6-15.2)
    6 mo before index date                    24 (1.1)         19.7 (9.9-39.4)        15.8 (8.3-30.1)
 Schizophrenia spectrum disorders
    Ever before index date                    66 (3.1)         5.9 (4.3-7.9)          7.8 (5.6-10.7)
    12 mo before index date                   52 (2.4)         7.9 (5.5-11.3)         9.9 (6.7-14.5)
    6 mo before index date                    47 (2.2)         8.6 (5.8-12.7)         10.1 (6.7-15.1)
 Substance abuse disorders
    Ever before index date                    277 (12.9)       1.4 (1.2-1.6)          2.2 (1.9-2.4)
    12 mo before index date                   149 (6.9)        2.3 (1.9-2.7)          4.0 (3.3-4.8)
    6 mo before index date                    129 (6.0)        3.1 (2.6-3.8)          5.3 (4.3-6.5)
 Suicidal ideation
    Ever before index date                    82 (3.8)         9.8 (7.2-13.2)         6.6 (5.0-8.8)
    12 mo before index date                   48 (2.2)         13.2 (8.6-20.2)        9.5 (6.4-14.1)
    6 mo before index date                    37 (1.7)         19.2 (11.1-33.3)       12.6 (7.8-20.4)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.




                                                                                                             69
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 108 of 180
Table 17. Prevalence of Mental Health Conditions Among TM Adults (≥18 Years of Age)
Relative to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                       Prevalence ratio (95% CI)
                                                       vs reference
 Categories of mental health disorders   No. (%)       males              vs reference females
 All diagnoses of interest
    Ever before index date               1434 (49.7)   2.0 (1.9-2.0)      1.4 (1.3-1.4)
    12 mo before index date              1108 (38.4)   3.8 (3.6-4.0)      2.4 (2.2-2.5)
    6 mo before index date               1041 (36.0)   5.2 (4.8-5.5)      3.2 (3.0-3.4)
 Anxiety disorders
    Ever before index date               797 (27.6)    2.2 (2.1-2.4)      1.3 (1.2-1.4)
    12 mo before index date              507 (17.6)    4.2 (3.8-4.6)      2.1 (1.9-2.3)
    6 mo before index date               450 (15.6)    5.7 (5.1-6.3)      2.8 (2.6-3.1)
 Autism spectrum disorders
    Ever before index date               40 (1.4)      3.9 (2.7-5.6)      13.2 (8.2-21.2)
    12 mo before index date              22 (0.8)      4.0 (2.5-6.6)      15.6 (8.0-30.4)
    6 mo before index date               19 (0.7)      5.1 (2.9-8.8)      17.1 (8.2-35.9)
 Attention deficit disorder
    Ever before index date               199 (6.9)     2.1 (1.8-2.5)      3.3 (2.8-3.8)
    12 mo before index date              95 (3.3)      3.3 (2.6-4.2)      3.8 (3.0-4.9)
    6 mo before index date               83 (2.9)      4.2 (3.3-5.5)      4.5 (3.5-5.8)
 Bipolar spectrum disorder
    Ever before index date               138 (4.8)     3.7 (3.0-4.5)      2.4 (2.0-2.9)
    12 mo before index date              88 (3.1)      5.0 (3.9-6.5)      3.4 (2.7-4.3)
    6 mo before index date               80 (2.8)      6.0 (4.5-7.8)      3.7 (2.9-4.8)
 Depressive disorders
    Ever before index date               1106 (38.3)   2.8 (2.7-3.0)      1.5 (1.4-1.6)
    12 mo before index date              764 (26.5)    5.6 (5.2-6.1)      2.5 (2.4-2.7)
    6 mo before index date               702 (24.3)    7.6 (7.0-8.3)      3.4 (3.1-3.6)
 Eating disorders
    Ever before index date               55 (1.9)      5.7 (4.1-7.9)      1.3 (1.0-1.7)
    12 mo before index date              30 (1.0)      16.5 (9.2-29.6)    2.6 (1.7-3.8)
    6 mo before index date               27 (0.9)      29.7 (14.0-63.1)   3.5 (2.2-5.4)



                                                                                                 70
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 109 of 180
                                                              Prevalence ratio (95% CI)
                                                              vs reference
 Categories of mental health disorders        No. (%)         males                vs reference females
 Psychoses
    Ever before index date                    106 (3.7)       4.5 (3.6-5.7)        4.9 (3.9-6.1)
    12 mo before index date                   56 (2.0)        6.8 (4.9-9.6)        10.5 (7.2-15.2)
    6 mo before index date                    52 (1.8)        10.7 (7.3-15.8)      19.1 (12.0-30.3)
 Personality disorder
    Ever before index date                    141 (4.9)       5.6 (4.6-6.9)        2.7 (2.3-3.3)
    12 mo before index date                   47 (1.6)        11.9 (7.8-18.2)      4.1 (2.9-5.8)
    6 mo before index date                    39 (1.4)        17.5 (10.4-29.5)     5.3 (3.6-7.8)
 Self-inflicted injuries
    Ever before index date                    44 (1.5)        3.2 (2.3-4.5)        1.9 (1.4-2.6)
    12 mo before index date                   14 (0.5)        6.0 (3.1-11.7)       4.5 (2.4-8.4)
    6 mo before index date                    12 (0.4)        9.1 (4.2-20.0)       6.3 (3.0-12.9)
 Schizophrenia spectrum disorders
    Ever before index date                    64 (2.2)        5.5 (4.0-7.4)        6.3 (4.6-8.6)
    12 mo before index date                   43 (1.5)        6.2 (4.2-9.0)        8.5 (5.7-12.8)
    6 mo before index date                    40 (1.4)        7.2 (4.8-10.8)       9.4 (6.1-14.5)
 Substance abuse disorders
    Ever before index date                    357 (12.4)      1.4 (1.3-1.6)        2.3 (2.1-2.6)
    12 mo before index date                   225 (7.8)       2.7 (2.4-3.1)        4.7 (4.0-5.5)
    6 mo before index date                    200 (6.9)       3.7 (3.2-4.3)        6.4 (5.4-7.6)
 Suicidal ideation
    Ever before index date                    67 (2.3)        6.9 (5.1-9.4)        5.4 (4.0-7.3)
    12 mo before index date                   49 (1.7)        11.8 (7.8-17.9)      10.6 (7.1-15.7)
    6 mo before index date                    42 (1.5)        16.0 (9.8-26.0)      16.6 (10.2-27.3)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.




                                                                                                          71
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 110 of 180
Table 18. Prevalence of Hospitalization for Mental Health Conditions Among TF Adults (≥18
Years of Age) Relative to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                     Prevalence ratio (95% CI)
 Categories of mental health disorders   No. (%)     vs Reference       vs Reference
 All diagnoses of interest
    Ever before index date               252 (8.7)   2.4 (2.1-2.7)      1.7 (1.5-1.9)
    12 mo before index date              103 (3.6)   3.9 (3.1-4.8)      2.9 (2.3-3.6)
    6 mo before index date               88 (3.1)    5.4 (4.2-7.0)      4.2 (3.2-5.3)
 Anxiety disorders
    Ever before index date               69 (2.4)    3.1 (2.3-4.0)      1.6 (1.2-2.1)
    12 mo before index date              28 (1.0)    5.0 (3.2-7.9)      2.6 (1.7-3.9)
    6 mo before index date               23 (0.8)    8.1 (4.7-14.1)     3.4 (2.1-5.4)
 Autism spectrum disorders
                                         a
    Ever before index date                           2.7 (0.8-9.7)      5.9 (1.4-24.9)
                                         a                              b
    12 mo before index date                          9.9 (0.6-158.2)
    6 mo before index date               0           NCc                NCc
 Attention deficit disorder
    Ever before index date               18 (0.6)    3.7 (2.2-6.4)      4.2 (2.4-7.2)
    12 mo before index date              5 (0.2)     4.1 (1.5-11.7)     6.2 (2.0-18.9)
    6 mo before index date               5 (0.2)     7.1 (2.2-22.3)     7.1 (2.3-22.3)
 Bipolar spectrum disorder
    Ever before index date               45 (1.6)    3.7 (2.6-5.2)      2.7 (1.9-3.7)
    12 mo before index date              18 (0.6)    4.3 (2.5-7.6)      5.8 (3.2-10.3)
    6 mo before index date               17 (0.6)    6.2 (3.4-11.4)     10.5 (5.3-20.8)
 Depressive disorders
    Ever before index date               174 (6.0)   3.8 (3.2-4.5)      1.8 (1.5-2.1)
    12 mo before index date              66 (2.3)    5.4 (4.0-7.3)      3.1 (2.3-4.1)
    6 mo before index date               52 (1.8)    7.1 (4.5-10.0)     4.1 (3.0-5.6)
 Eating disorders
    Ever before index date               10 (0.4)    9.9 (4.1-23.8)     2.4 (1.2-4.8)
    12 mo before index date              5 (0.2)     24.7 (4.8-127.5)   4.5 (1.6-13.0)
                                         a
    6 mo before index date                           19.8 (3.6-108.0)   6.6 (1.9-23.4)




                                                                                            72
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 111 of 180
                                                               Prevalence ratio (95% CI)
 Categories of mental health disorders         No. (%)         vs Reference           vs Reference
 Psychoses
    Ever before index date                     35 (1.2)        4.0 (2.7-5.9)          5.3 (3.5-8.0)
    12 mo before index date                    17 (0.6)        6.5 (3.5-11.9)         15.3 (7.2-32.6)
    6 mo before index date                     15 (0.5)        11.4 (5.4-24.0)        21.2 (8.7-52.0)
 Personality disorder
    Ever before index date                     29 (1.0)        6.4 (4.0-10.2)         3.9 (2.5-6.0)
    Ever before index date                     12 (0.4)        17.0 (6.7-43.1)        11.9 (5.1-27.5)
    6 mo before index date                     10 (0.4)        16.5 (6.0-45.4)        14.2 (5.4-37.1)
 Self-inflicted injuries
    Ever before index date                     16 (0.6)        4.4 (2.4-7.9)          2.0 (1.2-3.4)
                                               a
    12 mo before index date                                    1.4 (0.2-11.5)         0.9 (0.1-7.0)
                                               a
    6 mo before index date                                     2.5 (0.3-22.1)         2.0 (0.2-17.0)
 Schizophrenia spectrum disorders
    Ever before index date                     26 (0.9)        4.7 (2.9-7.5)          5.1 (3.2-8.1)
    12 mo before index date                    10 (0.4)        4.3 (2.1-9.0)          4.7 (2.2-10.0)
    6 mo before index date                     9 (0.3)         5.6 (2.5-12.6)         7.4 (3.1-17.6)
 Substance abuse disorders
    Ever before index date                     96 (3.3)        1.7 (1.4-2.1)          2.4 (1.9-3.0)
    12 mo before index date                    50 (1.7)        3.7 (2.7-5.1)          5.6 (4.0-7.9)
    6 mo before index date                     39 (1.4)        4.7 (3.2-6.8)          8.1 (5.3-12.3)
 Suicidal ideation
    12 mo before index date                    20 (0.7)        14.1 (7.2-28.0)        12.4 (6.4-23.9)
    6 mo before index date                     17 (0.6)        16.8 (7.7-36.7)        21.0 (9.1-48.7)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.
a
  For fewer than 5 cases, numbers not reported.
b
  Not calculated due to 0 cases among referents.
c
  Not calculated due to 0 cases among transgender participants.




                                                                                                        73
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 112 of 180
Table 19. Prevalence of Hospitalization for Mental Health Conditions Among TM Adults (≥18
Years of Age) Relative to Referent Groups in the STRONG Kaiser Permanente Cohort

                                                      Prevalence ratio (95% CI)
                                                      vs reference
 Categories of mental health disorders   No. (%)      males              vs reference females
 All diagnoses of interest
    Ever before index date               230 (10.7)   3.5 (3.0-4.0)      2.4 (2.1-2.7)
    12 mo before index date              104 (4.8)    6.9 (5.4-8.8)      4.9 (3.9-6.2)
    6 mo before index date               73 (3.4)     7.3 (5.4-9.8)      6.0 (4.5-8.0)
 Anxiety disorders
    Ever before index date               59 (2.8)     4.9 (3.6-6.6)      2.2 (1.7-3.0)
    6 mo before index date               12 (0.6)     5.2 (2.6-10.3)     2.9 (1.5-5.5)
 Autism spectrum disorders
                                         a
    Ever before index date                            3.3 (0.7-16.3)     2.8 (0.6-13.6)
    12 mo before index date              0            NCb                NCb
    6 mo before index date               0            NCb                NCb
 Attention deficit disorder
    Ever before index date               13 (0.6)     2.0 (1.1-3.7)      6.4 (3.2-12.9)
    12 mo before index date              6 (0.3)      5.9 (2.2-16.3)     11.9 (3.6-38.8)
    6 mo before index date               5 (0.2)      8.2 (2.5-26.9)     24.7 (4.8-127.2)
 Bipolar spectrum disorder
    Ever before index date               61 (2.8)     5.7 (4.2-7.8)      4.4 (3.3-6.0)
    12 mo before index date              30 (1.4)     9.3 (5.6-15.2)     9.9 (6.0-16.4)
    6 mo before index date               24 (1.1)     11.8 (6.6-21.4)    13.9 (7.5-25.9)
 Depressive disorders
    Ever before index date               170 (7.9)    5.6 (4.7-6.8)      2.8 (2.4-3.3)
    12 mo before index date              68 (3.2)     10.7 (7.6-15.0)    5.69 (4.24-7.64)
    6 mo before index date               47 (2.2)     10.8 (7.2-16.3)    6.9 (4.8-10.0)
 Eating disorders
    Ever before index date               18 (0.8)     22.2 (9.7-51.0)    4.2 (2.4-7.3)
                                                      c
    12 mo before index date              7 (0.3)                         7.7 (2.9-20.6)
                                         a            c
    6 mo before index date                                               7.9 (2.1-29.4)



                                                                                                74
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 113 of 180
                                                              Prevalence ratio (95% CI)
                                                              vs reference
 Categories of mental health disorders        No. (%)         males                vs reference females
 Psychoses
    Ever before index date                    22 (1.0)        2.9 (1.8-4.6)        4.7 (2.9-7.8)
    12 mo before index date                   7 (0.3)         4.3 (1.8-10.5)       7.7 (2.9-20.6)
                                              a
    6 mo before index date                                    2.3 (0.7-8.0)        5.9 (1.4-24.8)
 Personality disorder
    Ever before index date                    46 (2.1)        16.8 (10.5-27.0)     6.6 (4.6-9.5)
    12 mo before index date                   17 (0.8)        41.9 (14.1-124.5)    14.0 (6.7-29.3)
    6 mo before index date                    11 (0.5)        27.1 (8.7-85.1)      27.2 (8.7-85.2)
 Self-inflicted injuries
    Ever before index date                    20 (0.9)        6.8 (3.9-12.0)       3.2 (2.0-5.4)
    12 mo before index date                   6 (0.3)         19.7 (4.9-78.8)      9.9 (3.2-30.6)
    6 mo before index dates                   6 (0.3)         29.6 (6.0-146.5)     29.6 (6.0-146.7)
 Schizophrenia spectrum disorder
    Ever before index date                    16 (0.7)        3.1 (1.8-5.4)        3.8 (2.1-6.7)
    12 mo before index date                   11 (0.5)        6.4 (3.0-13.6)       5.7 (2.7-12.0)
    6 mo before index date                    8 (0.4)         5.6 (2.4-13.4)       7.2 (2.9-17.8)
 Substance abuse disorders
    Ever before index date                    82 (3.8)        2.2 (1.8-2.8)        2.5 (2.0-3.2)
    12 mo before index date                   37 (1.7)        4.6 (3.1-6.7)        6.3 (4.2-9.5)
    6 mo before index date                    26 (1.2)        4.8 (3.0-7.7)        8.6 (5.1-14.4)
 Suicidal ideation
    Ever before index date                    38 (1.8)        9.6 (6.2-15.0)       7.7 (5.0-11.7)
    12 mo before index date                   24 (1.1)        16.9 (8.8-32.6)      12.5 (6.8-22.7)
    6 mo before index date                    16 (0.7)        26.3 (10.3-67.2)     13.2 (6.2-27.8)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TM, transmasculine.
a
  For fewer than 5 cases, numbers were not reported.
b
  Not calculated due to 0 cases among transgender participants.
c
  Not calculated due to 0 cases among referents.




                                                                                                          75
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 114 of 180
Table 20. Prevalence of Most Common Mental Health Conditions Among TF With Keyword
Evidence Only Relative to Referent Groups in the STRONG Kaiser Permanente Cohort by Age
Group

                                                 Prevalence ratio (95% CI)
 Age group and categories of                                             vs reference
 mental health disorders        No. (%)          vs reference males      females
    3-9 y old
 All diagnoses of interest
    Ever before index date      35 (31.0)        3.0 (2.1-4.1)           5.5 (3.8-7.9) 6
    months before index date    34 (30.1)        6.0 (4.1-8.7)           14.7 (9.0-24.0)
 Anxiety disorders
    Ever before index date      14 (12.4)        4.8 (2.6-8.8)           6.6 (3.5-12.6)
    6 mo before index date      11 (9.7)         20.1 (6.6-67.5)         23.9 (7.5-89.5)
 Attention deficit disorder
    Ever before index date      19 (16.8)        3.9 (2.4-6.3)           7.0 (4.0-12.1)
    6 mo before index date      18 (15.9)        5.6 (3.3-9.7)           13.7 (6.9-27.3)
    10-13 y old
 All diagnoses of interest
    Ever before index date      62 (75.6)        4.2 (3.4-5.0)           6.2 (4.9-7.7)
    6 mo before index date      53 (64.6)        8.5 (6.4-11.3)          14.5 (10.1-20.7)
 Anxiety disorders
    Ever before index date      25 (30.5)        6.1 (3.9-9.4)           5.9 (3.8-9.1)
    6 mo before index date      16 (19.5)        14.4 (6.9-30.1)         19.7 (8.7-44.6)
 Depressive disorders
    Ever before index date      34 (41.5)        8.9 (5.9-13.3)          9.3 (6.2-14.0)
    6 mo before index date      29 (35.4)        28.8 (14.6-56.9)        20.4 (11.2-37.0)
    14-17 y old
 All diagnoses of interest
    Ever before index date      104 (78.8)       3.4 (3.0-3.9)           3.9 (3.4-4.5)
    6 mo before index date      93 (70.5)        10.7 (8.5-13.6)         12.7 (9.9-16.3)
 Anxiety disorders
    Ever before index date      52 (39.4)        5.3 (4.0-7.0)           4.1 (3.1-5.4)
    6 mo before index date      38 (28.8)        24.9 (14.1-44.0)        15.0 (9.3-24.0)


                                                                                            76
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 115 of 180
                                                            Prevalence ratio (95% CI)
 Age group and categories of                                                          vs reference
 mental health disorders                No. (%)             vs reference males        females
 Depressive disorders
    Ever before index date              76 (57.6)           6.5 (5.2-8.2)             5.3 (4.3-6.6)
    6 mo before index date              67 (50.8)           34.6 (21.5-55.7)          15.3 (10.9-21.5)
    ≥18 y old
 All diagnoses of interest
    Ever before index date              446 (69.4)          2.6 (2.5-2.8)             1.9 (1.8-2.0)
    6 mo before index date              369 (57.4)          7.9 (7.1-8.8)             4.7 (4.3-5.1)
 Anxiety disorders
    Ever before index date              296 (46.0)          3.6 (3.2-4.0)             2.1 (1.9-2.3)
    6 mo before index date              191 (29.7)          10.0 (8.3-12.0)           5.4 (4.6-6.3)
 Depressive disorders
    Ever before index date              248 (47.4)          16.1 (13.5-19.3)          7.3 (6.4-8.4)
    6 mo before index date              234 (36.4)          10.6 (9.0-12.6)           4.6 (4.0-5.3)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.




                                                                                                         77
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 116 of 180
Table 21. Prevalence of Most Common Mental Health Conditions Among TF With Keyword
Evidence Only Relative to Referent Groups in the STRONG Kaiser Permanente Cohort by Age
Group

                                                 Prevalence ratio (95% CI)
 Age group and categories of                                             vs reference
 mental health disorders        No. (%)          vs reference males      females
 All diagnoses of interest
    3-9 y old
    Ever before index date      25 (41.0)        4.1 (2.8-6.0)           5.9 (3.8-8.9)
    6 mo before index date      23 (37.7)        7.3 (4.6-11.8)          12.6 (7.2-22.0)
 Anxiety disorders
    Ever before index date      11 (18.0)        7.3 (3.5-15.1)          5.7 (2.8-11.4)
    6 mo before index date      7 (11.5)         11.6 (4.0-33.3)         9.8 (3.6-27.1)
 Attention deficit disorder
    Ever before index date      12 (19.7)        3.6 (2.0-6.6)           9.1 (4.3-19.0)
    6 mo before index date      12 (19.7)        5.2 (2.7-9.9)           16.9 (6.9-41.2)
    10-13 y old
 All diagnoses of interest
    Ever before index date      46 (70.8)        3.3 (2.6-4.1)           5.2 (4.1-6.7)
    6 mo before index date      43 (66.2)        8.5 (6.2-11.7)          12.9 (8.8-18.7)
 Anxiety disorders
    Ever before index date      16 (24.6)        3.7 (2.2-6.2)           3.2 (1.9-5.2)
    6 mo before index date      13 (20.0)        11.7 (5.5-25.0)         10.7 (5.1-22.5)
 Depressive disorders
    Ever before index date      34 (52.3)        10.2 (6.8-15.3)         9.6 (6.5-14.3)
    6 mo before index date      29 (44.6)        28.7 (14.7-56.2)        23.9 (12.8-44.5)
    14-17 y old
 All diagnoses of interest
    Ever before index date      177 (79.0)       3.1 (2.8-3.5)           3.7 (3.3-4.1)
    6 mo before index date      162 (72.3)       8.4 (7.2-9.8)           9.2 (7.8-10.9)




                                                                                            78
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 117 of 180
                                                            Prevalence ratio (95% CI)
 Age group and categories of                                                          vs reference
 mental health disorders                No. (%)             vs reference males        females
 Anxiety disorders
    Ever before index date              91 (40.6)           4.8 (3.9-5.9)             3.9 (3.2-4.8)
    6 mo before index date              60 (26.8)           15.1 (10.4-22.1)          8.0 (5.8-10.9)
    Ever before index date              157 (70.1)          7.4 (6.3-8.6)             6.1 (5.3-7.0)
    6 mo before index date              133 (59.4)          25.2 (18.8-33.6)          16.4 (12.9-20.8)
    ≥18 y old
 All diagnoses of interest
    Ever before index date              404 (77.3)          3.0 (2.8-3.2)             2.3 (2.1-2.4)
    6 mo before index date              353 (67.5)          10.4 (9.2-11.7)           6.5 (5.9-7.2)
 Anxiety disorders
    Ever before index date              258 (49.3)          4.1 (3.7-4.6)             2.4 (2.2-2.7)
    6 mo before index date              161 (30.8)          11.7 (9.5-14.4)           6.3 (5.3-7.5)
 Depressive disorders
    Ever before index date              325 (62.1)          4.7 (4.3-5.2)             2.6 (2.4-2.9)
    6 mo before index date              248 (47.4)          16.1 (13.5-19.3)          7.3 (6.4-8.4)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine.




                                                                                                         79
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 118 of 180
Figure 7. Corrgram Correlation Matrices of Mental Health Conditions Before the Index Date in TF (A) and TM (B) Children, Aged 3-17
Years




Abbreviations: ADD, attention deficit disorder; Anx, anxiety disorders; Aut, autism spectrum disorders; BipDis, bipolar spectrum disorder; CDD,
conduct/disruptive disorders; Dep, depressive disorders; EatDis, eating disorders; PerDis, personality disorder; Sch, schizophrenia spectrum disorders; SelfIn,
self-inflicted injuries; SubAb, substance abuse disorders; SuicId, suicidal ideation; TF, transfeminine; TM, transmasculine.




                                                                                                                                                              80
                         Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 119 of 180
       The corresponding analyses for both TM and TF adults demonstrated the strongest 2-
way correlations between schizophrenia spectrum disorders and psychoses, and between
anxiety and depression. There were few discernable higher-order clusters among adults in
either group (Figure 8).

Gender Affirmation and Self-Reported Outcomes in the Kaiser Permanente Survey
       Of the 2136 persons invited to participate, 697 participants (33%) filled out the survey;
of those, 347 were TM and 350 were TF. As shown in Table 22, TM participants were younger
on average than their TF counterparts (73% vs 35% under the age of 40 years). As expected,
only a small minority of TF participants (7%) presented as men, and the proportion of TM
participants who presented as women was only 1.4%. More than half of survey respondents
(55% of TM and 57% of TF) were non-Hispanic Whites. The proportion of Hispanics (19%) was
similar to that reported in the overall STRONG cohort, but the proportions of Blacks and Asians
were lower (3% and 7%, respectively) than in the EMR-based study (see the “Kaiser
Permanente EMR Cohort Description” section).

       Figures 9 and 10 present self-reported current and desired gender identity and
expression scores among survey respondents. Among TF participants, 67% and 43% reported
being close to the highest possible (80%-100%) score on female identity and feminine
expression scales, respectively. The equivalent proportions for male identity and masculine
expression scales among TM participants were 69% and 49%, respectively. A desire to be in the
80% to 100% range on the corresponding gender identity and expression scales was expressed
by 91% and 74%, respectively, of TF and by 79% and 61%, respectively, of TM participants.

       Only 45% of TF participants felt that others would place them in the highest category of
female gender identity and 35% felt that others would place them in the highest category of the
feminine expression scale. Among TM participants, the corresponding proportions for male
gender identity and masculine expression were 69% and 48%, respectively (Figure 11). A wish
to be seen in the highest category of the corresponding gender identity and expression scales
was reported by 91% and 74%, respectively, of TF, and by 84% and 62%, respectively, of TM
participants (Figure 12).

                                                                                                81
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 120 of 180
Figure 8. Corrgram Correlation Matrices of Mental Health Conditions Before the Index Date in TF (A) and TM (B) Adults (Aged ≥
18)




Abbreviations: ADD, attention deficit disorder; Anx, anxiety disorders; Aut, autism spectrum disorders; BipDis, bipolar spectrum disorder; CDD,
conduct/disruptive disorders; Dem, dementia; Dep, depressive disorders; EatDis, eating disorders; OthPsy, other psychoses; PerDis, personality disorder; Sch,
schizophrenia spectrum disorders; SelfIn, self-inflicted injuries; SubAb, substance abuse disorders; SuicId, suicidal ideation; TF, transfeminine; TM,
transmasculine.



                                                                                                                                                            82
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 121 of 180
Table 22. Characteristics of the STRONG Survey Participants

                                            All participants,
 Participant characteristics                n (Col %)           TM, n (Col %)   TF, n (Col %)
 Age, y
    Under 30                                217 (31.1)          148 (42.7)      69 (19.7)
    30-39                                   157 (22.5)          105 (30.3)      52 (14.9)
    40-54                                   168 (24.1)          69 (19.9)       99 (28.3)
    55 or older                             155 (22.2)          25 (7.2)        130 (37.1)
 Presents as a woman
    Never                                   330 (47.3)          310 (89.3)      20 (5.7)
    Part time                               67 (9.6)            22 (6.3)        45 (12.9)
    Full time                               273 (39.2)          5 (1.4)         268 (76.6)
    Declined to respond                     27 (3.9)            10 (2.9)        17 (4.9)
 Presents as a man
    Never                                   277 (39.7)          16 (4.6)        261 (74.6)
    Part time                               63 (9.0)            22 (6.3)        41 (11.7)
    Full time                               323 (46.3)          297 (85.6)      26 (7.4)
    Declined to respond                     34 (4.9)            12 (3.5)        22 (6.3)
 Race/ethnicity
    Non-Hispanic White                      392 (56.2)          191 (55.0)      201 (57.4)
    Non-Hispanic Black                      20 (2.9)            13 (3.7)        7 (2.0)
    Asian/Pacific islander                  48 (6.9)            25 (7.2)        23 (6.6)
    Hispanic                                133 (19.1)          68 (19.6)       65 (18.6)
    Mixed race/ethnicity                    18 (2.6)            8 (2.3)         10 (2.9)
    Other race/ethnicity                    49 (7.0)            27 (7.8)        22 (6.3)
    Declined to respond                     37 (5.3)            15 (4.3)        22 (6.3)
 Education
    High school graduate or less            74 (10.6)           45 (13.0)       29 (8.3)
    At least some college                   242 (34.7)          100 (28.8)      142 (40.6)
    College graduate                        197 (28.3)          104 (30.0)      93 (26.6)
    Graduate/professional school            150 (21.5)          81 (23.3)       69 (19.7)
    Declined to respond                     34 (4.9)            17 (4.9)        17 (4.9)



                                                                                                83
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 122 of 180
                                                    All participants,
 Participant characteristics                        n (Col %)           TM, n (Col %)       TF, n (Col %)
 Income
    Less than $25 000                               127 (18.2)          69 (19.9)           58 (16.6)
    $25 000-$49 999                                 138 (19.8)          65 (18.7)           73 (20.9)
    $50 000-$74 999                                 120 (17.2)          65 (18.7)           55 (15.7)
    $75 000-$99 999                                 93 (13.3)           47 (13.5)           46 (13.1)
    Greater than $100 000                           128 (18.4)          51 (14.7)           77 (22.0)
    Prefer not to answer or unsure                  91 (13.1)           50 (14.4)           41 (11.7)
 Total, n (row %)                                   697 (100.0)         347 (50.0)          9 (50.0)
Abbreviations: Col, column; STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM,
transmasculine.




                                                                                                            84
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 123 of 180
Figure 9. Extent to Which Survey Respondents Perceived Themselves as Male/Female (A, B) and Masculine/Feminine (C, D) Among
TF (A, C) and TM (B, C) Individuals (Assuming Gender and Gender Expression Represent a Continuum, Where Would You Place
Yourself on the Scales Below at the Present Time?)




Abbreviations: TF, transfeminine; TM, transmasculine.

                                                                                                                         85
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 124 of 180
Figure 10. Extent to Which Survey Respondents Want to Be Male/Female (A, B) and Masculine/Feminine (C, D) Among TF (A, C)
and TM (B, D) Individuals (Assuming Gender and Gender Expression Represent a Continuum, Where Do You Want to Be on the
Scales Below?)




Abbreviations: TF, transfeminine; TM, transmasculine.

                                                                                                                            86
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 125 of 180
Figure 11. Extent to Which Survey Respondents Believe Others Perceive Them as a Male/Female (A, B) and Masculine/Feminine
(C, D) Among TF (A, C) and TM (B, D) Individuals (Assuming Gender and Gender Expression Represent a Continuum, How Do You
Think Others Perceive You on the Scales Below?)




Abbreviations: TF, transfeminine; TM, transmasculine.

                                                                                                                        87
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 126 of 180
Figure 12. Extent to Which Survey Respondents Want to Be Perceived by Others as Male/Female (A, B) and Masculine/Feminine (C,
D) Among TF (A, C) and TM (B, D) Individuals (Assuming Gender and Gender Expression Represent a Continuum, How Do You
Want Others to Perceive You on the Scales Below?)




Abbreviations: TF, transfeminine; TM, transmasculine.

                                                                                                                           88
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 127 of 180
       Tables 23 to 25 compare the distributions of the 3 dependent variables of interest: total
TCS score, body image score, and passing status by TM/TF status and by gender affirmation
category. As the extent of gender affirmation increased, the TCS score also increased with no
appreciable difference between TM and TF participants (Table 23). The results were generally
similar in the analyses that examined distributions of the body image score (Table 24). The
distributions of the passing status score also showed a pattern of a more favorable (decreasing)
difference between the desired and the current scores, with increasing extent of gender
affirmation; however, unlike the previous 2 analyses, there was clear evidence that TM
individuals reported a higher passing status than their TF counterparts (Table 25).

       We confirmed the above results in the multivariable logistic regression analyses. There
was no evidence of significant interaction between gender identity and gender affirmation
therapy, and for this reason all models include TM/TF status as a covariate. The association of
gender affirmation with the outcomes of interest was evident in all models, but particularly
pronounced for the TCS score. The proportion of participants with a low (below median) TCS
score was nearly 4 times higher in the “no reported treatment” category compared with the
“definitive bottom” surgery group (Table 26). The overall patterns were similar, but the PR
estimates were of lower magnitude in the regression models that used body image and passing
status as the outcomes of interest (Tables 27 and 28). Unlike the results for TCS and body
image, the analyses for “passing status” demonstrated a pronounced difference by gender
identity. Using TF participants as reference, the TM individuals were half as likely (PR, 0.55; 95%
CI, 0.45-0.67) to report that their desired score was higher than their current score. The results
of the weighted models correcting for nonresponse were generally similar to those of the main
analyses (Tables 26-28). We observed the most attenuated result in the analyses of the
association between passing status and gender affirmation. On the other hand, the difference
in the passing status between TM and TF respondents remained unchanged.




                                                                                                89
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 128 of 180
Table 23. The Distributions of the Total Transgender Congruence Score,a by TM/TF Status and
by Gender Affirmation Category

                                     TM                                      TF
 Gender affirmation category         Median        IQR          P valueb     Median   IQR     P valueb
 No treatment                        30            22-36        <.0001       30       25-46   <.0001
 Hormones only                       43            32-51                     44       33-50
 Top surgery                         50            44-56                     44       39-52
 Partial bottom surgery              49            42-55                     51       37-57
 Definitive bottom surgery           55            49-59                     53       48-57
Abbreviations: IQR, interquartile range; TF, transfeminine; TM, transmasculine.
a
  Composite of 12 questions; possible range, 12 to 60.
b
  Kruskal-Wallis test.


Table 24. The Distributions of the Total Body Image Score,a by TM/TF Status and by Gender
Affirmation Category

                                     TM                                      TF
 Gender affirmation category         Median        IQR          P valueb     Median   IQR     P valueb
 No treatment                        9             9-16         <.0001       11       6-18    .0065
 Hormones only                       12            7-18                      15       10-20
 Top surgery                         17            12-22                     12       9-19
 Partial bottom surgery              15            9-18                      14       10-22
 Definitive bottom surgery           16            13-21                     18       13-22
Abbreviations: IQR, interquartile range; TF, transfeminine; TM, transmasculine.
a
  Composite of 5 questions; possible range, 5 to 25.
b
  Kruskal-Wallis test.




                                                                                                       90
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 129 of 180
Table 25. The Distributions of the “Passing” Score,a by TM/TF Status and by Gender
Affirmation Category

                                     TM                                     TF
                                                                       b
 Gender affirmation category         Median       IQR          P value      Median       IQR          P valueb
 No treatment                        25           0-51         .0021        31           1-65         .0007
 Hormones only                       5            0-30                      20           1-51
 Top surgery                         0            0-10                      15           2-30
 Partial bottom surgery              0            0-2                       15           5-29
 Definitive bottom surgery           0            0-0                       6            0-20
Abbreviations: IQR, interquartile range; TF, transfeminine; TM, transmasculine.
a
 Difference between the extent to which the participants wanted others to perceive them as a person of desired
gender (desired score; range, 0% to 100%) and the extent to which they thought others perceived them (current
score; range, 0% to 100%)
b
  Kruskal-Wallis test.




                                                                                                                 91
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 130 of 180
Table 26. Associations of Gender Affirmation, Gender Identity, and Procedures Aimed at Changing Secondary Sex Characteristics
With Low (Below Median) Total Transgender Congruence Scorea

                                                  Unweighted analysis                   Weighted analysis
 Variables of                     No. with
 interest        Total no.        outcome (%)     PRb          95% CI                   PRb           95% CI
 Gender
 affirmation
 category
    Definitive   149              33 (22)         1.00                                  (Reference)
    bottom
    surgery
    Partial      77               34 (44)         2.11         1.38          3.23       2.15          1.37          3.37
    bottom
    surgery
    Top          161              71 (44)         2.06         1.39          3.05       2.10          1.39          3.17
    surgery
    Hormones     210              138 (66)        3.03         2.14          4.30       3.22          2.25          4.61
    only
    No           27               23 (85)         3.96         2.72          5.75       3.66          2.28          5.88
    treatment
 Gender
 identity
    TF           306              150 (49)        1.00         (Reference)              1.00          (Reference)
    TM           318              149 (47)        0.95         0.77          1.15       1.03          0.83          1.28




                                                                                                                            92
                       Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 131 of 180
                                                               Unweighted analysis                 Weighted analysis
 Variables of                             No. with
 interest           Total no.             outcome (%)          PRb            95% CI               PRb          95% CI
 Changes in         75                    30 (40)              1.00           (Reference)          1.00         (Reference)
 secondary sex
 characteristic
 s
    No              549                   269 (49)             0.88           0.68          1.12   0.87         0.68          1.13
Abbreviations: PR, prevalence ratio; TF, transfeminine; TM, transmasculine.
a
  Model based on 624 observations.
b
  Adjusted for age, race, site, and all variables in the table.




                                                                                                                                     93
                          Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 132 of 180
Table 27. Associations of Gender Affirmation, Gender Identity, and Procedures Aimed at Changing Secondary Sex Characteristics
With Low (Below Median) Body Image Scorea

                                                                              Unweighted analysis          Weighted analysis
                                                            No. with
 Variables of interest                      Total No.       outcome (%)       PRb        95% CI            PRb        95% CI
 Gender affirmation category
    Definitive bottom surgery               150             49 (33)           1.00       (Reference)                  (Reference)
    Partial bottom surgery                  79              39 (49)           1.42       1.01       2.01   1.58       1.1       2.26
    Top surgery                             167             67 (40)           1.19       0.85       1.65   1.25       0.88      1.78
    Hormones only                           220             116 (53)          1.59       1.20       2.10   1.72       1.27      2.32
    No treatment                            28              17 (61)           1.81       1.22       2.68   1.75       1.08      2.83
 Gender identity                                                                                           1.58       1.1       2.26
    TF                                      319             139 (44)          1.00       (Reference)                  (Reference)
    TM                                      325             149 (46)          1.09       0.88       1.36   1.11       0.88      1.39
 Changes in secondary sex
 characteristics
    Yes                                     77              24 (31)           1.00       (Reference)                  (Reference)
    No                                      567             264 (47)          1.24       0.87       1.76   1.29       0.87      1.90
Abbreviations: PR, prevalence ratio; TF, transfeminine; TM, transmasculine.
a
  Model based on 644 observations.
b
  Adjusted for age, race, site, and all variables in the table.




                                                                                                                                       94
                         Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 133 of 180
Table 28. Associations of Gender Affirmation, Gender Identity, and Procedures Aimed at Changing Secondary Sex Characteristics
With a Difference Between the Desired and the Current Passing Statusa

                                                                              Unweighted analysis          Weighted analysis
                                                            No. with
 Variables of interest                      Total No.       outcome (%)       PRb        95% CI            PRb        95% CI
 Gender affirmation category
    Definitive bottom surgery               148             77 (52%)          1.00       (Reference)                  (Reference)
    Partial bottom surgery                  75              31 (41%)          1.19       0.91       1.56   1.14       0.86      1.51
    Top surgery                             161             67 (42%)          1.23       0.98       1.55   1.17       0.91      1.51
    Hormones only                           216             148 (69%)         1.44       1.16       1.79   1.39       1.12      1.73
    No treatment                            21              16 (76%)          1.63       1.15       2.32   1.33       0.77      2.28
 Gender identity                                                                                           1.14       0.86      1.51
    TF                                      309             222 (72%)         1.00       (Reference)                  (Reference)
    TM                                      312             117 (38%)         0.55       0.45       0.67   0.59       0.48      0.74
 Changes in secondary sex
 characteristics
    Yes                                     74              49 (66%)          1.00       (Reference)                  (Reference)
    No                                      547             290 (53%)         0.98       0.77       1.24   0.95       0.75      1.19
Abbreviations: PR, prevalence ratio; TF, transfeminine; TM, transmasculine.
a
  Model based on 621 observations.
b
  Adjusted for age, race, site, and all variables in the table.




                                                                                                                                       95
                         Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 134 of 180
       When we compared self-reported receipt of hormone therapy and gender-affirming
surgery with the information derived from the EMR, the agreement between the 2 sources was
96% for hormone therapy and 72% for surgery. Assuming the survey responses are more
complete, the sensitivity and specificity of the EMR-derived hormone therapy ascertainment
were 97% and 89%, respectively. The corresponding sensitivity and specificity estimates for
surgery were 61% and 92%, respectively. In order to estimate the effect of hormone
misclassification on the association for VTE in TF compared with reference males (as reported in
the “Rates of Acute Cardiovascular Events Rates in Relation to Hormone Use in the Kaiser
Permanente Cohort” section), we applied the false-positive and false-negative rates to the 2
strata of TF (never and ever hormone use). We assumed nondifferential misclassification of
hormone use with respect to VTE status. There was no change in the magnitude of association.
The risk ratio comparing TF with no evidence of hormone therapy against reference males
changed from 1.6 to 1.7 after adjustment for misclassification, while the risk ratio for TF with
ever hormone use remained unchanged (RR, 1.5) after adjustment.

Mortality and Cancer Incidence Among Transgender Veterans
       Although the VA EMR search identified a total of 7066 veterans with transgender-
specific diagnoses, the available data allowed assigning TF/TM status to 5072 individuals. Of
those, 4394 (87%) were TF, and 678 (13%) were TM (Table 29). As in the Kaiser Permanente
cohort, TM participants were younger on average than their TF counterparts (57% vs 12% under
the age of 36). The magnitude of this difference is likely explained by the method of gender
ascertainment, which depended heavily on prostate-specific antigen (PSA) testing as evidence
of TF status. The index dates for most (59%) TM participants were in recent years (2014-2017);
by contrast the index dates among TF cohort members were more evenly distributed across the
entire study period (2000-2017).

       As shown in Figure 13, the all-cause mortality of TF veterans was lower than all-cause
mortality of male referents, but higher than that in the female reference cohort, with HR (95%
CI) estimates of 0.8 (0.7-0.9) and 1.3 (1.2-1.5), respectively. The same analyses for TM veterans



                                                                                                   96
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 135 of 180
produced similar, but less precise, HR estimates of 0.7 (95% CI, 0.5-1.1) compared with
reference males, and 1.3 (95% CI, 0.9-2.1) compared with reference females (Figure 13).


Table 29. Characteristics of the STRONG VA Transgender Cohort

 Participant                   TF cohort,        TM cohort,
 characteristic                n (Col %)         n (Col %)
 Age at index date, y
    18-25                      90 (2.0)          105 (15)
    26-35                      425 (9.7)         285 (42)
    36-45                      710 (16)          130 (19)
    46-55                      1373 (31)         96 (14)
    56-65                      1330 (30)         48 (7.1)
    >65                        466 (11)          14 (2.1)
 Year of index date
    2000-2004                  1189 (27)         63 (9.3)
    2005-2009                  784 (18)          55 (8.1)
    2010-2013                  1099 (25)         163 (24)
    2014-2017                  1322 (30)         397 (59)
 Race/ethnicity
    Non-Hispanic White         3441 (78)         384 (57)
    Non-Hispanic Black         287 (6.5)         157 (23)
    Hispanic                   140 (3.2)         59 (8.7)
    Other                      160 (3.6)         34 (5.0)
    Unknown                    366 (8.3)         44 (6.5)
 Vital status
    Dead                       592 (13)          23 (3.4)
    Alive                      3802 (87)         655 (97)
 Total, n (row %)              4394 (87)         678 (13)
Abbreviations: Col, column; STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; TM,
transmasculine; VA, US Department of Veterans Affairs.




                                                                                                       97
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 136 of 180
Figure 13. Cumulative Survival of TF (A) and TM (B) Cohort Members at the VA Compared With Matched Reference Cohorts




Abbreviations: TF, transfeminine; TM, transmasculine; VA, US Department of Veterans Affairs.




                                                                                                                       98
                        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 137 of 180
Table 30. Cancer Incidence Rates and Hazard Ratios for TF STRONG VA Cohort Participants
Compared With Matched Referent Males and Femalesa

                           Incidence rate (95% CI)           Adjusted hazard ratio (95% CI)
 Cancer categoriesb        per 100 000 person-years          vs reference males          vs reference females
 Any incident cancer       864 (758-987)                     1.0 (0.9-1.1)               1.5 (1.3-1.7)
 (238 cases)
 Colorectal cancer (17 60 (35-96)                            1.0 (0.6-1.7)               1.7 (1.0-2.8)
 cases)
 Lung cancer (43           152 (110-204)                     1.1 (0.8-1.5)               1.7 (1.2-2.4)
 cases)
 Melanoma of the           60 (35-96)                        1.7 (1.0-2.9)               2.7 (1.5-4.7)
 skin (17 cases)
 Liver cancer (16          56 (32-92)                        1.1 (0.6-1.8)               5.5 (2.8-10.5)
 cases)
 Kidney cancer (11         39 (19-69)                        0.9 (0.5-1.7)               2.3 (1.2-4.5)
 cases)
 Bladder cancers (11       39 (19-69)                        0.8 (0.4-1.5)               3.6 (1.7-7.4)
 cases)
 Prostate cancer –         152 (110-205)                     0.7 (0.5-0.9)
 overall (43 cases)
Abbreviations: STRONG, Study of Transition, Outcomes and Gender; TF, transfeminine; VA, US Department of
Veterans Affairs.
a
  Excludes participants with history of cancer before the index date; matched on year of birth, enrollment at index
date, race, and care utilization quartile.
b
  Reported analyses are limited to cancer sites with at least 10 cases.


        Following exclusion of participants with prevalent diagnoses, we based our cancer
incidence analyses on the data for 4266 TF and 671 TM veterans with a mean survival time of
6.5 and 3.7 years, respectively. The overall cancer incidence (per 100 000 person-years) was
864 (95% CI, 758-987) among TF and 200 (95% CI, 65-468) among TM individuals. The overall
cancer incidence among TF individuals was similar to the corresponding rate among reference
males (HR, 1.0; 95% CI, 0.9-1.1), but higher than that compared with reference females (HR,
1.5; 95% CI, 1.3-1.7). The overall cancer incidence rate was not significantly different among TM
individuals relative to both male (HR, 0.6; 95% CI, 0.2-1.5) and female (HR, 0.8; 95% CI, 0.3-2.0)
controls.

                                                                                                                 99
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 138 of 180
       Table 30 presents the data on cancer incidence among TF individuals for specific sites
with at least 10 cases. Relative to reference females, cancer incidence among TF veterans was
elevated for all sites included in the analysis. In contrast, a comparison to reference males
demonstrated only 2 notable departures from the null value: TF individuals experienced a 70%
higher incidence of melanoma (95% CI, 1.0-2.9) and a 30% lower incidence of prostate cancer
(95% CI, 0.5-0.9). To assess the potential effect of different PSA screening uptake, we repeated
the analyses for prostate cancer after restricting the cohort to 2306 TF individuals and 14 431
matched reference males who underwent PSA testing before the index date. The result of this
analysis was similar (HR, 0.7), but with a wider confidence interval (95% CI, 0.4-1.1).




                                                                                                100
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 139 of 180
DISCUSSION
       In this report, we describe STRONG, a health system–based observational study
designed to examine the health status of transgender people and to evaluate the possible risks
and health benefits of various gender-affirming treatments. The STRONG cohort already
provided many findings that are expected to inform clinical practice and will enable
incorporating much-needed empirical evidence into the treatment guidelines. On the other
hand, several important additional analyses were not feasible. In the next sections, we review
the practical implications of the observed results, discuss the data limitations and lessons
learned, and propose approaches for addressing remaining knowledge gaps.

Decisional Context
       The areas of specific concern addressed in this report include the following: (1) the
poorly understood risk of acute cardiovascular events including VTE, ischemic stroke, and
myocardial infarction, which may be plausibly related to cross-sex hormone therapy; (2) the
unknown incidence of cancer in transgender populations; (3) the uncertain burden of mental
health morbidity; and (4) the possible, but not well-defined, benefits of gender affirmation
therapies. Each of these areas of concern has clinical implications. Better knowledge about the
risk of acute cardiovascular events and cancer incidence may inform hormone therapy and
follow-up recommendations. The information about mental health should identify specific
disease patterns and priorities for management of psychiatric morbidity. The data on quality of
life in relation to extent of gender affirmation may aid with decisions regarding coverage for
hormonal therapy and surgical procedures.

Study Results in Context

       Acute Cardiovascular Events
       We observed higher incidences of VTE and ischemic stroke, but not myocardial
infarction, among TF individuals compared with cisgender referents of either sex. The
difference in incidence for both VTE and ischemic stroke appeared to be particularly
pronounced after 6 to 7 years of follow-up and was attributable largely to oral estrogen use.

                                                                                                 101
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 140 of 180
Although the association between VTE and oral estrogen among TF study participants is in
agreement with expectations, the delayed increase in risk is not consistent with risk patterns
associated with hormone replacement therapy in clinical trials of postmenopausal women,
which form the basis of current recommendations.9 The rates for both VTE and stroke in
previous trials increased relatively rapidly following initiation of the intervention and then
appeared to decline and plateau by 5 years of follow-up.85-88 In contrast, in our estrogen-
exposed cohort, the rate of VTE, although clearly diverging from those of matched referents
early on, increased most rapidly at 6 years of follow-up. This late inflexion point is also evident
in the analyses of ischemic stroke.

       Most available data on cardiovascular morbidity in transgender populations come from
clinical centers in Europe. Our findings are difficult to compare against the results of these
studies because of the differences in design and analytic approach. For example, the authors of
a recent Belgian cross-sectional study30 reported that nearly half of VTE cases occurred within
the first year of treatment, but given the cross-sectional design, one cannot be certain about
the influence of factors that brought patients to the clinic at the time of the evaluation.

       Nonetheless, it is perhaps this observation, along with the findings from the Hormone
Replacement Therapy trials, that led a recent review to conclude that the rate of VTE among TF
persons is “higher in the first year after starting estrogen.”13 It is important to keep in mind
that, without information on the temporal changes in the denominator, which is not available
in cross-sectional studies, conclusions about changes in rate cannot be drawn. For example,
more than a third of VTE cases in our estrogen initiation subcohort occurred within 2 years after
the first prescription was filled; however, the rates were highest after 6 years of follow-up due
to the declining denominator (person-time), as most people included in the cohort were
identified in recent years and were followed for a relatively short time.


       Cancer Incidence
       In both the Kaiser Permanente and the VA data sets we observed that TF people may
experience lower risk of prostate cancer compared with male referents. This observation is


                                                                                                   102
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 141 of 180
unlikely to be explained by differences in PSA screening because the hazard ratio estimate
among transgender veterans with PSA testing before the index date was similar to the overall
result. The data for TF veterans also demonstrated higher incidence of melanoma, a finding that
was not confirmed in the Kaiser Permanente analyses. In the analyses limited to Kaiser
Permanente data we found that TF participants had a higher risk of endocrine- and viral
infection–induced cancers compared with male referents, as well as a higher risk of lymphatic
and hematopoietic cancers compared with female referents.

       For TM people included in the Kaiser Permanente data, there was a higher risk of breast
cancers as well as smoking- and viral infection–related cancers compared with male referents.
The results for smoking-related and viral infection–induced cancers were attributable to the
increased incidence of cervical cancers. The VA data included too few TM members to allow
cancer site–specific analyses.


       Mental Health Problems
       Perhaps the most alarming finding in this study is the high prevalence of mental health
disorders among transgender people, particularly children and adolescents. This concern is
often expressed in the transgender health literature,89,90 and is supported in a few small
studies44,91; however, to date, no study has been able to document the magnitude of this
problem in an unselected group of participants drawn from the general population of a large
health care system.

       The results of our analyses confirm previous reports indicating that mental health
problems of transgender and gender-nonconforming youth are common and, among
adolescents, often severe. In the past, studies addressing this issue were conducted mostly in
Europe39,40,46; however, more recent data are also available in the United States.

       A study of 52 TM and 49 TF patients aged 12 to 24 years who received care for gender
dysphoria at a large transgender youth clinic in Los Angeles found that 35% of participants
reported symptoms of depression. More than half of participants admitted having thoughts
about suicide.42

                                                                                               103
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 142 of 180
       Another recent study examined prevalence of mental health problems among 298
young TF individuals who participated in an HIV prevention intervention trial conducted in
Chicago and Boston. The mental health conditions of interest in that study were ascertained
from a brief structured interview. In a subset of 55 participants under the age of 20 years,
prevalence estimates for lifetime depression and “suicidality” were 13% and 7%, respectively.43

       One previous study used medical record abstraction to determine prevalence of mental
health diagnoses among 97 (43 TF and 54 TM) patients aged 4-20 who presented to the Gender
Management Service at the Boston Children’s Hospital. Almost half of the patients (44%)
presented with significant psychiatric history; 21% had a history of self-mutilation and 9% had a
documentation of suicide attempts.45

       In recent years, several studies have suggested that gender dysphoria may be associated
with autism spectrum disorders.92-94 Perhaps the most widely cited evidence in support of this
hypothesis comes from a study of 204 children and adolescents referred to the Gender Identity
Clinic in Amsterdam.95 Presence of autism spectrum disorder in that study was established via a
standardized diagnostic interview96; this approach yielded a prevalence estimate of 10% among
TF patients (“boys”) and 4% among TM patients (“girls”), which the authors compared with the
1% estimate reported in the general population.

       Prevalence of autism spectrum disorder in our study was somewhat lower (7% in TF and
3% in TM individuals across all ages), but we based our case ascertainment on documented
diagnostic codes, rather than standardized interviews, and the denominator in our calculations
was not limited to children with established gender dysphoria.

       With these differences in mind, our results are generally comparable to those reported
in the Dutch study; however, it would be premature to view our findings as supporting the
specific link between gender nonconformity and autism. It is important to keep in mind that
nearly all mental health diagnoses, not just autism spectrum disorders, were more common in
our population of transgender and gender-nonconforming youth than in referent children and
adolescents.


                                                                                               104
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 143 of 180
       Especially worrisome are the findings for suicidal ideation and self-inflicted injuries, with
prevalence estimate orders of magnitude higher in transgender children and adolescents than
in the matched reference groups of the same age. For the most severe cases (ie, those that
required hospitalization) the PRs could not be calculated because there were no events among
the referents. For nearly all mental health disorders the PRs increased during the time window
closest to the index date.

       We also found a high burden of mental health conditions among transgender adults.
Our analyses demonstrated that adults with keywords as the only evidence of transgender
status have a higher prevalence of certain mental health conditions.


       Self-Reported Outcome Measures
       The analysis of our survey data demonstrated that total transgender congruence and
body image, and to a lesser extent passing status measures, were higher among persons who
completed their gender affirmation compared with those who received less treatment or no
treatment at all. In other studies,97,98 the data on quality of life and its relation to gender
affirmation therapy are generally sparse and are based on relatively small single-institution
studies and few validated instruments.

       The results are consistent with our understanding of gender dysphoria as a condition
that presents with a high level of body image dissatisfaction.99 This distress may be alleviated by
receiving interventions aimed at aligning physical appearance with gender identity. Gender
confirmation treatments may also increase the level of confidence in passing as a person of the
preferred gender. For example, TM individuals taking testosterone experience a redistribution
of fat, increased muscle mass, and a deepening of the voice, which promote a more masculine
appearance; similarly, TF individuals taking estrogens and antiandrogens experience reduced
facial hair growth, an increase in fat deposits around the hips and buttocks, breast growth, and
reduced muscle mass, which promote a more feminine appearance.100 Previous research has
underscored the importance of social “passing” for positive body image and body satisfaction,
and feelings of passing have been associated with a higher quality of life and self-esteem.101


                                                                                                  105
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 144 of 180
       Evidence suggests that in addition to exacerbating symptoms of gender dysphoria, body
image dissatisfaction can lead to secondary health problems among transgender individuals.

       For example, a study conducted among 356 German, Swiss, and Austrian participants
showed that TM individuals displayed higher degrees of worrisome eating patterns, weight and
shape concerns, body dissatisfaction, and body checking than male controls. Available data also
indicate that body dissatisfaction and poor body image can predispose individuals to chronic
depression, substance use/abuse, and several affective spectrum and somatic disorders.102
Clearly, body dissatisfaction can lead to significant mental and somatic morbidity in this
population, and thus interventions that reduce risk for these conditions, such as gender
confirmation therapies, may confirm important and lasting benefits.

       It is worth noting that we assessed both transgender congruence and body image, the 2
outcome measures most robustly associated with gender affirmation, using previously
validated instruments, and both were shown to be important determinants of psychological
well-being and quality of life in transgender people.76,103 The passing status variable has not
been used previously; we developed it following suggestions from the study stakeholders, and
so this variable will require further testing and validation.

Implementation of Study Results
       The implementation of the study results depends on the specific analysis. Some of the
results may have immediate impact and some will require confirmation.

       For example, based on the currently available evidence, the current recommendations
for follow-up of TF patients receiving hormone therapy do not emphasize the need for long-
term surveillance for stroke and VTE. In view of our results, the existing recommendations may
need to be revised, with particular emphasis on long-term vigilance in timely identification and
treatment of vascular side effects.

       Our findings for cancer highlight the importance of transgender persons receiving age-
and natal sex–specific cancer screening and monitoring key risk factors such as smoking and


                                                                                                  106
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 145 of 180
oncogenic virus infections. The lower risk of prostate cancer among TF patients may be
attributable to a protective effect of hormone therapy.104 On the other hand, it has been
hypothesized that prostate cancers that develop despite androgen deprivation may exhibit
more aggressive behavior than those diagnosed in cisgender males.105

       The findings for suicidal ideation and self-inflicted injuries among transgender children
and adolescents may also have practical implications. Taken together, these data indicate that a
child or an adolescent presenting as transgender to a health care provider needs to be urgently
evaluated for possible life-threatening mental health comorbidities.

       Both Kaiser Permanente and the VA represent pioneering health care systems in the
United States in terms of providing transgender health services; yet in many other settings,
coverage for gender affirmation, particularly surgery, remains an area of controversy. For
example, in 2016 the Centers for Medicare and Medicaid Services (CMS) announced the
decision to not issue a National Coverage Determination on gender reassignment surgery for
Medicare beneficiaries with gender dysphoria because the clinical evidence was deemed
inconclusive. In its decision memo the CMS indicated that it “encourages robust clinical studies
that will fill the evidence gaps and help inform which patients are most likely to achieve
improved health outcomes with gender reassignment surgery, which types of surgery are most
appropriate, and what types of physician criteria and care setting(s) are needed to ensure that
patients achieve improved health outcomes.”106

       While our survey should not be considered conclusive due to its relatively small size and
cross-sectional design, it demonstrated that total transgender congruence and body image, and
to a lesser extent passing status, measures were higher among persons who completed their
gender affirmation compared with those who received less treatment or no treatment at all.

Generalizability
       We recognize that transgender people enrolled through integrated health care systems
such as Kaiser Permanente and the VA represent a cohort of persons with health insurance that
may not be representative of the overall transgender population in the United States. Although

                                                                                               107
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 146 of 180
the VA cohort included people from across the United States, most of the Kaiser Permanente
cohort was located in California. Moreover, most of both cohorts were non-Hispanic Whites. It
is expected that some of the results may differ among transgender people in different
socioeconomic strata, geographic locations, and race/ethnicity categories. Weighing against
this concern is the demonstrated ability to cost-effectively identify a large cohort of
transgender participants and referents with a high degree of internal validity.

       Another notable consideration when assessing generalizability of the present study
results is the increasing prevalence of transgender and gender nonconformity and the shifting
patterns of coverage for gender affirmation treatment. Several studies, including ours, have
indicated an increase in both the number of people who identify as transgender and in the
number of transgender people who seek care. Thus, the external validity of our results may
change as the transgender population increases and becomes more heterogeneous. The risk
patterns we observe may differ in the future, making a strong case for continued surveillance
and research in this growing population.

Subpopulation Considerations
       With respect to subpopulation considerations, it is clear that transgender people
represent at a minimum 4 very different cohorts: (1) TF individuals who have received gender
affirmation therapy; (2) TF individuals who have not yet received or are not planning to receive
gender affirmation therapy; (3) TM individuals who have received gender affirmation therapy;
and (4) TM individuals who have not yet received or are not planning to receive gender
affirmation therapy. The results of these studies should be viewed accordingly. For example, it
appears that the prevalence of mental health morbidity in general does not differ by gender
identity. On the other hand, risks of VTE and stroke are clearly gender identity and hormone
therapy dependent. For all the above reasons, any observations regarding transgender health
need to be viewed in the context of the subgroup of interest.




                                                                                               108
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 147 of 180
Study Limitations
       Although our project demonstrated that it is possible to identify large numbers of
transgender participants within integrated health systems such as Kaiser Permanente and VA, it
is also clear that validation of study eligibility and accurate ascertainment of TM/TF status
require substantial time and resources. The recent US Department of Health and Human
Services directive that EMR systems should enable providers to record gender identity and
sexual orientation is expected to make this process more efficient; however, it will take some
time before gender identity data become widely available. The directive specifically “does not
require that a provider collect this information,” but it requires only that the EMR “enable the
provider to do so.”107

       One of the main limitations of the available data is the inability to identify persons who
initiated or received their transgender care elsewhere. This restricts our ability to identify a
subcategory of transgender cohort members with no history of transgender treatment of any
kind. Even with the higher-quality Kaiser Permanente data, the most definitive analyses were
limited to people who initiated therapy within the system. These individuals were identified as
those STRONG participants whose EMR demonstrated a gap between the index date and the
first prescription for hormone therapy. This “hormone therapy initiation” group represents
about 35% of TM and 32% of TF participants. The broadening of coverage for gender
affirmation services at Kaiser Permanente occurred relatively recently. As the proportion of
transgender people among enrollees has been increasing and many patients now initiate and
receive gender affirmation therapy exclusively within the system, many additional analyses may
now be possible.

       Although our results demonstrated a strong association of estrogen therapy with VTE
and ischemic stroke in the Kaiser Permanente data, many useful subanalyses evaluating risks
associated with different types of hormone therapy were not feasible due to sparse drug- and
dose-specific strata. It is also not clear if the associations of hormonal therapy with VTE and
ischemic stroke differ in HIV-positive and HIV-negative TF persons. HIV infection is a known risk
factor for thrombotic events, particularly in combination with oral contraceptive use,108 and TF


                                                                                                   109
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 148 of 180
individuals are considered to be a group with high HIV prevalence.109 The assessment of
interaction between HIV and hormone therapy requires a larger cohort because, to date, only
186 TF individuals in our Kaiser Permanente cohort were confirmed as HIV-positive.

       Many additional analyses of cardiovascular events will become possible with extended
follow-up of the existing cohort. For example, our preliminary analyses indicate that TM
individuals receiving testosterone may be at higher risk for myocardial infarction, but the
number of events was insufficient due to the relatively young age of the TM cohort.

       Another limitation of the available data is the lack of cases representing subcategories
of VTE. Particularly important would be to examine the data that are limited to pulmonary
embolism, the most severe consequence of venous thrombosis. We were able to only partially
address this issue by limiting the analyses to diagnoses that were associated with emergency
department visits or hospitalizations (see Appendix 4). If the STRONG cohort is expanded, a
separate analysis for pulmonary embolism will be more informative.

       Perhaps the most notable limitation of the analyses of cancer incidence is insufficient
number of events. This limitation precluded many important comparisons, including cancer
incidence by hormone therapy status. Similarly, the small number of events limited our ability
to examine site-specific cancer risks. For example, we found some evidence that TF individuals
may experience a higher risk of viral infection–induced cancers, but this preliminary finding
requires additional cases to allow site-specific analyses.

       The limitations related to small study size could be addressed, at least in part, by pooling
the Kaiser Permanente and the VA data. Unfortunately, such data pooling is not possible at this
time because the VA data could be accessed only remotely via VINCI interface. The challenges
related to conducting research at the VA can be minimized if the data requests are initiated
long in advance of study initiation, perhaps at the time of the proposal or when a grant
application is submitted. Another important lesson learned during implementation of the VA
component of the study is the need to have a data use agreement in place. Having such an
agreement enables analyses of deidentified data sets using software that is independent of the


                                                                                                110
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 149 of 180
VA system; eliminates the need for the VINCI interface; and, perhaps more important, allows
pooling of the data with other sources. For example, combining the VA and the Kaiser
Permanente cohorts may be possible in the future via a data use agreement between the VA
and the STRONG study team.

       Another limitation of the available data is the relatively short follow-up time. Most
cancers, particularly solid tumors, have very long latency periods, and definitive answers about
the presence or absence of the effects of potentially carcinogenic exposures among
transgender individuals may require 20 or more years of follow-up.

       The main limitation of the analysis of mental health status is its cross-sectional design.
The baseline data indicate that transgender and gender-nonconforming youth experience a
multitude of mental health problems at the time of initial presentation, but what happens
afterward remains unclear. As STRONG cohort follow-up extends, it will be possible to examine
the temporal changes in the frequency and severity of these problems, particularly in relation
to the age of gender affirmation, an area of considerable uncertainty.110-113

       Although the present report addressed several areas of transgender health, our results
are unlikely to be affected by the problem of multiple comparisons because different analyses
examined completely different research questions. The main concern with multiple
comparisons is high likelihood of false-positive results due to simultaneous testing of multiple
exposure–outcome associations within the same broad research question. This was not the
case in this report with the only possible exception of the analyses that examined prevalence of
mental health diagnoses. However, in those analyses all PRs were elevated across all
comparisons, indicating the overall high burden of mental health disorders among transgender
study participants.

       Another methodological issue that deserves discussion is the relatively limited scope of
the survey. Due to Kaiser Permanente IRB constraints, we were allowed to contact only cohort
members with extensive evidence of transgender-related care. For this reason, the target



                                                                                               111
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 150 of 180
population for the survey included only a small proportion of individuals who were considering
but had not yet received gender affirmation therapy of any kind.

       A more important general limitation pertains to the data of transgender veterans, for
whom the available data are more limited than the analyses of the Kaiser Permanente cohort.
For example, the use of keyword-containing text strings, which enhanced cohort ascertainment
and validation at Kaiser Permanente, was not feasible at the VA. In addition, while TM/TF status
was successfully determined in 99% of Kaiser Permanente cohort participants, the proportion
of transgender veterans whose natal sex and gender identity remained unknown was much
higher (28%). The time restrictions imposed by the VA approval process prevented us from
obtaining detailed outcome and gender affirmation information on transgender veterans;
however, some of these data will become available in the near future.

Future Research
       Although STRONG has already answered many research questions, several important
additional analyses can be conducted with the available data. For example, dates and results of
laboratory tests including bone scans, blood chemistry analyses, hormone levels, and blood cell
counts can be used to conduct longitudinal analyses of the associations between gender
affirmation and a variety of health indicators thought to be affected by hormone status. In
addition, utilization records can be used to examine how transgender patients adhere to
general health care, vaccination, and screening recommendations.

       Many important analyses will be possible only if the cohort is expanded. For example,
given the observed associations of estrogen therapy with VTE and ischemic stroke (IS), a larger
cohort size will allow comparing risks associated with different hormone formulations, routes of
administration, and doses. These data are already available, but we could not perform the
analyses by specific hormone therapy type due to sparse treatment-specific strata. It is also not
clear if the associations of HT with VTE and IS differ in HIV-positive and HIV-negative TF
persons. HIV infection is a known risk factor for thrombotic events, particularly in combination
with oral contraceptive use,108 and TF individuals are considered to be a group with high HIV


                                                                                                112
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 151 of 180
prevalence.109 The assessment of interaction between HIV and HT requires a larger cohort
because, to date, only 186 TF individuals were confirmed as HIV-positive.

          Many additional analyses will become possible with extended follow-up of the existing
cohort. A longer follow-up will allow evaluation of relatively rare events, such as deaths due to
specific causes, different types of cancer, and other age-related diseases. For example, in the
analyses of cancer incidence, we did not have a sufficient number of cases to assess the
possible effect of estrogen on risk of breast cancer in TF individuals or the effect of testosterone
on risk of ovarian cancer among TM individuals, both areas of concern.34

          A critical issue is the long-term health status of transgender youth, particularly as they
undergo gender affirmation and enter adulthood. The available baseline data indicate that this
group has a high prevalence of life-threatening mental health conditions at the time of initial
presentation; however, the temporal changes in the frequency and severity of these problems,
particularly in relation to the age of gender affirmation (an area of considerable uncertainty110-
113
      ), will require more extended follow-up.

          While Kaiser Permanente EMR represent a source of high-quality information, a notable
limitation of EMR data is lack of self-reported outcomes. Some of these outcomes can be
obtained from surveys; however, as discussed previously (see section G.4), the IRB concerns
prevented us from contacting individuals who are considering but have not yet received gender
affirmation therapy. In recent years, Kaiser Permanente implemented systematic
administration of patient Outcomes Questionnaires, which allow calculating a Global Distress
Score (GDS) during mental health and primary care visits. The GDS Outcome Questionnaire
incorporates the Patient Health Questionnaire (PHQ-9) and the Generalized Anxiety Disorder
scale (GAD-7). By repeatedly administering the questionnaires, Kaiser Permanente providers
and patients monitor the level of distress during treatment. The data from the GDS
questionnaire and its components, PHQ-9 and GAD-7, have been successfully used in recent
Kaiser Permanente studies114,115; these data offer valuable methodological options for
evaluating self-reported outcomes of gender affirmation therapy.



                                                                                                  113
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 152 of 180
       Other areas in transgender health research were beyond the scope of this project. For
example, the distinction between people who identify gender as binary vs nonbinary is not
easily determined in the EMR and assessing the full history of gender affirmation requires self-
report. We attempted to address these issues with a survey component; however, the survey
was limited by an IRB requirement to include only those participants who had both a validated
text and a diagnostic code. Community stakeholders also identified several additional areas of
research that we were unable to address in this project. Of particular interest were quality-of-
life indicators, HIV, and sexually transmitted infections. Future studies of transgender health
should consider addressing these topics.




                                                                                                  114
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 153 of 180
CONCLUSIONS
       Although the body of literature addressing transgender health issues has been growing
exponentially,115 limited data are available on the frequency of various specific diagnoses in this
population and on the risks and benefits of gender-affirming treatments. An important
contribution of STRONG to the extant literature is its relatively large size, which allowed
focusing on previously understudied groups such as young children and enabled evaluation of
relatively rare events such as stroke, certain cancers, and hospitalizations for mental health
conditions. In conducting this study, we performed multiple analyses; some of those analyses
provide actionable evidence and some require confirmation and additional research.

       We observed higher incidence of VTE and ischemic stroke among TF individuals
receiving estrogen compared with cisgender referents of either sex. Contrary to expectations,
the observed increases in incidence were most pronounced after 6 to 7 years of treatment
initiation. These findings should be taken into consideration during clinical follow-up of TF
patients receiving hormone therapy and are likely to be included in the next version of the
Standards of Care.

       Perhaps the most alarming finding in this study is the high burden of mental health
disorders, and especially self-inflicted injuries and suicidal ideation, among transgender
children and adolescents. Although our results are in agreement with previous reports, the
magnitude of the problem has not been documented on a population scale. From the clinical
practice perspective, these data indicate that children and adolescents presenting as
transgender or gender nonconforming may require immediate evaluation of mental health
needs and implementation of social and educational measures of gender identity support.

       The lessons learned while conducting this project will also inform future transgender
health research. For example, our findings on the association between extent of gender-
affirming therapy and quality of life require confirmation using longitudinal study design. In
addition, a much larger cohort of TM and TF individuals and longer follow-up are needed to
answer questions about cancer incidence in this population. As the work continues, the project


                                                                                                 115
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 154 of 180
will allow formulating new previously unexplored research hypotheses and will offer
opportunities for additional comparative effectiveness studies.




                                                                                      116
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 155 of 180
REFERENCES
1.      Safer JD, Coleman E, Hembree W. There is reason for optimism: an introduction to the
        special issue on research needs in transgender health and medicine. Curr Opin
        Endocrinol Diabetes Obes. 2016;23(2):165-167. doi:10.1097/MED.0000000000000228

2.      Lombardi E. Enhancing transgender health care. Am J Public Health. 2001;91(6):869-872.

3.      Bockting W, Coleman E, De Cuypere G. Care of transsexual persons. N Engl J Med.
        2011;364(26):2559-2560, author reply 60. doi:10.1056/NEJMc1104884#SA1

4.      Bockting W. From construction to context: gender through the eyes of the
        transgendered. SIECUS Rep. 1999;28:3-7.

5.      Giami A, Beaubatie E. Gender identification and sex reassignment surgery in the trans
        population: a survey study in France. Arch Sex Behav. 2014;43(8):1491-1501.
        doi:10.1007/s10508-014-0382-3

6.      Reisner SL, Gamarel KE, Dunham E, et al. Female-to-male transmasculine adult health: a
        mixed-methods community-based needs assessment. J Am Psychiatr Nurses Assoc.
        2013;19(5):293-303. doi:10.1177/1078390313500693

7.      Reisner SL, Radix A, Deutsch MB. Integrated and gender-affirming transgender clinical
        care and research. J Acquir Immune Defic Syndr. 2016;72(suppl 3):S235-S242.
        doi:10.1097/QAI.0000000000001088

8.      Knudson G, De Cuypere G, Bockting W. Recommendations for revision of the DSM
        diagnoses of gender identity disorders: consensus statement of the World Professional
        Association for Transgender Health. Int J Transgend. 2010;12(2):115-118.

9.      Coleman E, Bockting WO, Botzer M, et al. Standards of care for the health of
        transsexual, transgender, and gender-nonconforming people, version 7. Int J Transgend.
        2012;13(4):165-232.

10.     Hembree WC, Cohen-Kettenis P, Delemarre-van de Waal HA, et al. Endocrine treatment
        of transsexual persons: an Endocrine Society clinical practice guideline. J Clin Endocrinol
        Metab. 2009;94(9):3132-3154. doi:10.1210/jc.2009-0345

11.     Feldman J, Brown GR, Deutsch MB, et al. Priorities for transgender medical and
        healthcare research. Curr Opin Endocrinol Diabetes Obes. 2016;23(2):180-187.
        doi:10.1097/MED.0000000000000231

12.     Reisner SL, Deutsch MB, Bhasin S, et al. Advancing methods for US transgender health
        research. Curr Opin Endocrinol Diabetes Obes. 2016;23(2):198-207.
        doi:10.1097/MED.0000000000000229


                                                                                                117
     Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 156 of 180
13.   Shatzel JJ, Connelly KJ, DeLoughery TG. Thrombotic issues in transgender medicine: a
      review. Am J Hematol. 2017;92(2):204-208. doi:10.1002/ajh.24593

14.   Elamin MB, Garcia MZ, Murad MH, et al. Effect of sex steroid use on cardiovascular risk
      in transsexual individuals: a systematic review and meta-analyses. Clin Endocrinol (Oxf).
      2010;72(1):1-10. doi:10.1111/j.1365-2265.2009.03632.x

15.   Weinand JD, Safer JD. Hormone therapy in transgender adults is safe with provider
      supervision; a review of hormone therapy sequelae for transgender individuals. J Clin
      Transl Endocrinol. 2015;2(2):55-60. doi:10.1016/j.jcte.2015.02.003

16.   Institute of Medicine. The Health of Lesbian, Gay, Bisexual, and Transgender People:
      Building a Foundation for Better Understanding. The National Academies Press; 2011.

17.   Dahl M, Feldman JL, Goldberg JM, et al. Physical aspects of transgender endocrine
      therapy. Int J Transgend. 2006;9(3):111-134.

18.   Feldman JL, Goldberg JM. Transgender primary medical care. Int J Transgend. 2007;9(3-
      4):3-34.

19.   Molokwu CN, Appelbaum JS, Miksad RA. Detection of prostate cancer following gender
      reassignment. BJU Int. 2008;101(2):259. doi:10.1111/j.1464-410X.2007.07394_4.x

20.   Mueller A, Gooren L. Hormone-related tumors in transsexuals receiving treatment with
      cross-sex hormones. Eur J Endocrinol. 2008;159(3):197-202. doi:10.1530/eje-08-0289

21.   Urban RR, Teng NN, Kapp DS. Gynecologic malignancies in female-to-male transgender
      patients: the need of original gender surveillance. Am J Obstet Gynecol. 2011;204(5):e9-
      e12. doi:10.1016/j.ajog.2010.12.057

22.   Dizon DS, Tejada-Berges T, Koelliker S, et al. Ovarian cancer associated with
      testosterone supplementation in a female-to-male transsexual patient [published online
      ahead of print June 29, 2006]. Gynecol Obstet Invest. 2006;62(4):226-228.
      doi:10.1159/000094097

23.   Asscheman H, Gooren LJ, Eklund PL. Mortality and morbidity in transsexual patients with
      cross-gender hormone treatment. Metabolism. 1989;38(9):869-873.

24.   van Kesteren PJ, Asscheman H, Megens JA, et al. Mortality and morbidity in transsexual
      subjects treated with cross-sex hormones. Clin Endocrinol (Oxf). 1997;47(3):337-342.

25.   Asscheman H, Giltay EJ, Megens JA, et al. A long-term follow-up study of mortality in
      transsexuals receiving treatment with cross-sex hormones. Eur J Endocrinol.
      2011;164(4):635-642. doi:10.1530/eje-10-1038



                                                                                              118
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 157 of 180
26.   Gooren L, Morgentaler A. Prostate cancer incidence in orchidectomised male-to-female
      transsexual persons treated with oestrogens. Andrologia. 2014;46(10):1156-1160.
      doi:10.1111/and.12208

27.   Gooren LJ, van Trotsenburg MA, Giltay EJ, et al. Breast cancer development in
      transsexual subjects receiving cross-sex hormone treatment. J Sex Med.
      2013;10(12):3129-3134. doi:10.1111/jsm.12319

28.   Dhejne C, Lichtenstein P, Boman M, et al. Long-term follow-up of transsexual persons
      undergoing sex reassignment surgery: cohort study in Sweden. PLoS One.
      2011;6(2):e16885. doi:10.1371/journal.pone.0016885

29.   Wierckx K, Mueller S, Weyers S, et al. Long-term evaluation of cross-sex hormone
      treatment in transsexual persons. J Sex Med. 2012;9(10):2641-2651. doi:10.1111/j.1743-
      6109.2012.02876.x

30.   Wierckx K, Elaut E, Declercq E, et al. Prevalence of cardiovascular disease and cancer
      during cross-sex hormone therapy in a large cohort of trans persons: a case-control
      study. Eur J Endocrinol. 2013;169(4):471-478. doi:10.1530/eje-13-0493

31.   Blosnich JR, Brown GR, Wojcio S, et al. Mortality among veterans with transgender-
      related diagnoses in the Veterans Health Administration, FY2000-2009. LGBT Health.
      2014;1(4):269-276. doi:10.1089/lgbt.2014.0050

32.   Brown GR, Jones KT. Incidence of breast cancer in a cohort of 5,135 transgender
      veterans. Breast Cancer Res Treat. 2015;149(1):191-198. doi:10.1007/s10549-014-3213-
      2

33.   Brown GR, Jones KT. Mental health and medical health disparities in 5135 transgender
      veterans receiving healthcare in the Veterans Health Administration: a case-control
      study. LGBT Health. 2016;3(2):122-131. doi:10.1089/lgbt.2015.0058

34.   Braun H, Nash R, Tangpricha V, et al. Cancer in transgender people: evidence and
      methodological considerations. Epidemiol Rev. 2017;39(1):93-107.
      doi:10.1093/epirev/mxw003

35.   Wilczynski C, Emanuele MA. Treating a transgender patient: overview of the guidelines.
      Postgrad Med. 2014;126(7):121-128. doi:10.3810/pgm.2014.11.2840

36.   Levine DA. Office-based care for lesbian, gay, bisexual, transgender, and questioning
      youth. Pediatrics. 2013;132(1):e297-e313. doi:10.1542/peds.2013-1283

37.   Schneider C, Cerwenka S, Nieder TO, et al. Measuring gender dysphoria: a multicenter
      examination and comparison of the Utrecht Gender Dysphoria Scale and the Gender
      Identity/Gender Dysphoria Questionnaire for adolescents and adults. Arch Sex Behav.
      2016;45(3):551-558. doi:10.1007/s10508-016-0702-x

                                                                                               119
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 158 of 180
38.   Grossman AH, D’Augelli AR. Transgender youth and life-threatening behaviors. Suicide
      Life Threat Behav. 2007;37(5):527-537. doi:10.1521/suli.2007.37.5.527

39.   Cohen-Kettenis PT, Steensma TD, de Vries AL. Treatment of adolescents with gender
      dysphoria in the Netherlands. Child Adolesc Psychiatr Clin N Am. 2011;20(4):689-700.
      doi:10.1016/j.chc.2011.08.001

40.   de Vries AL, Doreleijers TA, Steensma TD, et al. Psychiatric comorbidity in gender
      dysphoric adolescents. J Child Psychol Psychiatry. 2011;52(11):1195-1202.
      doi:10.1111/j.1469-7610.2011.02426.x]

41.   Nahata L, Quinn GP, Caltabellotta NM, et al. Mental health concerns and insurance
      denials among transgender adolescents. LGBT Health. 2017;4(3):188-193.
      doi:10.1089/lgbt.2016.0151

42.   Olson J, Schrager SM, Belzer M, et al. Baseline physiologic and psychosocial
      characteristics of transgender youth seeking care for gender dysphoria. J Adolesc Health.
      2015;57(4):374-380. doi:10.1016/j.jadohealth.2015.04.027

43.   Reisner SL, Biello KB, White Hughto JM, et al. Psychiatric diagnoses and comorbidities in
      a diverse, multicity cohort of young transgender women: baseline findings from project
      LifeSkills. JAMA Pediatr. 2016;170(5):481-486. doi:10.1001/jamapediatrics.2016.0067

44.   Reisner SL, Vetters R, Leclerc M, et al. Mental health of transgender youth in care at an
      adolescent urban community health center: a matched retrospective cohort study. J
      Adolesc Health. 2015;56(3):274-279. doi:10.1016/j.jadohealth.2014.10.264

45.   Spack NP, Edwards-Leeper L, Feldman HA, et al. Children and adolescents with gender
      identity disorder referred to a pediatric medical center. Pediatrics. 2012;129(3):418-425.
      doi:10.1542/peds.2011-0907

46.   de Vries AL, Kreukels BP, Steensma TD, et al. Comparing adult and adolescent
      transsexuals: an MMPI-2 and MMPI-A study. Psychiatry Res. 2011;186(2-3):414-418.
      doi:10.1016/j.psychres.2010.07.033

47.   Olson-Kennedy J, Cohen-Kettenis PT, Kreukels BP, et al. Research priorities for gender
      nonconforming/transgender youth: gender identity development and biopsychosocial
      outcomes. Curr Opin Endocrinol Diabetes Obes. 2016;23(2):172-179.
      doi:10.1097/MED.0000000000000236

48.   Dekker MJ, Wierckx K, Van Caenegem E, et al. A European network for the investigation
      of gender incongruence: endocrine part. J Sex Med. 2016;13(6):994-999.
      doi:10.1016/j.jsxm.2016.03.371




                                                                                             120
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 159 of 180
49.   Kreukels BP, Haraldsen IR, De Cuypere G, et al. A European network for the investigation
      of gender incongruence: the ENIGI initiative. Eur Psychiatry. 2012;27(6):445-450.
      doi:10.1016/j.eurpsy.2010.04.009

50.   Deutsch MB. Gender-affirming surgeries in the era of insurance coverage: developing a
      framework for psychosocial support and care navigation in the perioperative period. J
      Health Care Poor Underserved. 2016;27(2):386-391. doi:10.1353/hpu.2016.0092

51.   Shipherd JC, Kauth MR, Matza A. Nationwide interdisciplinary e-consultation on
      transgender care in the Veterans Health Administration. Telemed J E Health.
      2016;22(12):1008-1012. doi:10.1089/tmj.2016.0013

52.   Stevens J, Gomez-Lobo V, Pine-Twaddell E. Insurance coverage of puberty blocker
      therapies for transgender youth. Pediatrics. 2015;136(6):1029-1031.
      doi:10.1542/peds.2015-2849

53.   Tangpricha V, den Heijer M. Oestrogen and anti-androgen therapy for transgender
      women. Lancet Diabetes Endocrinol. 2017;5(4):291-300. doi:10.1016/S2213-
      8587(16)30319-9

54.   Guy GP Jr, Lipscomb J, Gillespie TW, et al. Variations in guideline-concordant breast
      cancer adjuvant therapy in rural Georgia. Health Serv Res. 2015;50(4):1088-1108.
      doi:10.1111/1475-6773.12269

55.   Goodman M, Fletcher RH, Doria-Rose VP, et al. Observational methods to assess the
      effectiveness of screening colonoscopy in reducing right colon cancer mortality risk:
      SCOLAR. J Comp Eff Res. 2015:1-11. doi:10.2217/cer.15.39

56.   Barocas DA, Chen V, Cooperberg M, et al. Using a population-based observational cohort
      study to address difficult comparative effectiveness research questions: the CEASAR
      study. J Comp Eff Res. 2013;2(4):445-460. doi:10.2217/cer.13.34

57.   Grant MD, Marbella A, Wang AT, et al. Menopausal Symptoms: Comparative
      Effectiveness of Therapies. Agency for Healthcare Research and Quality; 2015.

58.   Boulet LP, Coeytaux RR, McCrory DC, et al. Tools for assessing outcomes in studies of
      chronic cough: CHEST guideline and expert panel report. Chest. 2015;147(3):804-814.
      doi:10.1378/chest.14-2506

59.   Fargo J, Metraux S, Byrne T, et al. Prevalence and risk of homelessness among US
      veterans. Prev Chronic Dis. 2012;9:E45.

60.   Owen-Smith A, Sineath RC, Sanchez T, et al. Perception of community tolerance and
      prevalence of depression among transgender persons. J Gay Lesbian Ment Healt. 2016.
      21:1, 64-76. doi:10.1080/19359705.2016.1228553


                                                                                              121
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 160 of 180
61.   Sineath RC, Woodyatt C, Sanchez T, et al. Determinants of and barriers to hormonal and
      surgical treatment receipt among transgender people. Transgend Health. 2016;1(1):129-
      136.

62.   Owen-Smith A, Woodyatt C, Sineath RC, et al. Perceptions of barriers to and facilitators
      of participation in health research among transgender people Transgend Health.
      2016;1(1):187-196. doi:10.1089/trgh.2016.0023

63.   Roblin D, Barzilay J, Tolsma D, et al. A novel method for estimating transgender status
      using electronic medical records. Ann Epidemiol. 2016;26(3):198-203.
      doi:10.1016/j.annepidem.2016.01.004

64.   Koebnick C, Langer-Gould AM, Gould MK, et al. Sociodemographic characteristics of
      members of a large, integrated health care system: comparison with US Census Bureau
      data. Perm J. 2012;16(3):37-41.

65.   Gordon NP. How Does the Adult Kaiser Permanente Membership in Northern California
      Compare With the Larger Community? Kaiser Permanente Division of Research; 2006.

66.   Brown GR, Jones KT. Racial health disparities in a cohort of 5,135 transgender veterans. J
      Racial Ethn Health Disparities. 2014;1(4):257-266.

67.   Blosnich JR, Brown GR, Shipherd JC, et al. Prevalence of gender identity disorder and
      suicide risk among transgender veterans utilizing Veterans Health Administration care.
      Am J Public Health. 2013;103(10):e27-e32. doi:10.2105/AJPH.2013.301507

68.   World Health Organization. International Statistical Classification of Diseases and
      Related Health Problems. 9th rev ed. World Health Organization; 1978.

69.   Maguire N. In search of the “V” codes (ICD-9-CM). J Med Pract Manage. 2012;28(1):56-
      57.

70.   Hughes IA. Disorders of sex development: a new definition and classification. Best Pract
      Res Clin Endocrinol Metab. 2008;22(1):119-134. doi:10.1016/j.beem.2007.11.001

71.   Coleman KJ, Stewart C, Waitzfelder BE, et al. Racial-ethnic differences in psychiatric
      diagnoses and treatment across 11 health care systems in the Mental Health Research
      Network. Psychiatr Serv. 2016;67(7):749-757. doi:10.1176/appi.ps.201500217

72.   SAS Macros to Conduct Common Biostatistical Analyses and Generate Reports.
      SouthEast SAS User Group; 2013.

73.   Friendly M. Corrgrams—Exploratory displays for correlation matrices. Am Stat.
      2002;56(2):316-324.



                                                                                            122
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 161 of 180
74.   Cohen-Kettenis PT. Psychosocial and psychosexual aspects of disorders of sex
      development. Best Pract Res Clin Endocrinol Metab. 2010;24(2):325-334.
      doi:10.1016/j.beem.2009.11.005

75.   Kasiannan P. Psychological management in adolescence and beyond. In: Hutson JM,
      Warne GL, Grover SR, eds. Disorders of Sex Development. Springer-Verlag; 2012:251-
      263.

76.   Kozee HB, Tylka TL, Bauerband LA. Measuring transgender individuals’ comfort with
      gender identity and appearance: development and validation of the Transgender
      Congruence Scale. Psychol Women Q. 2012;36(2):179-196.
      doi:10.1177/0361684312442161

77.   Lindwall M, Asci H, Hagger MS. Factorial validity and measurement invariance of the
      Revised Physical Self-Perception Profile (PSPP-R) in three countries. Psychol Health Med.
      2011;16(1):115-128. doi:10.1080/13548506.2010.521567

78.   Bost JE, Williams BA, Bottegal MT, et al. The 8-item Short-form Health Survey and the
      physical comfort composite score of the quality of recovery 40-item scale provide the
      most responsive assessments of pain, physical function, and mental function during the
      first 4 days after ambulatory knee surgery with regional anesthesia. Anesth Analg.
      2007;105(6):1693-1700. doi:10.1213/01.ane.0000287659.14893.65

79.   Turner-Bowker DM, Bayliss MS, Ware JE Jr, et al. Usefulness of the SF-8 Health Survey
      for comparing the impact of migraine and other conditions. Qual Life Res.
      2003;12(8):1003-1012.

80.   Andresen EM, Malmgren JA, Carter WB, et al. Screening for depression in well older
      adults: evaluation of a short form of the CES-D (Center for Epidemiologic Studies
      Depression Scale) Am J Prev Med. 1994;10(2):77-84.

81.   Beck AT, Epstein N, Brown G, et al. An inventory for measuring clinical anxiety:
      psychometric properties. J Consult Clin Psychol. 1988;56(6):893-897.

82.   Manne S, Nereo N, DuHamel K, et al. Anxiety and depression in mothers of children
      undergoing bone marrow transplant: symptom prevalence and use of the Beck
      depression and Beck anxiety inventories as screening instruments. J Consult Clin Psychol.
      2001;69(6):1037-1047.

83.   Goodman M, Steenland NK, Almon ML, et al. Prostate cancer treatment ascertained
      from several sources: analysis of disagreement and error. Ann Oncol. 2012;23(1):256-
      263. doi:10.1093/annonc/mdr040

84.   Johnson TV, Goodman M, Master VA. The efficacy of written screening tools in an inner-
      city hospital: literacy based limitations on patient access to appropriate care. J Urol.
      2007;178(2):623-629, discussion 29. doi:10.1016/j.juro.2007.03.118

                                                                                           123
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 162 of 180
85.   Anderson GL, Limacher M, Assaf AR, et al. Effects of conjugated equine estrogen in
      postmenopausal women with hysterectomy: the Women’s Health Initiative randomized
      controlled trial. JAMA. 2004;291(14):1701-1712. doi:10.1001/jama.291.14.1701

86.   Grady D, Wenger NK, Herrington D, et al. Postmenopausal hormone therapy increases
      risk for venous thromboembolic disease. The Heart and Estrogen/Progestin
      Replacement Study. Ann Intern Med. 2000;132(9):689-696.

87.   Rossouw JE, Anderson GL, Prentice RL, et al. Risks and benefits of estrogen plus
      progestin in healthy postmenopausal women: principal results from the Women’s
      Health Initiative randomized controlled trial. JAMA. 2002;288(3):321-333.

88.   Simon JA, Hsia J, Cauley JA, et al. Postmenopausal hormone therapy and risk of stroke:
      the Heart and Estrogen-progestin Replacement Study (HERS). Circulation.
      2001;103(5):638-642.

89.   Rosenthal SM. Transgender youth: current concepts. Ann Pediatr Endocrinol Metab.
      2016;21(4):185-192. doi:10.6065/apem.2016.21.4.185

90.   Grossman AH, D’Augelli AR. Transgender youth: invisible and vulnerable. J Homosex.
      2006;51(1):111-128. doi:10.1300/J082v51n01_06

91.   Baral SD, Poteat T, Stromdahl S, et al. Worldwide burden of HIV in transgender women:
      a systematic review and meta-analysis. Lancet Infect Dis. 2013;13(3):214-222.
      doi:10.1016/S1473-3099(12)70315-8

92.   Hembree WC. Guidelines for pubertal suspension and gender reassignment for
      transgender adolescents. Child Adolesc Psychiatr Clin N Am. 2011;20(4):725-732.
      doi:10.1016/j.chc.2011.08.004

93.   Milrod C. How young is too young: ethical concerns in genital surgery of the transgender
      MTF adolescent. J Sex Med. 2014;11(2):338-346. doi:10.1111/jsm.12387

94.   Milrod C, Karasic DH. Age is just a number: WPATH-affiliated surgeons’ experiences and
      attitudes toward vaginoplasty in transgender females under 18 years of age in the United
      States. J Sex Med. 2017;14(4):624-634. doi:10.1016/j.jsxm.2017.02.007

95.   Shumer DE, Spack NP. Current management of gender identity disorder in childhood
      and adolescence: guidelines, barriers and areas of controversy. Curr Opin Endocrinol
      Diabetes Obes. 2013;20(1):69-73. doi:10.1097/MED.0b013e32835c711e

96.   Bahorik AL, Leibowitz A, Sterling SA, et al. The role of hazardous drinking reductions in
      predicting depression and anxiety symptom improvement among psychiatry patients: a
      longitudinal study. J Affect Disord. 2016;206:169-173. doi:10.1016/j.jad.2016.07.039



                                                                                             124
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 163 of 180
97.    Simon GE, Rossom RC, Beck A, et al. Antidepressants are not overprescribed for mild
       depression. J Clin Psychiatry. 2015;76(12):1627-1632. doi:10.4088/JCP.14m09162

98.    Collin L, Tangpricha V, Goodman M. Worldwide prevalence of transgender and gender
       non-conformity. In: Ettner R, Monstrey S, Coleman E, eds. Principles of Transgender
       Medicine and Surgery. Routledge; 2016.

99.    Cuzzolaro M, Vetrone G, Marano G, et al. The Body Uneasiness Test (BUT): development
       and validation of a new body image assessment scale. Eat Weight Disord. 2006;11(1):1-
       13.

100.   Witcomb GL, Bouman WP, Brewin N, et al. Body image dissatisfaction and eating-related
       psychopathology in trans individuals: a matched control study. Eur Eat Disord Rev.
       2015;23(4):287-293. doi:10.1002/erv.2362

101.   de Grift TC, Kreukels BP, Elfering L, et al. body image in transmen: multidimensional
       measurement and the effects of mastectomy. J Sex Med. 2016;13(11):1778-1786.
       doi:10.1016/j.jsxm.2016.09.003

102.   Palladino-Green S, Pritchard ME. Predictors of body image dissatisfaction in adult men
       and women. Soc Behav Pers. 2003;31:215-222.

103.   van de Grift TC, Cohen-Kettenis PT, Steensma TD, et al. Body satisfaction and physical
       appearance in gender dysphoria. Arch Sex Behav. 2016;45(3):575-585.
       doi:10.1007/s10508-015-0614-1

104.   Holz LE, Goodman M. Epidemiology of advanced prostate cancer: overview of known
       and less explored disparities in prostate cancer prognosis. Curr Probl Cancer.
       2015;39(1):11-16.

105.   Turo R, Jallad S, Prescott S, et al. Metastatic prostate cancer in transsexual diagnosed
       after three decades of estrogen therapy. Can Urol Assoc J. 2013;7(7-8):E544-E546.
       doi:10.5489/cuaj.175

106.   Centers for Medicare & Medicaid Services. Decision Memo for Gender Dysphoria and
       Gender Reassignment Surgery (CAG-00446N). Department of Health and Human
       Services; 2016.

107.   Centers for Medicare & Medicaid Services. Medicare and Medicaid Programs; Electronic
       Health Record Incentive Program—Stage 3 and Modifications to Meaningful Use in 2015
       through 2017. Department of Health and Human Services; 2015.

108.   Armstrong EM, Bellone JM, Hornsby LB, et al. Acquired thrombophilia. J Pharm Pract.
       2014;27(3):234-242. doi:10.1177/089719001453042466



                                                                                               125
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 164 of 180
109.   Baral SD, Poteat T, Stromdahl S, et al. Worldwide burden of HIV in transgender women:
       a systematic review and meta-analysis. Lancet Infect Dis. 2013;13(3):214-222.
       doi:10.1016/S1473-3099(12)70315-8

110.   Hembree WC. Guidelines for pubertal suspension and gender reassignment for
       transgender adolescents. Child Adolesc Psychiatr Clin N Am. 2011;20(4):725-732.
       doi:10.1016/j.chc.2011.08.004

111.   Milrod C. How young is too young: ethical concerns in genital surgery of the transgender
       MTF adolescent. J Sex Med. 2014;11(2):338-346. doi:10.1111/jsm.12387

112.   Milrod C, Karasic DH. Age is just a number: WPATH-affiliated surgeons’ experiences and
       attitudes toward vaginoplasty in transgender females under 18 years of age in the
       United States. J Sex Med. 2017;14(4):624-634. doi:10.1016/j.jsxm.2017.02.007

113.   Shumer DE, Spack NP. Current management of gender identity disorder in childhood
       and adolescence: guidelines, barriers and areas of controversy. Curr Opin Endocrinol
       Diabetes Obes. 2013;20(1):69-73. doi:10.1097/MED.0b013e32835c711e

114.   Bahorik AL, Leibowitz A, Sterling SA, et al. The role of hazardous drinking reductions in
       predicting depression and anxiety symptom improvement among psychiatry patients: a
       longitudinal study. J Affect Disord. 2016;206:169-173. doi:10.1016/j.jad.2016.07.039

115.   Simon GE, Rossom RC, Beck A, et al. Antidepressants are not overprescribed for mild
       depression. J Clin Psychiatry. 2015;76(12):1627-1632. doi:10.4088/JCP.14m09162




                                                                                              126
  Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 165 of 180
                      EXHIBIT E




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 166 of 180
See discussions, stats, and author profiles for this publication at: https://www.researchgate.net/publication/338665616



The Use of Methodologies in Littman (2018) Is Consistent with the Use of
Methodologies in Other Studies Contributing to the Field of Gender Dysphoria
Research: Response to Restar (...

Article in Archives of Sexual Behavior · January 2020
DOI: 10.1007/s10508-020-01631-z



CITATIONS                                                                                              READS

3                                                                                                      1,789

1 author:

            Lisa Littman
            Independent
            43 PUBLICATIONS 347 CITATIONS

                SEE PROFILE




                 Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 167 of 180
 All content following this page was uploaded by Lisa Littman on 20 January 2020.

 The user has requested enhancement of the downloaded file.
Archives of Sexual Behavior
https://doi.org/10.1007/s10508-020-01631-z

    LETTER TO THE EDITOR



The Use of Methodologies in Littman (2018) Is Consistent with the Use
of Methodologies in Other Studies Contributing to the Field of Gender
Dysphoria Research: Response to Restar (2019)
Lisa Littman1

Received: 28 December 2019 / Revised: 3 January 2020 / Accepted: 6 January 2020
© Springer Science+Business Media, LLC, part of Springer Nature 2020



Over the past decade, there have been striking changes in the                  The publication of Littman (2018) was met with strong and
demographics of patients presenting to clinics with gender                 polarized responses, including gratitude from parents of gender
dysphoria (Aitken et al., 2015; de Graaf, Giovanardi, Zitz,                dysphoric teens and outrage from some advocates on social
& Carmichael, 2018; Kaltiala et al., 2019; Zucker, 2017).1 It              media (Jussim, 2019; Wadman, 2018). Some clinicians and
appears that a new subgroup of gender dysphoric individu-                  researchers have expressed support for the research (Hutch-
als has emerged—a group comprised of predominantly natal                   inson, Midgen, & Spiliadis, 2019; Zucker, 2019), while oth-
female adolescents who did not have evidence of gender dys-                ers dismissed the research outright (Wadman, 2018). In some
phoria or significant gender-variant or gender stereotyped                 circles, criticism was centered on methodology (Restar, 2019).
nonconforming behaviors prior to puberty (Zucker, 2019).                   And although Littman (2018) was merely the first descriptive
Littman (2018), a descriptive study of parent reports, was the             study into a new area, within three weeks of its publication,
first empirical study of this new subgroup. The findings of                the World Professional Association for Transgender Health
Littman raised hypotheses about the potential roles of social              (WPATH), a large, international, advocacy organization, issued
influence and psychological mechanisms such as maladaptive                 a cautionary position statement about it (WPATH, 2018).
coping in the genesis and development of gender dysphoria in                   Why has the response been so intense? It seems that the
this new population. Since publication, several young women                strongest negative responses to the research have come from
who identified as transgender during their adolescence and                 individuals and organizations who are committed to the gen-
have since desisted or detransitioned have publicly stated that            der-aﬃrmative model of care (GAMC). The GAMC (or more
the phenomenon described in Littman was consistent with                    precisely the gender identity-aﬃrmative model of care) is an
their own lived experiences with gender dysphoria, including               approach where once a person expresses a gender identity,
that social media contributed to their transgender identification          regardless of their age, that identity is validated without delay
(Pique Resilience Project, 2019). Additionally, detransitioners            or questioning why or how they arrived at that conclusion. Then
(people who underwent medical and/or surgical transition for               social, medical, and surgical interventions are made available
gender dysphoria and then detransitioned by stopping medi-                 in accordance with several existing protocols (Ehrensaft, 2017;
cations or having surgery to reverse the changes from transi-              Raﬀerty, AAP Committee on Psychosocial Aspects of Child
tion) have described the roles that trauma (including sexual               and Family Health, AAP Committee on Adolescence, & AAP
trauma), homophobia, misogyny, psychiatric conditions, and                 Section on Lesbian, Gay, Bisexual, and Transgender Health
other psychosocial factors played in their own identification as           and Wellness, 2018; Wagner, Sackett-Taylor, Hodax, Forcier, &
transgender and belief that transition would be helpful to them            Raﬀerty, 2019). It is entirely possible that, at its core, the debate
(Callahan, 2018; D’Angelo, 2018; Herzog, 2017; Marchiano,                  about the research presented in Littman (2018) is a debate about
2017).                                                                     the GAMC and not a debate about methodology. I now believe
                                                                           that the potential implications of Littman (2018) (with respect
                                                                           to testing the new hypotheses regarding those with adolescent-
                                                                           onset or young adult-onset gender dysphoria) and the emerg-
* Lisa Littman
  Lisa_Littman@brown.edu                                                   ing realities of detransitioners’ lived experiences have been
                                                                           perceived as threatening to GAMC proponents because they
1
     Department of Behavioral and Social Sciences, Brown
                                                                           1
     University School of Public Health, 121 South Main Street,              See Table 1 for a list of relevant terms and definitions as they are used
     Box G-S121-4, Providence, RI 02912, USA                               in this Letter.


                                                                                                                                         13
                                                                                                                                   Vol.:(0123456789)

       Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 168 of 180
                                                                                                                    Archives of Sexual Behavior

Table 1 Relevant terms and definitions
Terms                                                                 Definitions

Natal sex, sex                                                        A person’s sex that was observed at the time of birth and, if genetic
                                                                       screening or sonogram was performed prenatally, prior to birth
Gender dysphoria and gender incongruence                              Gender dysphoria refers to the persistent discomfort from the incongru-
                                                                       ence between a person’s experienced gender identity and their natal
                                                                       sex. The term gender incongruence refers to the diﬀerence between
                                                                       experienced gender identity and natal sex but discomfort or distress
                                                                       is not required. Both terms are in use but for the rest of the Letter the
                                                                       term gender dysphoria will be used
Transgender-identified, transgender                                   An umbrella term describing people who identify as or express any
                                                                       gender identity that is not concordant with their natal sex
Gender stereotype nonconforming (GSNC), gender nonconforming          Having the interests, behaviors, aesthetics, personalities, or fashion
 (GNC)                                                                 preferences that do not conform to the stereotypes associated with
                                                                       one’s natal sex
Desist                                                                When the symptoms of gender dysphoria resolve and/or a person
                                                                       no longer identifies as transgender. A desister is a person who has
                                                                       desisted
Detransition                                                          When a person who has transitioned by using cross-sex hormones and/
                                                                       or surgery stops the process and either ceases the use of cross-sex
                                                                       hormones and/or has surgery to reverse the changes that occurred
                                                                       from the gender transition. A detransitioner is a person who has
                                                                       detransitioned
Gender identity-aﬃrmative model of care (GIAMC), gender-aﬃrma-        A model of care where the expressed gender identity of a person is
 tive model of care (GAMC)                                             aﬃrmed and social, medical, and surgical interventions are made
                                                                       available to them according to several existing protocols




challenge the premises and assumptions that underlie support           criteria) from the Netherlands study to an entirely diﬀerent pop-
for widespread use of the GAMC. It is possible that indeed they        ulation (one with adolescent-onset gender dysphoria and often
might be a threat.                                                     with significant psychiatric co-morbidities) will result in the
    Use of the GAMC rests on the following premises and                same outcomes achieved in the Netherlands. Furthermore, the
assumptions: It is beneficial for transgender-identified children      current recommendations for treating adolescents with puberty
and teens to be aﬃrmed without delay in the gender identity            blockers, cross-sex hormones, and surgery are acknowledged
that they express; identifying as transgender is not a mental          to be derived from low-quality and very-low-quality evidence
disorder; and if psychological or psychiatric issues are present,      (Hembree et al., 2017), and therefore current treatment recom-
they are most likely to be secondary to gender incongruence,           mendations may be quite vulnerable to challenges arising from
discrimination, minority stress, or stigma, and not intrinsic          new research.
to the person (Ehrensaft, 2017; Hidalgo et al., 2013; Lopez,              The findings of Littman (2018) directly challenge many of
Marinkovic, Eimicke, Rosenthal, & Olshan, 2017; Raﬀerty                the assumptions that underlie support for the GAMC. Con-
et al., 2018; Wagner et al., 2019). It is assumed that the benefits    sider the possibility of the following being confirmed by future
will usually exceed the risks when social, medical, and surgi-         research. If what has preliminarily been referred to as rapid
cal interventions for gender transition are provided to gender         onset gender dysphoria (ROGD) represents a new developmen-
dysphoric individuals and that delaying these interventions will       tal pathway to gender dysphoria and transgender identifica-
cause harm. The rationale used to assume beneficial outcomes           tion, one where psychosocial factors including social influence,
for gender dysphoric teens is based on a study from the Neth-          trauma, homophobia, maladaptive coping mechanisms, and
erlands (de Vries, Steensma, Doreleijers, & Cohen-Kettenis,            psychiatric disorders are contributing factors or even causal
2011; de Vries et al., 2014; Hembree et al., 2017). However,           to identifying as transgender, it would disprove the premise
the Netherlands study employed a rigorous evaluation pro-              that psychological issues can only be responses to negative
cess to determine eligibility for treatment and, by design, only       experiences, not intrinsic to the process. If it is confirmed that
included (and is therefore only applicable to) adolescents who         one population of gender dysphoric individuals is harmed by
had early-onset gender dysphoria and an absence of signifi-            approaches that aﬃrm gender identity without questioning and
cant psychopathology at baseline (Delamarre-van de Waal &              benefits from extended clinical assessment (Clarke & Spili-
Cohen-Kettenis, 2006; de Vries et al., 2011, 2014). It is an           adis, 2019) and a gender exploratory model (GEM) approach
assumption that applying the treatments (but not the eligibility       (Spiliadis, 2019), the evaluation process for gender dysphoric


13
         Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 169 of 180
Archives of Sexual Behavior

patients would become far more complex. If it is confirmed              & Mclaughlin, 2016; Riggs & Bartholomaeus, 2018; Riley,
that there is a population of gender dysphoric individuals for          Clemson, Sitharthan, & Diamond, 2013; Riley, Sitharthan,
whom the risks of social, medical, and surgical transition usu-         Clemson, & Diamond, 2011; Russell, Pollitt, Li, & Grossman,
ally exceed the benefits, it would undermine another GAMC               2018; Tebbe & Moradi, 2016; Timmins, Rimes, & Rahman,
assumption. In order to avoid the iatrogenic harms of misdiag-          2017). Table 2 lists eight articles that have been published in
nosis, failure to treat psychiatric conditions, and distress regard-    reputable journals, have been subsequently cited in the litera-
ing permanent eﬀects of medical and surgical interventions, the         ture, and share methodologies with those criticized in Littman.
GAMC would need to be reconsidered to expand the evaluation             Some have been used explicitly as reasons that the medical
process to determine which developmental pathway of gender              community should adopt the GAMC (Olson et al., 2016; Rus-
dysphoria has occurred, whether the patient’s gender dysphoria          sell et al., 2018). I have selected these articles not to suggest that
might be secondary to another condition (such as experienc-             they should be dismissed, but rather to make the point that these
ing trauma, homophobia, misogyny, psychiatric conditions, or            articles contribute to our understanding and that none of the
social influence), and whether the patient is likely to be helped       limitations noted are grounds to disqualify the research articles
or harmed by each of the interventions (social, medical, surgi-         out of hand. The following section is a side-by-side compari-
cal) before proceeding.                                                 son of selected methodologies which allows for the consistent,
    This Letter is in response to Restar (2019). Before detailing       non-preferential application of standards to these research arti-
my disagreements, it is worth highlighting what I take to be our        cles. Note that the original version of Littman (2018), before
common ground. I believe that people identifying as transgen-           revision, is included as supplemental information in Littman
der exist, deserve basic human rights and dignity, and have             (2019). For clarity, the versions will be referred to as Littman
faced substantial historical mistreatment that continues to this        (2018) (current) and Littman (2019) (original).2
day. I also believe that it is inappropriate to apply the findings in
Littman (2018) to all people experiencing gender dysphoria or           Parent Report
to deny that social, medical, and surgical interventions for the
purpose of gender transition are beneficial for some people who         The use of parent report to collect data about children’s mental
experience gender dysphoria. Arguments to the contrary reveal           and physical health is a well-established method of research
a misunderstanding of the results and caveats presented in Litt-        (Child and Adolescent Health Measurement Initiative, 2018).
man. Nevertheless, Restar (2019) contains numerous misrepre-            Collecting data by parent report has the advantages that data
sentations of Littman. Rather than engaging in a comprehensive          are collected from adults who are knowledgeable about the
point-by-point rebuttal, however, I refer interested readers back       child, able and willing to complete detailed surveys, and can
to the primary sources for clarification (Littman, 2018, 2019).         provide details that are not available by other methods. Limita-
Instead, I will focus my comments on two points that I think are        tions of parental report include that the information is second
essential. First, I want to respond to some of the methodologi-         hand and may be incomplete and carries the risk of parental
cal concerns raised in Restar. Specifically, I will argue that the      biases. The way that parent-report studies are usually handled
methodologies used in Littman (2018) are not unique to that             in the literature is that the method section will include details
work and are instead in common use and considered acceptable            indicating that the data were collected from parents and the dis-
in studies that are used to support the GAMC and in studies that        cussion section will acknowledge the limitations of this method.
do not challenge the GAMC. Second, I want to provide some               Table 3 compares three studies of parent report with Littman
new information, requested in Restar, that did not appear in            (2018). Compared to Olson et al. (2016), Littman (2019) (origi-
the published article due to length considerations. Restar inti-        nal), Littman (2018) (current), and Riley et al. (2011) provide
mated that the information was withheld because it concealed            greater emphasis that the study employed parent report for data
information that contradicted the thesis of Littman (2018). In          collection. Compared to Olson et al. (2016) and Riley et al.
fact, the information was consistent with the presented results.        (2011), Littman (2019) (original) and Littman (2018) (cur-
                                                                        rent) provided greater focus on the limitations of parent report.
                                                                        Additionally, with the purpose of adding more emphasis on
Side-by-Side Comparisons of Methodology
Use
                                                                        2
                                                                          When the article was revised after publication, PLoS ONE replaced
The methodologies singled out for criticism in Littman                  the original version with the revised version, maintaining the same
(2018)—parent-report, targeted recruitment, convenience sam-            doi number. So, the revised version is the version of record and has
ples, online and anonymous surveys—are used in research that            an August 2018 publication date. The correction notice was published
supports or is otherwise in line with the GAMC and appear to            in March 2019. For transparency, the originally published version was
                                                                        made available as supporting information (in an attachment) to the cor-
be considered perfectly acceptable in that context (e.g., Dickey,       rection notice. Thus, the current, revised version is Littman (2018) and
Reisner, & Juntunen, 2015; Olson, Durwood, Demeules,                    the original version is Littman (2019) in the supporting information.


                                                                                                                                   13
       Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 170 of 180
                                                                                                                   Archives of Sexual Behavior

Table 2 List of articles for comparison
References                         Title                                        Journal                                          Google
                                                                                                                                 scholar cited
                                                                                                                                 by #

Olson et al. (2016)            Mental health of transgender children who are    Pediatrics                                       301
                                supported in their identities
Russell et al. (2018)          Chosen name use is linked to reduced depres-     Journal of Adolescent Health                      37
                                sive symptoms, suicidal ideation, and
                                suicidal behavior among transgender youth
Dickey et al. (2015)           Non-suicidal self-injury in a large online       Professional Psychology: Research and             42
                                sample of transgender adults                     Practice
Riggs and Bartholomaeus (2018) Fertility preservation decision making           Reproductive Health                                4
                                amongst Australian transgender and non-
                                binary adults
Riley et al. (2011)            The needs of gender variant children and their   International Journal of Sexual Health            69
                                parents: A parent survey
Riley et al. (2013)            Surviving a gender-variant childhood: The        Journal of Sex and Marital Therapy                67
                                views of transgender adults on the needs of
                                gender-variant children and their parents
Tebbe and Moradi (2016)        Suicide risk in trans populations: An applica-   Journal of Counseling Psychology                  96
                                tion of minority stress theory
Timmins et al. (2017)          Minority stressors and psychological distress    Psychology of Sexual Orientation and Gender       27
                                in transgender individuals                       Diversity



Table 3 Parent report

References                 Methods section     Title indicates Conclusion        Limitations of parent report are acknowledged
                           indicates parent    parent report indicates parent
                           report                              report

Olson et al. (2016)        Yes                 No             No                 Yes. Two sentences
Riley et al. (2011)        Yes                 Yes            Yes                No. The limitations of parent report as a method are not
                                                                                  specifically acknowledged
Littman (2019) (original) Yes                  Yes            No                 Yes. Seven sentences
Littman (2018) (current) Yes                   Yes            Yes                Yes. Seven sentences plus 12 more sentences in an accom-
                                                                                  panying Correction notice (Littman 2019)



the use and limitations of parent report in Littman (2018), a          to generalizability. Ideally, information about recruitment is
correction notice was issued (Littman, 2019), which added 12           detailed enough to consider how likely or unlikely it is to lead
more sentences pertaining to the use and limitations of parent         to participants who are similar in some way. Table 4 includes
report to the existing seven sentences. Regarding the standards        comparisons of seven articles with Littman (2018) (current)
for reporting the use and limitations of parent report in research,    and Littman (2019) (original) on the topics of: how specific the
Littman (2018) (current) and Littman (2019) (original) met and         information was about recruitment; how likely the participants
exceeded the standards applied to other parent-report studies.         are to have ideological similarities; and whether the limitations
                                                                       have been acknowledged in terms of recruitment methods, self-
Recruitment Methods and Convenience Samples                            selection, or generalizability.
                                                                          Littman (2018) (current) and Littman (2019) (original) pro-
The use of targeted recruitment and convenience samples has            vided the most specific information about recruitment sites,
the advantage of connecting with hard-to-reach populations but         including the names of targeted Web sites. Littman (2018)
introduces limitations associated with selection bias. Depend-         (current) additionally provided paragraph-long descriptions
ing on the targets and methods of recruitment, there is risk           of each site known to have hosted recruitment information and
that the respondents might be ideologically similar or similar         referenced links to digitally archived screenshots of the sites
in other ways that could limit the generalizability of the find-       from the period of time that recruitment took place. In contrast,
ings. Customarily, this concern is addressed in research arti-         most of the articles in Table 4 were vague about the specific
cles by acknowledging the risk and noting that there are limits        groups and Web sites targeted and none provided the names


13
       Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 171 of 180
                                                                               Table 4 Targeted recruitment, convenience samples
                                                                               References                       Specificity of detail to determine ideological or other   Likelihood of ideological or other similarities among      Acknowledged limitations regarding
                                                                                                                similarities                                              participants                                               recruitment, self-selection, or generaliz-
                                                                                                                                                                                                                                     ability

                                                                               Olson et al. (2016)            Limited specificity. Groups, conferences, and websites      Likely to have some ideological homogeneity as social Yes
                                                                                                               not named. Wording: “support groups, conferences,           transition was not recommended at the time of recruit-
                                                                                                               a website advertised via media stories and word of          ment and sites were related to support groups and
                                                                                                                                                                                                                                                                                  Archives of Sexual Behavior




                                                                                                               mouth”                                                      conferences on this topic
                                                                               Russell et al. (2018)          Very limited specificity. Recruitment sites, groups not     Unknown                                                 No
                                                                                                               named. Wording: “Data come from a community
                                                                                                               cohort sample of lesbian, gay, bisexual, transgender,
                                                                                                               and queer youth, and youth with same sex attrac-
                                                                                                               tions, recruited in three US cities (one each in the
                                                                                                               Northeast, the Southwest, and the West Coast)…” The
                                                                                                               Acknowledgments section of the article mentions “…
                                                                                                               site coordinators, staﬀ of the community organiza-
                                                                                                               tions, and leaders of college groups who cooperated in
                                                                                                               recruiting participants”
                                                                               Dickey et al. (2015)           Limited specificity. Social media groups, clinics,          Unknown                                                    Yes
                                                                                                               specialists, and conferences not named. General terms
                                                                                                               used in wording: “Yahoo! Groups and Facebook,”
                                                                                                               “Yahoo! Groups relevant to TGNC community,” “gen-
                                                                                                               der clinics and specialists,” and “four conferences for
                                                                                                               the TGNC community”
                                                                               Riggs and Bartholomaeus (2018) Limited specificity. Organizations and groups were          Unknown                                                    Yes
                                                                                                               not named. Wording: “…Australian organizations
                                                                                                               and groups made up of and/or working with people
                                                                                                               who are transgender or non-binary, including broader
                                                                                                               ‘LGBT’ organizations”
                                                                               Riley et al. (2011)            Mixed specificity. Some publications and newspapers         Participants recruited from WPATH listservs and            Yes
                                                                                                               were named. Websites and radio programs were not            conference proceedings are likely to be ideologi-
                                                                                                               named. WPATH listservs and conference proceedings           cally similar. It is possible to check the likelihood
                                                                                                               were named. Wording: “…targeted various publica-            of ideological similarity of the named publications.
                                                                                                               tions (e.g., Sydney’s Child, Polare), newspaper articles    Cannot tell likelihood of ideological similarities from
                                                                                                               (Sydney Star Observer, Sydney Morning Herald),              unnamed sources
                                                                                                               websites, radio programs, and in international Listserv
                                                                                                               and conference proceedings of the World Professional
                                                                                                               Association for Transgender Health”
                                                                               Tebbe and Moradi (2016)        Limited specificity. Sites and online communities not       Unknown                                                    Yes
                                                                                                               named. Wording: “…online social networking venues
                                                                                                               and groups (e.g. Reddit, Facebook, email list servs) for
                                                                                                               trans individuals.” Plus outreach to “online communi-
                                                                                                               ties of racial and ethnic minority populations and trans
                                                                                                               people of color specifically”




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 172 of 180
                                                                          13
                                                                                                                                                                                                                                              Archives of Sexual Behavior

                                                                                                                                                                                                    of the Web sites used for recruitment. The participants from
                      recruitment, self-selection, or generaliz-
                      Acknowledged limitations regarding                                                                                                                                            Olson et al. (2016) and Littman (2019) (original) were likely
                                                                                                                                                                                                    to have ideological similarities with others in their respective
                                                                                                                                                                                                    samples. However, most of the other articles did not provide
                                                                                                                                                                                                    enough information to determine how likely or unlikely it was
                                                                                                                                                                                                    that participants were ideologically homogenous. Addition-
                                                                                                                                                                                                    ally, Littman (2018) (current) documented recruitment from
                                                                                                                                                                                                    sites with contrasting ideologies. Non-representativeness of
                                                                                                                                                                                                    samples in terms of sex, race/ethnicity, education, income, age
                                                                                                                                                                                                    of social transition, and sexual orientation are noted in Olson
                      ability




                                                                                                                                                                                                    et al. (2016), Dickey et al. (2015), Riley et al. (2011), Tebbe and
                                                                                Yes




                                                                                                                           Yes




                                                                                                                                                                 Yes
                                                                                                                                                                                                    Moradi (2016), and Littman (2018). Regarding documenting
                                                                                                                                                                                                    the use of targeted recruitment and convenience samples, pro-


                                                                                                                                           Four groups likely to represent contrasting ideologies
                      Likelihood of ideological or other similarities among




                                                                                                                                                                                                    viding details about recruitment sources, and acknowledging
                                                                                                                                                                                                    limitations regarding recruitment, self-selection, or generaliz-
                                                                                                                                           Likely to have some ideologically homogeneity




                                                                                                                                                                                                    ability, Littman (2018) (current) and Littman (2019) (original)
                                                                                                                                                                                                    met and exceeded the standards applied in other studies.

                                                                                                                                                                                                    Author-Created Survey Questions

                                                                                                                                                                                                    It is not uncommon for researchers to create new survey ques-
                                                                                                                                                                                                    tions or adapt existing measures for use when exploring a topic.
                                                                                                                                                                                                    When this occurs, there may be a statement that the questions
                                                                                                                                                                                                    were created with feedback from other professionals, that they
                                                                                                                                                                                                    were tested with members of the target population, or that they
                      participants


                                                                                                                                           Unknown




                                                                                                                                                                                                    were tested for internal reliability or validity. Although this
                                                                                                                                                                                                    information was not included in Littman (2018), the develop-
                                                                                                                                                                                                    ment of the survey instrument was conducted with the feedback
                                                                                 The specific details included links to digitally archived




                                                                                                                                                                                                    from four members of the target population for content and clar-
                                                                                 Websites aimed at the lesbian, gay, bisexual, transgen-


                                                                                 forums, Listservs, mailing lists, and sections on social


                                                                                 hosting recruitment information. Wording: “placed on
                                                                                 named. Wording: “via advertisements on online press




                                                                                 Transcritical Professionals)” plus snowball sampling
                                                                                 been observed to describe rapid onset of gender dys-
                                                                                 der, and other gender and sexual minority (LGBT +)




                                                                                 phoria (4thwavenow, Transgender Trend, and Youth

                                                                                Very specific details including names of websites and


                                                                                 screenshots of the sites from the period of time that
                      Specificity of detail to determine ideological or other




                                                                                                                                                                                                    ity. Of the six research articles in Table 5, one article, Tebbe and
                                                                                 three websites where parents and professionals had




                                                                                 section describing each known site of recruitment.
                                                                                 community, posts on targeted and general Internet


                                                                                Specific details including the names of the websites
                                                                                Limited specificity. Websites, forums, listservs not




                                                                                                                                                                                                    Moradi (2016), employed all three processes; Riley et al. (2013)
                                                                                                                                                                                                    employed two processes; Riley et al. (2011), Timmins et al.
                                                                                                                                                                                                    (2017), and Littman (2018) employed one process. Although
                                                                                 media sites, and snowball sampling”




                                                                                                                                                                                                    Riggs and Bartholomaeus (2018) did not employ feedback from
                                                                                                                                                                                                    other professionals, one author created the survey and the other
                                                                                                                                                                                                    provided feedback. Overall, the evaluation of author-created
                                                                                 the recruitment took place




                                                                                                                                                                                                    research questions in Littman (2018) is within the range of other
                                                                                                                                                                                                    articles in this literature, although it is on the lighter side.

                                                                                                                                                                                                    Online Surveys
                      similarities




                                                                                                                                                                                                    Online surveys are becoming increasingly common likely due
                                                                                                                                                                                                    to their broad reach and relative low expense. Researchers
                                                                                                                                                                                                    choose to collect or not collect IP addresses in online surveys
                                                                                                                                                                                                    based on the specifics of the research topic and the degree to
                                                                                                                                                                                                    which they are guaranteeing the anonymity of the partici-
                                                                                                                                                                                                    pants. Providing anonymity to participants by not tracking IP
                                                                                                                           Littman (2019) (original)




                                                                                                                                                                 Littman (2018) (current)
                                                                                Timmins et al. (2017)




                                                                                                                                                                                                    addresses has an advantage for topics that are stigmatizing in
Table 4 (continued)




                                                                                                                                                                                                    that the anonymity can allow participants to be more honest in
                                                                                                                                                                                                    their responses. It introduces the limitation that the researcher
                      References




                                                                                                                                                                                                    cannot verify the identity and experiences of the participants
                                                                                                                                                                                                    or remove potential duplicate surveys. Table 6 summarizes
                                                                                                                                                                                                    how seven research articles managed the use of IP addresses.


     13
                                               Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 173 of 180
Archives of Sexual Behavior

Table 5 Author-created questions
Article                            Feedback from other professionals        Feedback from target population              Testing of internal
                                                                                                                         validity or reli-
                                                                                                                         ability

Riggs and Bartholomaeus (2018) Other (survey questions were written by      No                                           No
                                one author, feedback provided by other
                                author)
Riley et al. (2011)            Yes, 3 professionals                         No                                           No
Riley et al. (2013)            Yes, number not provided                     Yes, number not provided                     No
Tebbe and Moradi (2016)        Yes, 2 researchers                           Yes, 3 members of the target population      Yes
Timmins et al. (2017)          No                                           No                                           Yes
Littman (2018)                 No                                           Yes, four members of the target population   No



Littman (2018) was not notably diﬀerent in this regard from            in assessing essential attributes that will come to define new
other research articles in the field.                                  areas of study and lays the groundwork necessary for sub-
                                                                       sequent research to confirm or disconfirm the findings. The
Burden of Memory for Recall                                            detailed side-by-side comparisons in this Letter demonstrate
                                                                       that the use of research methods in Littman (2018) was conso-
When asking participants to recall events that occurred many           nant with the use of research methods in other research articles
years prior to the completion of a survey, one concern is              contributing to the field of gender dysphoria research. It would
whether it is likely to tax their memory. The vast majority of         be logically consistent to take the position that all studies that
the survey questions in Littman (2018) pertained to the period         use imperfect or limited methodologies should be erased from
of time around the adolescent and young adult (AYA) announc-           the literature. I prefer to acknowledge the formative power of
ing a transgender identification to the time of survey comple-         this kind of work and respect the contributions made by Olson
tion which was, on average, 15 months (median, 11 months).             et al. (2016), Russell et al. (2018), Dickey et al. (2015), Riggs
However, there are several questions that asked parents to recall      and Bartholomaeus (2018), Riley et al. (2011, 2013), Tebbe
events that occurred earlier in childhood (range of AYA ages           and Moradi (2016), Timmins et al. (2017), and Littman (2018)
were 11–27 years). Table 7 compares the maximum burden of              and believe that they can be appreciated even while we remain
memory for several articles in the field. The burden of memory         aware of the shortcomings of their selected methodologies.
asked of the participants in Littman (2018) is not outside the
boundaries of other research in this literature.                       Additional Information

                                                                       Restar (2019) inquired about the rationale and justification for
Provision of Consent and Full Survey Instrument                        survey questions and responses that did not appear in Littman
                                                                       (2018). I will take this opportunity to share some information
The practice of including the consent and full survey instru-          that, due to length considerations, was not included in the paper.
ment as part of the publication is rare. Littman (2018) is the
only article in Table 8 for which either was provided. Restar          Gender and Sexual Minority-Related Attitude Items
(2019) raised concerns about the wording of the consent and
that not all questions in the survey instrument were used in the       To obtain information about participant attitudes toward the
publication. It is impossible to tell whether a similar critique       rights of LBGT individuals, I included four questions in the
could be made of the other papers because their consent and            survey where the same or similar questions have appeared
survey instruments are not readily available. The concern that         in national polls (Jones & Cox, 2011; Jones, Cox, Cooper, &
the wording of the consent may have led to self-selection in           Lienesch, 2017; Pew Research Center for the People and the
survey sample is valid. Nevertheless, limits to generalizability       Press, 2011). The results from all four questions showed that the
due to recruitment methods had already been acknowledged in            participants in my study supported the rights of people who are
the research article.                                                  LGBT at similar or higher levels than participants in national
   No study is perfect—all methods have strengths and limita-          U.S. samples. For the article, I chose to report on two questions
tions. Researchers should make every eﬀort to design studies           rather than all four because including the additional questions
to minimize limitations and maximize strengths. Exploratory            added minimal value while increasing the length of the paper.
descriptive research, like Littman (2018), is less definitive than     Between the two questions concerning transgender people, I
other designs. Nevertheless, such work plays an important role         selected the question where the wording and content of the


                                                                                                                                13
          Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 174 of 180
                                                                                                                      Archives of Sexual Behavior

Table 6 Online surveys
References                                     IP address tracking                                             Duplicate IP address management

Dickey et al. (2015)                           IP addresses were not tracked                                   N/A
Riggs and Bartholomaeus (2018)                 IP addresses were not tracked                                   N/A
Riley et al. (2011)                            Did not mention tracking or not tracking IP addresses           Not mentioned
Riley et al. (2013)                            Did not mention tracking or not tracking IP addresses           Not mentioned
Tebbe and Moradi (2016)                        IP addresses were tracked                                       Four surveys removed due to
                                                                                                                duplicate IP addresses
Timmins et al. (2017)                          Did not mention tracking or not tracking IP addresses           Not mentioned
Littman (2018)                                 IP addresses were not tracked                                   N/A



Table 7 Memory burden
References               Nature of questions                                         Maximum memory recall burden

Dickey et al. (2015)     Exploring NSSI occurrences over the course of partici-      > 54.3 years (mean age of participants was 40.4 years with
                          pants’ lifetime                                             a SD of 13.9)
Riley et al. (2011)      Exploring the needs of gender-variant children and the      25 + years (children were between the ages of 0 and 25 +;
                          needs of their parents                                      84% of the children were aged 18 and younger)
Riley et al. (2013)      Exploring the childhoods of transgender adults              66 + years (44% of participants were aged 45 and younger;
                                                                                      96% were aged 65 and younger)
Timmins et al. (2017) Exploring a lifetime of experiences                            78 years (mean age of participants was 28.5 years with a
                                                                                      range of 16–78 years)
Littman (2018)           Exploring parent reports of events over an adolescent or    27 years (mean age of the AYA was 16.4 with a range of
                          young adult’s (AYA) lifetime though most questions          11–27 years; duration of time since announcement of
                          explore the time when the child became transgender-         transgender identification was 15 months [mean] and
                          identified to the present                                   11 months [median])




question were closer to the wording and content of the ques-                Table 8 Provision of consent and full survey instrument
tion used in the national surveys. Between the two questions                References                             Survey instrument   Consent
concerning gay and lesbian couples, I selected the question that                                                   provided            provided
could be reported more concisely. Table 9 shows the results
of all four questions along with comparisons to responses in                Olson et al. (2016)                    No                  No
                                                                            Russell et al. (2018)                  No                  No
national samples. The responses to all four questions tell a con-
                                                                            Dickey et al. (2015)                   No                  No
sistent story—in terms of overall LGBT attitudes, the sample
                                                                            Riggs and Bartholomaeus (2018)         No                  No
of participants in Littman (2018) was similar or stronger in
                                                                            Riley et al. (2011)                    No                  No
their support of LGBT rights than participants in U.S. national
                                                                            Riley et al. (2013)                    No                  No
samples.
                                                                            Tebbe and Moradi (2016)                No                  No
                                                                            Timmins et al. (2017)                  No                  No
Parents with More Than One Child with a Sudden
                                                                            Littman (2018)                         Yes                 Yes
or Rapid Onset of Their Gender Dysphoria

Restar (2019) raised concern about multiple participants com-
pleting multiple surveys specifically regarding the instruction             experiencing a sudden or rapid onset of gender dysphoria. A
that parents who had more than one child exhibiting a sud-                  review of the personal characteristics of those eight respondents
den onset of gender dysphoria should complete one survey                    (age, sex, race/ethnicity, highest educational degree, country
per child. Requesting separate responses for separate children              and/or US region of residence, etc.) determined that no two of
made it easier to document the details of each child individu-              the eight had the same constellation of personal characteristics.
ally. However, it also meant that responses were not statisti-              Therefore, it appears that those with two or more children did
cally independent—some parents’ perspectives could be                       not, in fact, complete the survey more than once, and thus, none
overrepresented in the data. In total, eight (3.1%) of the 256              of these parents were multiply represented in the data.
parent-respondents indicated that they had more than one child


13
       Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 175 of 180
                                                                               Table 9 Gender and sexual minority-related attitude items
                                                                               Question wording                                  Participants in Littman (2018) sample (%) Participants in national samples (%)          Comparison
                                                                                                                                                                                                                                                                          Archives of Sexual Behavior




                                                                               Do you believe that transgender people            Yes 88.2%                                 Agree 89% (Jones & Cox, 2011)                 Participants in Littman (2018) and a U.S.
                                                                                deserve the same rights and protections as       No 3.1%                                                                                  national sample (Jones & Cox, 2011) had
                                                                                other individuals in your country?               Don’t know 7.8%                                                                          similar levels of support for the rights and
                                                                               For Jones and Cox (2011), results were reported   Other 0.8%                                                                               protections of transgender people
                                                                                as “…agree that transgender people should
                                                                                have the same rights and protections as other
                                                                                Americans”

                                                                               Would you support or oppose a law to protect      Support 83%                               Favor 70%                                    The percentage of respondents in Littman (2018)
                                                                                transgender people from discrimination in        Oppose 3.5%                               Oppose 26%                                    indicating that they would support a law to
                                                                                employment and housing? (Littman, 2018)          Don’t know 9.0%                           Don’t know/refused 5% (Jones, Cox, Cooper, &  protect transgender people from discrimination
                                                                               Do you favor or oppose laws that would protect    Other 4.3%                                 Lienesch, 2017)                              was higher than the percentage of respondents
                                                                                gay, lesbian, bisexual, and transgender people                                                                                           in a national sample (Jones, Cox, Cooper, &
                                                                                against discrimination in jobs, public accom-                                                                                            Lienesch, 2017) indicating that they would
                                                                                modations, and housing? (Jones, Cox, Cooper,                                                                                             support laws to protect LGBT people against
                                                                                & Lienesch, 2017)                                                                                                                        discrimination


                                                                               Do you strongly favor, favor, oppose, or          Favor 85.9%                               Favor 45%                                    Compared to two U.S. national surveys (Pew
                                                                                strongly oppose allowing gay and lesbian         Oppose 7.4%                               Oppose 46%                                    Research Center for the People and the Press,
                                                                                couples to marry legally?                        Don’t know 6.6%                           Don’t know/refused 9% (Pew Research Center    2011; Jones, Cox, Cooper, & Lienesch, 2017),
                                                                               Same options and wording for Jones, Cox,                                                     for the People and the Press, 2011)          a higher percentage of respondents from Litt-
                                                                                Cooper, and Lienesch (2017) and Pew                                                        Favor 63%                                     man (2018) favored allowing gay and lesbian
                                                                                Research Center for the People and the Press                                               Oppose 34%                                    couples to marry legally
                                                                                (2011)                                                                                     Don’t know/refused 4% (Jones, Cox, Cooper, &
                                                                                                                                                                            Lienesch, 2017)

                                                                               More gay and lesbian couples raising children     Good 42.1%                                Good 14%                                      Compared to a national survey (Pew Research
                                                                                is ___ for society? (options: good thing, bad    Does not make much diﬀerence 39.0%        Does not make much diﬀerence 48%               Center for the People and the Press, 2011),
                                                                                thing, does not make much diﬀerence, don’t       Bad 8.3%                                  Bad 35%                                        higher percentages of respondents in Littman
                                                                                know)                                            Don’t know 10.6%                          Don’t know/refused 3% (Pew Research Center     (2018) indicated that more gay and lesbian
                                                                                                                                                                            for the People and the Press, 2011)           couples raising children is a “good thing”
                                                                                                                                                                                                                          and lower percentages indicated it was a “bad
                                                                                                                                                                                                                          thing”
                                                                               The questions that were reported in Littman (2018) are in bold




Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 176 of 180
                                                                          13
                                                                                                                                  Archives of Sexual Behavior


Conclusion                                                                        References

Side-by-side comparisons demonstrate that the use of meth-                        Aitken, M., Steensma, T. D., Blanchard, R., Vanderlaan, D. P., Wood,
                                                                                       H., Fuentes, A., … Zucker, K. J. (2015). Evidence for an altered sex
odologies in Littman (2018) was consistent with those used                             ratio in clinic-referred adolescents with gender dysphoria. Journal of
elsewhere in the gender dysphoria research literature. It is plau-                     Sexual Medicine, 12(3), 756–763. https://doi.org/10.1111/jsm.12817.
sible that the heated debate over the publication of Littman is                   Callahan, C. (2018). Unheard voices of detransitioners. In H. Brunskell-
less about the specifics of the methodology and more about the                         Evans & M. Moore (Eds.), Transgender children and young people:
                                                                                       Born in your own body (pp. 166–180). Newcastle upon Tyne, Eng-
perception of the study’s findings as a threat to the continued                        land: Cambridge Scholars Publishing.
use of the GAMC. The appropriate next steps to determine                          Child and Adolescent Health Measurement Initiative. (2018). “Fast Facts:
whether the hypotheses regarding psychosocial factors con-                             2017 National Survey of Children’s Health.” Data Resource Center
tributing to the development of gender dysphoria can be con-                           for Child and Adolescent Health, supported by Cooperative Agree-
                                                                                       ment U59MC27866 from the U.S. Department of Health and Human
firmed should be well-documented case reports and research                             Services, Health Resources and Services Administration’s Maternal
that collects data first-hand from individuals who experienced                         and Child Health Bureau (HRSA MCHB). www.childhealthdata.org.
gender dysphoria themselves. If the hypotheses are confirmed,                          Revised 9/26/18. Retrieved December 20, 2019, from https://www.
thoughtful and respectful debate that prioritizes the long-term                        childhealt hdata.org/docs/defau lt-sourc e/defau lt-docum ent-libra
                                                                                       ry/2017-nsch-fast-facts_final60ba3af3c0266255aab2ﬀ00001023
health and well-being of all individuals who experience gender                         b1.pdf?sfvrsn=659c5817_0.
dysphoria over the desire to defend the continued use of the                      Clarke, A. C., & Spiliadis, A. (2019). ‘Taking the lid oﬀ the box’: The value
GAMC should ensue.                                                                     of extended clinical assessment for adolescents presenting with gen-
    Going forward, in order to promote the long-term health                            der identity diﬃculties. Clinical Child Psychology and Psychiatry,
                                                                                       24(2), 338–352. https://doi.org/10.1177/1359104518825288.
and well-being of all people who experience gender dysphoria                      D’Angelo, R. (2018). Psychiatry’s ethical involvement in gender-aﬃrm-
(not only those who might benefit from the GAMC approach),                             ing care. Australasian Psychiatry, 26(5), 460–463. https ://doi.
we need a comprehensive understanding of gender dysphoria                              org/10.1177/1039856218775216.
and transgender identification. Therefore, research is needed to                  de Graaf, N. M., Giovanardi, G., Zitz, C., & Carmichael, P. (2018). Sex
                                                                                       ratio in children and adolescents referred to the Gender Identity
explore: the multiple developmental pathways to gender dys-                            Development Service in the UK (2009–2016) [Letter to the Edi-
phoria and transgender identification; the trajectories of gender                      tor]. Archives of Sexual Behavior, 47(5), 1301–1304. https://doi.
dysphoria and transgender identification including desistance                          org/10.1007/s10508-018-1204-9.
and persistence; the myriad of outcomes from social, medi-                        de Vries, A. L. C., McGuire, J. K., Steensma, T. D., Wagenaar, E. C. F.,
                                                                                       Doreleijers, T. A. H., & Cohen-Kettenis, P. T. (2014). Young adult
cal, and surgical transition (including positive, negative, and                        psychological outcome after puberty suppression and gender reas-
mixed outcomes); and the role of exploratory psychotherapies                           signment. Pediatrics, 134(4), 696–704. https ://doi.org/10.1542/
that are neither gender identity-aﬃrmative nor gender identity-                        peds.2013-2958.
reparative. The development and testing of approaches that                        de Vries, A. L. C., Steensma, T. D., Doreleijers, T. A., & Cohen-Kettenis,
                                                                                       P. T. (2011). Puberty suppression in adolescents with gender identity
are exploratory and emotional growth-affirmative, healthy                              disorder: A prospective follow-up study. Journal of Sexual Medicine,
development-aﬃrmative, and whole-person/positive mental                                8(8), 2276–2283. https://doi.org/10.1111/j.1743-6109.2010.01943.x.
health-aﬃrmative may ultimately provide reasonable alterna-                       Delamarre-van de Waal, H. A., & Cohen-Kettenis, P. T. (2006). Clinical
tives to approaches that are gender identity-aﬃrmative. And                            management of gender identity disorder in adolescents: A protocol
                                                                                       on psychological and paediatric endocrinology aspects. European
finally, until there are long-term studies of individuals with                         Journal of Endocrinology, 155(Suppl_1), S131–S137. https://doi.
adolescent-onset and young adult-onset gender dysphoria to                             org/10.1530/eje.1.02231.
determine their rates of desistance and persistence and the risks,                Dickey, L. M., Reisner, S. L., & Juntunen, C. L. (2015). Non-suicidal
benefits, and alternatives to specific interventions, patients and                     self-injury in a large online sample of transgender adults. Profes-
                                                                                       sional Psychology: Research and Practice, 46(1), 3–11. https://doi.
their families deserve honest and accurate counseling about the                        org/10.1037/a0038803.
lack of evidence to support current treatment options for them.                   Ehrensaft, D. (2017). Gender nonconforming youth: Current perspectives.
                                                                                       Adolescent Health, Medicine and Therapeutics, 8, 57–67. https://doi.
Acknowledgments The author would like to thank two colleagues for pro-                 org/10.2147/ahmt.s110859.
viding feedback on earlier versions of this Letter. The opinions expressed in     Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E.,
this Letter are those of the author and do not necessarily reflect the position        Meyer, W. J., Murad, M. H., … T’Sjoen, G. G. (2017). Endocrine
or opinions of any institution, organization, or company with which she                treatment of gender-dysphoric/gender-incongruent persons: An
may be aﬃliated.                                                                       Endocrine Society* Clinical Practice Guideline. Journal of Clinical
                                                                                       Endocrinology and Metabolism, 102(11), 3869–3903. https://doi.
                                                                                       org/10.1210/jc.2017-01658.
Compliance with Ethical Standards                                                 Herzog, K. (2017). The detransitioners: They were transgender, until they
                                                                                       weren’t. Retrieved January 3, 2020, from https://www.thestrange
Conflict of interest The author declares that she has no conflict of interest.         r.com/features/2017/06/28/25252342/the-detransitioners-they-were-
                                                                                       transgender-until-they-werent.
Ethical Approval This Letter does not contain any studies with human              Hidalgo, M. A., Ehrensaft, D., Tishelman, A. C., Clark, L. F., Garofalo, R.,
participants performed by the author.                                                  Rosenthal, S. M., … Olson, J. (2013). The gender aﬃrmative model:



13
        Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 177 of 180
Archives of Sexual Behavior

     What we know and what we aim to learn. Human Development,                     the Editor]”. Archives of Sexual Behavior. https://doi.org/10.1007/
     56(5), 285–290. https://doi.org/10.1159/000355235.                            s10508-019-1453-2.
Hutchinson, A., Midgen, M., & Spiliadis, A. (2019). In support of research    Riggs, D. W., & Bartholomaeus, C. (2018). Fertility preservation deci-
     into rapid-onset gender dysphoria [Letter to the Editor]. Archives            sion making amongst Australian transgender and non-binary adults.
     of Sexual Behavior. https://doi.org/10.1007/s10508-019-01517-9.               Reproductive Health, 15(1), 181. https ://doi.org/10.1186/s1297
Jones, R. P., & Cox, D. (2011). Most Americans favor rights and legal              8-018-0627-z.
     protections for transgender people. Retrieved January 3, 2020, from      Riley, E. A., Clemson, L., Sitharthan, G., & Diamond, M. (2013). Surviv-
     https ://www.prri.org/resea rch/ameri can-attit udes-towards-trans            ing a gender-variant childhood: The views of transgender adults on
     gender-people/.                                                               the needs of gender-variant children and heir parents. Journal of Sex
Jones, R. P., Cox, D., Cooper, B., & Lienesch, R. (2017). Majority of Amer-        and Marital Therapy, 39(3), 241–263. https://doi.org/10.1080/00926
     icans oppose transgender bathroom restrictions. Retrieved January             23x.2011.628439.
     3, 2020, from https://www.prri.org/research/lgbt-transgender-bathr       Riley, E. A., Sitharthan, G., Clemson, L., & Diamond, M. (2011). The
     oom-discrimination-religious-liberty/.                                        needs of gender-variant children and their parents: A parent survey.
Jussim, L. (2019). Rapid onset gender dysphoria. Retrieved January 3,              International Journal of Sexual Health, 23(3), 181–195. https://doi.
     2020, from https://www.psychologytoday.com/us/blog/rabble-rouse               org/10.1080/19317611.2011.593932.
     r/201903/rapid-onset-gender-dysphoria.                                   Russell, S. T., Pollitt, A. M., Li, G., & Grossman, A. H. (2018). Cho-
Kaltiala, R., Bergman, H., Carmichael, P., Graaf, N. M. D., Rischel, K.            sen name use is linked to reduced depressive symptoms, suicidal
     E., Frisén, L., … Waehre, A. (2019). Time trends in referrals to child        ideation, and suicidal behavior among transgender youth. Journal of
     and adolescent gender identity services: A study in four Nordic               Adolescent Health, 63(4), 503–505. https://doi.org/10.1016/j.jadoh
     countries and in the UK. Nordic Journal of Psychiatry. https://doi.           ealth.2018.02.003.
     org/10.1080/08039488.2019.1667429.                                       Spiliadis, A. (2019). Towards a gender exploratory model: Slowing things
Littman, L. (2018). Parent reports of adolescents and young adults per-            down, opening things up and exploring identity development. Meta-
     ceived to show signs of a rapid onset of gender dysphoria. PLoS ONE.          logos Systemic Therapy Journal, 35, 1–9.
     https://doi.org/10.1371/journal.pone.0202330.                            Tebbe, E. A., & Moradi, B. (2016). Suicide risk in trans populations: An
Littman, L. (2019). Correction: Parent reports of adolescents and young            application of minority stress theory. Journal of Counseling Psychol-
     adults perceived to show signs of a rapid onset of gender dysphoria.          ogy, 63(5), 520–533. https://doi.org/10.1037/cou0000152.
     PLoS ONE. https://doi.org/10.1371/journal.pone.0214157.                  Timmins, L., Rimes, K. A., & Rahman, Q. (2017). Minority stressors
Lopez, X., Marinkovic, M., Eimicke, T., Rosenthal, S. M., & Olshan, J. S.          and psychological distress in transgender individuals. Psychology of
     (2017). Statement on gender-aﬃrmative approach to care from the               Sexual Orientation and Gender Diversity, 4(3), 328–340. https://doi.
     Pediatric Endocrine Society Special Interest Group on Transgender             org/10.1037/sgd0000237.
     Health. Current Opinion in Pediatrics, 29(4), 475–480. https://doi.      Wadman, M. (2018). New paper ignites storm over whether teens experi-
     org/10.1097/mop.0000000000000516.                                             ence ‘rapid onset’ of transgender identity. Science, 361, 958–959.
Marchiano, L. (2017). Outbreak: On transgender teens and psychic              Wagner, J., Sackett-Taylor, A. C., Hodax, J. K., Forcier, M., & Raﬀerty, J.
     epidemics. Psychological Perspectives: A Quarterly Journal of                 (2019). Psychosocial overview of gender-aﬃrmative care. Journal
     Jungian Thought, 60(3), 345–366. https://doi.org/10.1080/00332                of Pediatric and Adolescent Gynecology, 32(6), 567–573. https://doi.
     925.2017.1350804.                                                             org/10.1016/j.jpag.2019.05.004.
Olson, K. R., Durwood, L., Demeules, M., & Mclaughlin, K. A. (2016).          World Professional Association for Transgender Health. (2018). WPATH
     Mental health of transgender children who are supported in their              POSITION ON “Rapid-Onset Gender Dysphoria (ROGD).”
     identities. Pediatrics, 137(3), 31–38. https ://doi.org/10.1542/              Retrieved January 3, 2020, from https://www.wpath.org/media/cms/
     peds.2015-3223.                                                               Documents/PublicPolicies/2018/9_Sept/WPATHPositiononRapid
Pew Research Center for the People and the Press. (2011). Beyond red               -OnsetGenderDysphoria_9-4-2018.pdf.
     vs. blue political typology. Retrieved January 3, 2020, from http://     Zucker, K. J. (2017). Epidemiology of gender dysphoria and transgender
     assets.pewresearch.org/wp-content/uploads/sites/5/2011/05/Beyon               identity. Sexual Health, 14(5), 404–411. https://doi.org/10.1071/
     d-Red-vs-Blue-The-Political-Typology.pdf.                                     sh17067.
Pique Resilience Project. (2019). Retrieved January 3, 2020, from https://    Zucker, K. J. (2019). Adolescents with gender dysphoria: Reflections on
     www.piqueresproject.com/.                                                     some contemporary clinical and research issues. Archives of Sexual
Raﬀerty, J., & AAP Committee on Psychosocial Aspects of Child and                  Behavior, 48(7), 1983–1992. https://doi.org/10.1007/s10508-019-
     Family Health, AAP Committee on Adolescence, AAP Section                      01518-8.
     on Lesbian, Gay, Bisexual, and Transgender Health and Wellness.
     (2018). Ensuring comprehensive care and support for transgender          Publisher’s Note Springer Nature remains neutral with regard to
     and gender-diverse children and adolescents. Pediatrics, 142(4),         jurisdictional claims in published maps and institutional aﬃliations.
     e20182162. https://doi.org/10.1542/peds.2018-2162.
Restar, A. J. (2019). Methodological critique of Littman’s (2018) parental-
     respondents accounts of “rapid-onset gender dysphoria [Letter to




                                                                                                                                            13
              Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 178 of 180
View publication stats
As Gov. Ron DeSantis (R) signed the bill, he pointed to a case in Leon County, where January Littlejohn and her
husband are suing the public school system for what they alleged was concealing information about their 13-year-
old’s gender-identity transition, violating their rights as parents and harming their relationship with the teen. A
spokesman for the school system did not return calls, but the superintendent has said that the situation was
misrepresented and that the district was following instructions from Littlejohn.

More recently, the school board in Leon County voted in late June to turn a spotlight on transgender students —
mandating that all families be informed when “a student who is open about their gender identity” is part of a PE
class or on an overnight trip, in case other parents want to remove their children.

In Virginia’s Shenandoah Valley, public schools in the college town of Harrisonburg are among the most recent legal
battle ground. School officials there keep student gender transitions confidential and say that students’ gender
identities should be affirmed, according to a staff presentation last October. “The ultimate goal is to help a student
safely come out to their parents with support from trusted adults,” the presentation said.

But a lawsuit brought in June by six parents and teachers — all said to be practicing Christians who believe “each of
us is born with a fixed biological sex that is a gift from God” — argues that the district’s practices usurp parents’
rights, violate free speech protections and force school employees to go against their religious faith. “Public schools
should never hide information from or lie to parents about a child’s mental health,” the complaint, filed by ADF,
begins. “And schools should never compel teachers to perpetrate such a deception.”

In a publicly posted exchange of letters between ADF and the school system, Superintendent Michael Richards said
he had not received complaints in line with what lawyers presented and was not inclined to support rescinding a
practice “that offers support and resources to some of our most vulnerable students and their families.” The district
uses “a team approach” to address student and family needs case by case, he said.

Earlier, 14 parents working with the conservative Wisconsin Institute for Law and Liberty and ADF, sued schools in
Madison, Wis., over guidelines that allow students to adopt gender-affirming names and pronouns without telling
parents.




For schools, approaches vary
To support those transitioning socially at school, some school systems create a “gender support plan” that outlines
how a student’s situation will be handled — with details about restrooms, extracurricular activities, trusted adults
and privacy.

But school systems take different approaches, and some practices evolve.

In Colorado’s Jeffco School District, outside of Denver, officials honor names and pronouns that align with students’
gender identities. But the 69,000-student system brings parents into the conversation as a way to support students,
said spokeswoman Kimberly Eloe, pointing out there is no real privacy in place if people are using new names and
pronouns in school.

In Maryland’s largest school system, parent involvement is ideal but not required. “Under the guidelines, we do
support the student,” said Gregory Edmundson, director of student welfare and compliance in Montgomery County,
with 159,000 students.


           Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 179 of 180
“If they are not out to their families, then we honor and respect that,” he said. “It’s not about trying to keep secrets.
It’s about us trying to keep kids safe.”

In the last three years, 350 to 400 Montgomery County students have completed gender identity support plans to
change names and pronouns to match their gender identity, Edmundson said. One question asks the student to rate
their parents’ support level, from a low of 1 to a high of 10.

Montgomery County is being sued, too. Lawyer Frederick W. Claybrook Jr., who is listed on the complaint with the
Christian conservative National Legal Foundation and an attorney based in the county, took the school system to
court in 2020 on behalf of three parents.

“Parents should be in the loop on this kind of decision,” Claybrook said. “The fact that they aren’t doesn’t even allow
them to help their children get professional care, which might well be very supportive of their transitional choice.
But this is a difficult decision that can have some very life-changing effects — and parents are principally in charge of
helping their children through those types of situations.”

Mark Eckstein, an LGBTQ advocate and father of two in the Maryland school system, said he understands that
parents would not want to be excluded. And since parent notification rests on how supportive parents are, he asks:
How does that get measured? Still, he maintains that the safety of the child outweighs the need of the parent to
know. But the goal, he said, is to include everyone.

“This is not us against them,” he said. “We have to all come together to support these issues because they’re not easy,
they’re complicated.”

For a mother of three living outside Seattle — historically liberal in her politics — the complications began when her
child was in fifth grade. One day she opened an email from a teacher and did not recognize the student’s name. At
first she thought the teacher had sent it to the wrong parent.

She soon realized it was her daughter. The fifth-grader had taken on a new name and male pronouns in school. “I
feel like they lied to us by omission,” the mother said, speaking on the condition of anonymity to protect her child’s
privacy.

The experience led to a couple years of home-schooling, which coincided with the pandemic. She says her daughter
now identifies again as a girl. The mother said she was not bothered by the child thinking through issues of sex and
gender. “A lot of us tried on different identities when we were young,” she said. But being transgender could
eventually lead to medical treatment, she said, and “once a kid says this, there is the automatic assumption that it
has to be true.” Even more, “they are protecting children from parents without ever giving us a chance to be
supportive.”

“They call us if they’re going to give our kids a Tylenol or if they have a scratch, but not with this?” she said.

Baetsen, who came out to their Maryland teacher while in eighth grade, said it is important that schools make sure
not to out students. Baetsen finally told their parents in ninth grade, finding their parents were “very, very
supportive,” asking questions but understanding. “You don’t know how people are going to react,” Baetsen said.




           Case 1:22-cv-00078-CJW-MAR Document 3-10 Filed 08/05/22 Page 180 of 180
